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IN THE UNITED STATES DISTRICT COURT L!Sng$ggf§!fsissgigtfroi?f&:$rt
FOR THE SOUTHERN DISTRICT OF TEXAS FlLED
MCALLEN DIVISION MAY 1 5 2002

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JOHN ALLISON; GEORGIANNA
BONNER; BETTY EMEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
JESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA
WOODS;

Michael N Muby clerka

~`02~1'13 3,

(Removed from the 93’“’ Judicial District
Court of Hidalgo County, Texas)

 

Plaintiffs
vs.

WARNER LAMBERT COMPANY;
PARKE-DAVIS DIVISION OF WARNER`
LAMBERT COMPANY;

PFIZER, INCORPORATED;
GERARDO BUESO, M.D.;
GLOVER JOHNSON, M.D.;

ERIC ORZEK, M.D.;
AYAPRAKASH REDDY, M.D.;
RAUL RIVERA, M.D.;

SHELDON RUBENFIELD, M.D.;
SANDRA SCURRIA, M.D.;
DARRELL N. STEELE, M.D.;
JEANINE H. THOMAS, M.D.;
JORGE TREVINO, M.D.;

Jury Demanded

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Defendants.
DEFENDANTS WARNER LAMBERT COMPANY AND
PFIZER INC.’S NOTICE OF REMOVAL
Defendants WARNER-LAMBERT COMPANY (on its own and on behalf of its

unincorporated Parke-Davis division) (“Warner-Lambert”) and PFIZER lNC. (“Pflzer”) remove this

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action to the United States District Court for the Southern District of Texas, Houston Division,

pursuant to 28 U.S.C. §§1332, 1441 & 1446, respectfully showing:

INTRODUCTloN
This is one of at least seven Rezulin pharmaceutical product liability cases that have recently
been filed across Texas by the Littlepage & Associates law flrm using a “form” state court petition.
In this case, thirteen apparently unrelated Texas plaintiffs have asserted causes of action against
Warner-Lambert and Pflzer, two diverse pharmaceutical “Manufacturing Defendants.” Most (but
not all) of the plaintiffs have also sued their prescribing physician under breach of warranty theories.
The Littlepage firm has a history of fraudulently joining non-diverse defendants and
employing other manipulative pleading practices in an effort to avoid federal court. This case is no
different. For the reasons discussed herein, the non-diverse physician defendants have been
fraudulently joined - and Warner-Lambert and Pfizer are removing this case because there is
complete diversity between all properly` joined parties, and because the plaintiffs’ prayer for
“310,000,000 under each cause of action” and for “punitive damages in the amount of $l Billion
each” easily surpasses the federal amount in controversy threshold
BACKGRouNn
The Lawsuit
l. This is a pharmaceutical product liability/personal injury case. In their original
petition, thirteen plaintiffs contend that they have suffered bodily injuries as a result of using

Rezulin, a prescription drug which was manufactured by Warner-Lambert for the treatment of adult

 

DEFENDANTS wARNER-LAMBERT COMPANY AND PFIZER lNC.’S NOTICE OF REMOVAL FAGE -2-
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onset (type 2) diabetes. Ten plaintiffs allege that they were prescribed Rezulin by non-diverse
physicians who have been named as defendants (collectively the “Physician Defendants”).l

2. Plaintiffs have alleged strict product liability, negligence, negligence per se and gross
negligence, breach of express and implied warranty, fraudulent concealment and suppression, fraud,
negligent misrepresentation, battery, and intentional infliction of emotional distress causes of action
against Warner-Lambert and Pfrzer (the “Manufacturing Defendants”). See generally PLAINTIFFS’
FIRST AM. PET. (Exhibit D(Z)) at pp. 13-23, 11137-76. Plaintiffs have also asserted breach of express
and implied warranty claims against ten prescribing physicians (the “Physician Defendants”), who
are all alleged to be Texas residents doing business in Texas. Id. at pp. 2-5, 1111-10.

3. Plaintiffs claim that they have “suffered serious physical injuries which include, but
are not limited to, liver damage including death, liver transplantation, elevated liver enzymes, liver
enlargement, hepatitis, cirrhosis, jaundice, ascites, portal hypertension [and] hepatic encephalopathy”
as a result of their use of Rezulin. Ia'. at p. 23 (“General Damages” section). They are seeking
damages for medical costs (past and future), physical pain and suffering (past and future), mental
pain and anguish (past and future), and physical impairment Id. at pp. 23-24 (“General Damages”
section). They specifically pray for “maximum compensatory damages in the amount of
$10,000,000 under each cause of action,” and for “ punitive damages in the amount of $l Billion

each.” ]d. at p. 24.

 

Plaintiffs’ First Amended Petition names 10 Physician Defendants, but Plaintiffs’ have non-suited Dr.
Femando Bueso, Dr. Glover Johnson and Dr. Sheldon Rubenfield, M.D.. See Exhibits D(3), D(l4) and D
(15). Dr. Gerardo Bueso has been named in place of Dr. Femando Bueso. Thus, there are currently eight
(8) Physician Defendants.

 

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4. This action was originally filed in state district court in Hidalgo County, 'I`exas, on
or about March 14, 2002. The case has been numbered and styled Cause No. C-521-02-B; John
Allison, et al. vs. Warner-Lambert Company, et al.; In the 93rd Judicial District Court of Hidalgo
County, Texas. Warner-Lambert and Pfizer were served with a copy of the petition through their

registered agent for service in Texas, CT Corporation, on April 15, 2002.

The Parties

5. Plaintiffs’ petition in this case identifies thirteen separately named plaintiffs.
Although they have failed to specifically allege their state of residency or citizenship, upon
information and belief all of the named plaintiffs are, and were at the time this action was
commenced, residents and citizens of 'l`exas.z

6. Defendant Warner-Lambert Company is, and was at the time this action was
commenced, a Delaware corporation which maintains its principal place of business in New Jersey.
Parke-Davis, which was named as a separate defendant in this lawsuit, is an unincorporated division
of Warner-Lambert, and is not a separate corporation or other legal entity.

7. Defendant Pfizer Inc. is, and was at the time this action was commenced, a Delaware

corporation which maintains its principal place of business in New York.

 

Contrary to customary pleading practices in Texas, the petition does not specifically allege the residency or
citizenship of any plaintiff Rather, Plaintiffs’ sole mention concerning their residency is that “[v]enue is
proper in Harris County, Texas, because part or all of the cause of action accrued in Harris County, Texas
or one or more Plaintiffs are residents of Harris County, Texas.” Id. at p. 4, 1110. However, the petition
suggests that a_ll Plaintiffs are Texas residents and citizens by alleging that Warner-Lambert and Pfizer
“sold, delivered, and/or distributed Rezulin (Troglitazone) for ultimate sale and/or use in the State of Texas
by diabetic patients including Plaintiffs.” Id. at p. 6, 1115. Moreover, Plaintiffs assert that each of the
Physician Defendants who allegedly prescribed Rezulin to them is a resident citizen doing business in

Texas. See id. at pp. 2-3, 1[111-5.

 

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8. The Physician Defendants (Gerardo Bueso, M.D., Eric Orzek, M.D., Ayaprakash
Reddy, M.D., Raul Rivera, M.D., Sandra Scurria, M.D., Darrell M. Steele, M.D., Jeanine H.
Thomas, M.D., and Jorge Trevino, M.D.)3 all are, and were at the time the action was commenced,
resident citizens of Texas who maintained their respective places of business in Texas. Id. at pp. 2-5,

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BAsls FoR REMOVAL
Diversi§y Jurisdiction
9. This action could have originally been brought in federal court on the basis of
diversity of citizenship among the parties because:
(a) upon information and belief, as discussed above, Plaintiffs all are and were
at the time suit was filed residents and citizens of Texas;
(b) all properly joined defendants are corporations or entities organized under the
laws of states other than Texas which maintain their principal offices in states

other than Texas; and

(c) the amount in controversy in this case exceeds $75,000, exclusive of interest
and costs.

See 28 U.S.C. §1332(a).
10. Removal is proper under federal law since this is a civil action brought in state court

over which the federal court has original jurisdiction based on diversity of citizenship. 28 U.S.C.

 

§1441.

3 As stated above, Dr. Femando Bueso, Dr. Glover Johnson and Dr. Sheldon Rubentield have been non-
suited. They, too, were allegedly Texas citizens.

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l l. Removal is timely because the case has been removed within 30 days of the date that
Warner-Lambert and Pfizer were first served with a copy of Plaintiffs’ Original Petition. 28 U.S.C.
§1446(a).

12. The United States District Court for the Southern District of Texas embraces the
county in which the state court action is now pending and, thus, this Court is a proper venue for this

action pursuant to 28 U.S.C. §124(b).

FRAIJDuLENT JolNDER or THE PanICIAN DEFENDANTS
13. Consistent with its practices in other Rezulin cases, the Littlepage firm has
fraudulently joined non-diverse defendants in an attempt to defeat federal diversity jurisdiction The
non-diverse Physician Defendants in this case have been fraudulently joined on three separate and

independent legal grounds.

Fundamentally Irreconcilable Pleadings

14. In their petition, Plaintiffs repeatedly allege that the “Manufacturing Defendants,”
Warner-Lambert and Pfizer, willfully deceived and failed to disclose risks associated with the use
of Rezulin - to Plaintiffs, to the federal Food and Drug Administration (FDA), to Plaintiffs’ own

physicians, to pharmacists, and to the general public. Among other things, they specifically allege

 

that:
° “Prescribing physicians were purposefully misinformed as to [Rezulin’s]
safety, efficacy, and potentially serious side effects” by the Manufacturing
Defendants. Id. at p. 10, 1124.
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~ “Manufacturing Defendants falsely and fraudulently kept relevant
information from potential [Rezulin] users, and minimized user and
prescriber concern regarding the safety of the product.” Id. at p.l 1, 1129.

~ “Manufacturing Defendants’ strategy has been to aggressively market
and sell [Rezulin] by misleading consumers, pharmacists and physicians
about Rezulin and/or purposefully downplay and understate the dangers
and potential dangers of [Rezulin] to the physicians, the public, and the
FDA.” ld. at p. 11-12, 1130.

~ “Manufacturing Defendants informed physicians, including but not
limited to Plaintiffs’ prescribing physicians, that Rezulin was a safe and
effective product . . . when in reality these representations were false and
misleading.” Id. at p. 12, 1132

~ The Manufacturing Defendants “deceived users and potential users . . . and
minimized user and prescriber concerns regarding the safety of Rezulin
. . .”. Id. at p. 12, 1133.

- The Manufacturing Defendants “[f|ailed to adequately warn users,
consumers and physicians about the severity, scope, and likelihood of
liver damage and related dangerous conditions to individuals taking
Rezulin” and “[r]epresented to physicians, including but not limited to
Plaintiffs’ prescribing physicians, that this drug was safe and effective
for use.” Id. at p. 15, 1[40(11), (i).

~ “[D]eceptive marketing representations were made to the FDA,
physicians, pharmacists and the public” by the Manufacturing Defendants.
Id. at p. 18,1[51(b).

' The Manufacturing Defendants “intentionally and deliberately withheld
and delayed providing [ ] additional warnings and information from the
consuming public and the Plaintiffs concerning Rezulin’s toxic effect on
the liver. This conduct amounted to fraudulent concealment or
suppression of important and pertinent information that was needed by
the prescribing physicians to make an informed and appropriate

decision about the use of Rezulin and the warnings to pass on to their
patients.” Id. at p. 20, 1160.

(Emphasis added.) The petition is rife with other, similar allegations

 

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16. Despite these repeated allegations that the “Manufacturer Defendants” willfully
deceived and misled Plaintiffs, the FDA, Plaintiffs’ doctors, pharmacies, and the public about the
risks of Rezulin - indeed, completely contrary to g of their other allegations - Plaintiffs assert that
the Physician Defendants “warranted to Plaintiffs that Rezulin was safe and effective when they
knew that substantial questions existed with respect to the safety and efficacy of these products.”
Id. at p. 18-19, 1[53.

17. Plaintiffs’ assertions as to the alleged conduct of manufacturing defendants on the one
hand and the alleged liability of the treating physicians on the other are not “alternative” theories of
liability - they are fundamentally irreconcilable theories of liability that cannot co-exist.
Specifically, it is impossible that Plaintiffs’ physicians “knew” of potential harmful side effects of
an FDA-approved drug if their repeated assertions that the Manufacturing Defendants willfully
deceived Rezulin patients, the FDA, treating physicians, pharmacies, and the general public about
the risks associated with Rezulin use are taken as true.

l 8. Federal courts have recently ruled in the context of a pharmaceutical product liability
cases that such inconsistent pleading practices are tantamount to fraudulent joinder. Judge Kaplan,
the presiding judge in the consolidated Rezulin Multidistrict proceedings, addressed this issue in In
re Rezulin Prods. Liab. Litig., 133 F.Supp.2d 272 (S.D.N.Y. 2001) (“Rezulin 1”):

Plaintiffs . . . allege that the defendant manufacturers and sales representatives

“sought to minimize the growing awareness of the drug’s harmful effects, by

representing to the plaintiff, general public, physicians, and others authorized to

dispense said drug, that Rezulin was safe . . .” and that the defendant manufacturers

and sales representatives “falsely and fraudulently represented to . . . pharmacists .

. . that despite reports from various sources that the Rezulin drug was unreasonably

dangerous to its users, the drug was in fact safe . . .”. Thus, the theory underlying
the complaints is that the manufacturer defendants hid the dangers of Rezulin

 

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from plaintiffs, the public, physicians, distributors, and pharmacists - indeed,
from everyone, Plaintiffs’ allegations that pharmacists knew and failed to warn
of the dangers therefore are purely tendentious.

Id. at 290 (italics and footnotes omitted) (bold added). Similarly, in Louis v. Wyeth-Ayerst

Pharmaceutical.s, No. 5:00CV102LN (W.D.Miss. Sept. 25, 2000), the court found that several

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nondiverse pharmacies had been fraudulently joined as defendants in light of the plaintiffs specific

allegations of concerted, unabated fraud and concealment by the manufacturer defendants from

virtually everyone”:

[T]he complaint, the major theme of which is the manufacturers’ intentional
concealment of the true risks of the drug(s), coupled with dissemination through
various media of false and misleading information of the safety of the drug(s) at
issue, belies any suggestion of knowledge, or reason to know by these resident
defendants According to the lengthy and extremely detailed factual allegations of
the complaint, the product manufacturers had knowledge from numerous sources that
the drug(s) at issue was unsafe, yet they, in the face of this knowledge, not only
concealed this information, but affirmatively misrepresented to the FDA, to the
public, to consumers, to the plaintiffs, to pharmacists, to dispensing entities . . . that
the product was safe. In the face of plaintiffs’ specific allegations of concerted,
unabated fraud and concealment by the manufacturer defendants from
virtually everyone, including pharmacists, no factual basis can be drawn from
plaintiffs’ complaint for their entirely general and conclusory charge that these
“defendants knew or had reason to know of the risks.” Even assuming, then,
for the sake of argument, that under Mississippi law, there exists the possibility
that a viable cause of action could be maintained against a pharmacist who had
knowledge of risks associated with a particular drug or drugs which he failed
to disclose to his customer, the plaintiffs herein have failed to properly plead
such a claim. Accordingly, the court concludes that the pharmacy defendants have
indeed been fraudulently joined.

Louis, slip op. at pp. 5-9 (citing Badon v. RJR Nabisco, lnc., 224 F.3d 382, 392-93 (5"‘ Cir. 2000))

(emphasis added). (A copy of the slip opinion in Louis is attached as Exhibit A.)

 

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19. The Hon. Lynn Hughes has recently refused to remand three Rezulin actions that
Warner-Lambert removed to the Southern District of Texas’ Houston Division on the very same
grounds as this case. Connie Gibson v. Jejj‘ery Rochen, M.D. et al. , C.A. No. 01-CV-4243 (S.D.Tex.
Jan. 8, 2002) (denying remand); Guadalupe Abrigo v. Warner-Lambert Company et al.; C.A. No.
02-CV-790 (S.D.Tex. March 18, 2002) (staying case pending final transfer to the Rezulin MDL);
Mitchell Martin v. Warner-Lambert Company et al.; C.A. No. 02-CV-79l (S.D.Tex. March 18,
2002) (same). ('I`hese three cases have been and/or are presently being transferred to the Rezulin
MDL proceedings.)

20, This case presents fraudulent joinder issues virtually identical to the issues that were
presented to Judge Hughes in C. Gibson, Abrigo and Martin, and were addressed by the courts in
the Rezulin 1 and Louis opinions. For the reasons discussed in those opinions, the nondiverse

Physician Defendants have been fraudulently joined in this case.

No Breach of Warranty Cause of Action

21 . There is an alternative dispositive reason why there is “no reasonable basis to predict
[that the Plaintiffs] can establish liability” against the non-diverse Physician Defendants on their
breach of warranty claims. Badon v. RJR Nabisco, Inc. , 224 F.3d 382, 3993 (5“‘ Cir. 2000) (stating
fraudulent joinder standard). Even if Plaintiffs made pp allegations against Warner-Lambert and
Pfizer, Texas law does not recognize a breach of warranty cause of action against a prescribing
physician under these circumstances The Texas Supreme Court has held that a physician can be
liable for express warranty only where the physician specifically warrants a particular result.

Sorokolit v. Rhodes, 889 S.W.2d 23 9, 242-43 (Tex. 1994). Plaintiffs’ allegations fall far short of the

 

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“guaranteed results” standard required to maintain an express warranty action against the Physician
Defendants. Plaintiffs have no legally viable express warranty claim against the Physician
Defendants, and the joinder is therefore fraudulent

22. Plaintiffs’ implied warranty claim also fails under Texas law. There is no implied
warranty cause of action against a physician relating to a product prescribed or provided by the
physician in connection with his or her medical services, unless the plaintiff establishes that the
physician was marketing the product apart from his or her rendition of professional services. Walden
v. Je/j”ery, 907 S.W.2d 446, 448 (Tex. 1995). Plaintiffs have not alleged that the Physician
Defendants were separately marketing Rezulin apart from their ordinary provision of professional
services. Absent such independent marketing efforts, a claim against a physician relating to a
product prescribed or provided in connection with medical services sounds, if at all, in negligence
Id. Yet, Plaintiffs have carefully and deliberately avoided pleading a negligence claim against the
Physician Defendants under the Texas Medi‘cal Liability and Insurance Improvement Act. (TEX. REV.
CIv. STAT. ANN. art. 4590i). See PLAINrrFFs’ ORIG. PET. at p. 6, §III. Plaintiffs have no legally
viable implied warranty claim against the Physician Defendants, and the joinder is therefore
fraudulent

Sham Joinder; Manipulative Pleading

23. Finally, Warner-Lambert and Pfizer will show that the Littlepage law firm has a
history of engaging in sham joinders, fraudulent and improper joinders, and other manipulative
pleading practices and conduct - in this case and other Rezulin cases - that were designed solely to

“thwart removal of this case” and deny Warner-Lambert and Pfizer of their legitimate right to a

 

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federal forum. Martineau v. ARCO Chem. Co., 25 F.Supp.2d 762, 765 n.2 (S.D.Tex. 1998), affd
203 F.3d 904 (Sth Cir. 2000) (denying remand).

24. Among other things, the Littlepage firm’s pleading practices are evident on the face
of the petition in this case. For example, they have bundled thirteen apparently unrelated plaintiffs
into one lawsuit filed in Hidalgo County - not alleging the residency or citizenship of any plaintiff,
but instead baldly asserting that “[v]enue of this case is proper in Hidalgo County, Texas, because
. . . one or more plaintiffs are residents of Hidalgo County.” Id. at p. 6, 1115. Yet, the addresses
provided for service of citation on the ten Physician Defendants suggests that most of the plaintiffs
and the physician defendants have no connection to Hidalgo County (or to each other).4 See id. at
pp. 2-5, Wl -10 (identifying physician addresses in Houston, Terrell, Pasadena, Hurst, Ft. Worth and
McAllen).

25. The Littlepage firm also has a history of fraudulently joining non-diverse defendants
or otherwise improperly misjoining parties to try to defeat federal diversity jurisdiction in other
Rezulin cases. For example, during a three-week period in August and September 2001, the firm
filed seven Rezulin lawsuits, each involving between 40 and 53 Texas plaintiffs, one physician
defendant who had allegedly prescribed Rezulin for one of the dozens of plaintiffs, and a non-diverse

pharmacy that was not connected to any plaintiff5 Each of these cases was removed to federal court.

 

Hurst and Terrell are near Dallas in North Central Texas.

Albrighl et al. v. Warner-Lambert Co. et al., C.A. No. l:01-CV-691 (E.D.Tex.); Alvarado-Umanzor et al.
v. Warner-Lambert Co. et al., C.A. No. l:Ol-CV-689 (E.D.Tex.); Askew et al. v. Warner-Lambert Co. et
al., C.A. No. l:01-CV-688 (E.D.Tex.); Barnes et al. v. Warner-Lambert Co. et al., C.A. No. l:Ol-CV-690
(E.D.Tex.); Adams et al. v. Warner-Lambert Co. et al., C.A. No. 3-01CV1980-M (N.D.Tex.);Abudei et al.
v. Warner-Lambert Co. et al., C.A. No. G-Ol-604 (S.D.Tex.); D. Baker et al. v. Warner-Lambert Co. et
al., C.A. No. M-01-246 (S.D.Tex.).

 

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At least one federal district judge referred to the Littlepage firm’s pleading tactics as “egregious
misjoinder.” See Exhibit L at p. 38 (excerpts from transcript of oral hearing in Adams et al. v.
Warner-Lambert Co. et al., C.A. No. 3-01CV1980-M (N.D.Tex.)).

26. The Littlepage firm has engaged in other practices that evidence forum manipulation
For example, they non-suited non-diverse physician defendants on the eve of trial in two Rezulin
cases that have gone to trial in state courts.6

27. In short, Plaintiffs’ counsel have consistently demonstrated that they have no intention
of pursuing their clients’ alleged claims against putative non-diverse defendants to judgment in the
Rezulin cases, but instead that their allegations against non-diverse defendants have been made

solely for the purpose of thwarting Warner-Lambert and Pfizer’s legitimate right to a federal forum.

Fraudulent Misioinder of Plaintiffs

28. In addition to their fraudulent joinder of the Physician Defendants, Plaintiffs have
improperly joined (or misjoined) five Plaintiffs. Plaintiffs Benjamin Hathoot, Donald Lavrinc and
Lonnie Robinson have been improperly joined since this suit was filed, and Plaintiffs Georgianna
Bonner and Katrina Wood are improperly joined as a result of non-suiting Dr. Glover Johnson and
Dr. Sheldon Rubenfreld. Plaintiffs are not connected to any of the Physician Defendants; thus, they

have been improperly joined in a transparent effort to defeat federal diversity jurisdiction as to them.

 

In an 0klahoma Rezulin case, the plaintiffs moved to non-suit the physician defendant on the eve of trial.
Wakefield et al. v. Warner-Lambert Company, Case No. CJ-2000-04654; In the District Court in and for
Tulsa County, Oklahoma. (See Exhibit J.) In a Missouri Rezulin case, the plaintiffs did not oppose a
motion for summary judgment that had been filed by the physician defendant shortly before trial. Griggs et
al. v. Warner-Lambert Company, Case No. CV100-3957CC; In the Circuit Court of Clay County,
Missouri. (See Exhibit K).

 

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The doctrine of improper joinder (or misj oinder) prevents plaintiffs from joining non-diverse
defendants in an action where only some of the plaintiffs are asserting claims against those non-
diverse defendants Under FED. R. CIV. P. 20, all plaintiffs must assert at least one claim “that arises
out of the same transaction of occurrence or series of transactions or occurrences as the claims of her
co-plaintiffs.” In Re Rezulin Prods. Liab. Litig. , 168 F.Supp.2d 136, 145 (S.D.N.Y. 2001). “Joinder
‘of several plaintiffs who have no connection to each other in no way promotes trial convenience or
expedites the adjudication of asserted claims.”’ Id. at 146 (citations omitted). Plaintiffs who assert
claims against non-diverse defendants must be severed from plaintiffs who do not assert claims
against non-diverse defendants, “so as to preserve the defendant’s right to removal in the remaining

actions.” Id. at 148.

Amount in Controversy_

29. Plaintiffs request “maximum compensatory damages in the amount of
$10,000,000 under each cause of action” and “for punitive damages in the amount of $l Billion
each.” PLAINTIFFS’ FIRST AM. PET. at p. 24. The case exceeds the federal amount in controversy

threshold on the face of the petition,

OTHER MATTERS
Consent and State Court Notification
30. Warner-Lambert (including its unincorporated Parke-Davis division) and Pfizer

both consent to and join in this removal. The consent of the fraudulently joined Physician

 

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Defendants is not required for removal See Jerm'gan v. Ashland Oil, Inc. , 989 F.2d 812, 815
(5th Cir. 1993) (stating that it is “nonsensical” to require consent from improperly joined parties).
31. Pursuant to 28 U.S.C. §l446(d), a copy of this notice is being served on all

counsel of record, and with the clerk of the Brazoria County district court. (A copy of the state

court notification of removal is attached as Exhibit B.)

Notice of Pendency of MDL Proceedings

32. On June 9, 2000, the federal Judicial Panel on Multi-District Litigation (the
“Panel”) issued an order establishing a Multi-District Litigation (“MDL”) for all Rezulin lawsuits
pending in the federal courts, and transferring all such cases to the United States District Court
for the Southern District of New York. (A copy of the order is attached as Exhibit I.) Warner-
Lambert and Pfizer intend to notify the Panel that this action is a “tag-along” case that should be
transferred to the MDL court.

Local Rules
33. Pursuant to Local Rule 81, the following documents are hereby being provided to

the Clerk for filing:

(a) all executed process in the case (Exhibit C);

(b) all pleadings asserting causes of action, e. g. petitions,
counterclaims cross actions, third-party actions,
interventions, and all answers to such pleadings (Exhibit
D);

(c) all orders signed by the state judge (Exhibit E);

 

DEFENDANTS wARNER-LAMBERT COM]’ANY AND PFIZER lNC.'S NOTICE OF REMOVAL PAGE -15-
(354838.1) John Allison, et aI. vs. Warner-Lambert Company, et al.

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DEFENDANTS WARNER-LAMBERT COMPANY AND PFIZER lNC.’S NOTlCE Ol" REMOVAL PAGE -15-
(3 54838.1)J0hn Allison, et al. vs. Warner-Lambert Company, et al.

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 17 of 200

(d)
(e)
(0

the state court docket sheet (Exhibit F);
an index of matters being filed (Exhibit G); and

a list of all counsel of record, including addresses
telephone numbers, and parties represented (Exhibit H).

CoNCLUsIoN AND PRAYER

Defendants Warner-Lambert Company and Pfizer Inc. hereby remove this case to federal

court. Warner-Lambert and Pfizer pray for any and all other relief to which they are entitled.

Of Counsel:

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State Bar No. 07731400

Federal I.D. 3778

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Telephone: (713) 623-0887

Facsimile: (713) 960-1527

ATTORNEYS-IN-CHARGE FOR
DEFENDANTS WARNER-LAMBERT
COMPANY AND PFIZER INC.

 

DEFENoAN'rs WARNER-LAMBERT COMPANY AND PFrzER lNc.’s NOHCE or REMovAL PAGE -16-
(354838.1)J0hn Allison, et al. vs. Warner-Lamberi Company, et al.

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CERTIFICATE OF SERVICE

I hereby certify that this notice of removal was erved via certified mail, return receipt
requested, on all known counsel of record on May , 2002.

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Chetna Gosain

Joshua H. Brockman

Brett Slobin

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

MCALLEN DIVISION
JOHN ALLISON, et al., §
§
Plaintiffs, § C.A. No.

§
vs. § (Removed from the 93rd Judicial District
§ Court of Hidalgo County, Texas)

WARNER LAMBERT COMPANY et al., §
§ Jury Demanded

Defendants. §

INDEX OF MATTERS BEING FILED
Louis v. Wyeth-Ayerst Pharmaceuticals, No. 5:00CV102LN

(W.D.Miss. Sept. 25, 2000) ......................................... Exhibit A
State Court Notification of Removal ........................................ Exhibit B
All Executed Process on File .............................................. Exhibit C
Pleadings Asserting Causes of Action and`All Answers to Such Pleadings .......... Exhibit D
All Orders Signed by the State Judge ....................................... Exhibit E
State Court Docket Sheet ................................................. Exhibit F
lndex of Matters Being Filed .............................................. Exhibit G
List of All Counsel of Record ............................................. Exhibit H
Order Establishing the Judicial Panel on Multidistrict Litigation (MDL 1348) ....... Exhibitl

Dismissal filed in Wakefield v. Warner Lambert Company, Case No. CJ-2000-04654;
In the District Court in and for Tulsa County, Oklahoma ........................ Exhibit J

Excerpt from Plaintiffs Response to Defendant Michelle Orr’s Motion for
Summary Judgment filed in, Grz`ggs et al. v. Warner-Lambert Company,
Case No. CV100-3957CC; In the Circuit Court of Clay County, Missouri .......... Exhibit K

Excerpt from Oral Hearing in Adams et al. v. Warner-Lambert Company,
C.A. No. 3-01CV1980-M (N.D.Tex.) ....................................... Exhibit L

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w~:¢;'r:-x~.v.'r:-esr Paam»mczu':rcax.s. Inc. s-/x/z.
mee-.txsxsr momoaII-:s. A nIvIs:oN or

meach r-zom:-: ptonoc'rs. :cnc.= wY:-:-rrr

LABOR.A'.°DRIE$. INC-. A.H. ROBBIN$ COHFA.NY.

mc.. mexican zone nooo:'rs. Inc.

FOLK'S DISCQUI€T DRUG$. INC. .' BCQNCMY ERUG

sroat, inc.,- sassoon arsoooa': oanos. mc..-

K:No»s n:seooa-r onocs, men eoe.ass': nearest

:a..- susan sonmt; curtis r.. r.ccz:‘rr; x.tsrtr. A_
I..ALA; watts curr:R. JR.= crim sassxc:vr:

scorr rl. aoonz,~ vrcroa t. nusszu.,- arm Roanzsorr,
JR.; JI.‘WELL E. NORM.AN,- MCR PPRRMACEUTICAI.»S INC..
A/K/A ;)tr-;RIQ.N PPA?.MACEIJTICALS. INC. A/x/A
reta/).~zt.=.:ca..w r=:=.a.a.v.».ezo-z~:cn.s. zac..- costs

ramon zNDUsrszIas, A/K/A ABANA P:-IARMACE:FTICALS,
:Nc.; contrast avenues :Nc.; sums

ll Paw;.ceu'rrcm..s. rNc..- son utes HAWFACL'URING,
INC.; FISQNS CORPOP.ATIQN; GA‘I?. PHRRMAHICALS:
tarzan-amon mecsorrcats, zne.; eeoav>.
PaAa.:-racsur:cm.s. rNc..- wear monarcszts.

:Nc. ,- surmith seas-wi co.=..=oaxrzou;

AND SCX$R.`J CCR?DRATIGN D’_-;Fgmm$

QP-D.‘~='B.
Tn.is cause is before the court on the motion of plaintiffs to

remand this case to the Circuit Court of Claihoi'ne County,
Mississ:.ppi. Defendants have responded in opposition to the motion
and the court, having considered the memoranda of authorities
submitted by the parties in the light of plaintifis' complaint ln'
this catse, concludes for reasons to follow that pla.~’.z:rt~.:'.r‘£sl motion
11 snot-_lo re denieo. .

Plainti£!s. like many others throughout this councry, bg¢ugh¢

this action co recover damages far injuries they claim to have

 

j UNITSQ STATES UIST?~ICY COURT =\LE*')____
SOUl-£P.l.-V DISTRICT O§` MISSISSI.PP . l l
more tours, P‘-.:Aar.:a cox. my ‘---J. ,l_,*,:,:-. ' '
DQTTOREY, o'::s MRCN¢ along LGTT. --'~_ ____:.._~ _ .
RARL PIGG, WIQN WTE:~QS AND KATHY _
ROBEITS _ P:~\INTIFFS
vs. CIVIL ACTION NC. 5:00CV10sz

 

 

 

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IH"”)

 

 

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suffered as a :esult of their taking the diet drugs Pondi=i=, R¢¢=:
talso known by fenflu:amine add dexfenfluramine. respectively)
and/or Phentermine. The plai tifis hereia. Mississippi resi¢eats,
filed their suit in Mississippi state cou:t, and in addition to
suing the manufacturers of these drugs, all of which are cf diverse
citizenship from plaintiffs, and another diverse company, ggk=:d
corporation, which is alleqed to have diet:iboted, marketed and
promoted these drugs, plaintiffs sued a number of Mississi;pi_
pharmacies tPolk's Discount Drugs, Inc.. Econooy Drugs of
Groenweod, Inc.. Liberty D:ug Sto:e, B:andon Diacount D:ngg, ch_
and Xing'c Discount D:ugs) and a multitude of other Mississippi
residents tFozest Bratley. Jr.. Susan Bodne. Cnris L. Luckett,
Lester A. Lala. Cha:les Cha:te:. Jz.. Giaa sav=cini. Scottzq.
Boono. Vietoz E. aussell. sz=y L. Rcbinson, Jr. and sewell g_
Norman) who were employed as sales representatives far one o:
another of the defendaot-drug tompanies. Defendants. costending
that ali of the Mississippi defendants were fraudulently je;n¢d,
removed the case to this court on the basis of diversity of
citizenship, following which plaintiffs filed their prcsc::.€-mo£i€n
to romaad. `

The standard for evaluating claims of fraudulent joinder is,
of course, well known by all of the parties. as well as by the
oourt; and the eou:t, having given due consideration to chao
standard on the basis of the complaint filed by plaintiffs in this
cause. concludes that plaintiffs have no possibility of :eeevery

against ¢ny of the nondiverse defendants.

\`l

 

 

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-\a 721
|H¢vm

 

 

 

the complaint filed by plai:.:i£fs in this cause includes so
far as the court cat tell. ten coents, numbered and headed as

follovs:

Court I¢ strict product Liability

Cooot Il: ?ailure to We:n

Count Iv: Negligence

Count I= Sfrlct Produc£ Liability (Defective Design) Acainst
the AB?~Defendaats

count II: strict ?:oduct Liability l.=eilu.re to wazn) Againsr_
All Defenda:to_

chest Ir:: Negligeece Against All Defendants

Count IV: Fraud and Misrep:esentation Against All Defecdants

Cc~u.:i: V: Wa.ntanet£

Ctunt vl: Frtud. Hisrepreecntation end Supprcesion

ceunt VI; Conspirecy‘

A premise of each count that can reasonably be construed as
having tech asserted against the resident pharmacy deregq;n=s: is

knowledge on the part of these defendants of the dangers posed by

 

' Zt appears that plaintiffs may have taken two eeepl;in;;
from otter cases and attempted to combine them into a single
complaint, amending the content as needed for this case. rhat
would explain why they have asserted their`causes ot action an this
duplicate £ashion, and why the complaint begins on page one,
continues through page 19 (:kipping page lE). and then picks up on
a new and different page 2 and continues on through page 64. and
contains two sections (each somewhat differeetl for each of the
headings, 'Parties', 'Jurisdiction‘ and 'General '
Allegations'/'Fectual Allcgations.'

3 Plaintiffs’ claims of vantoness and conspiracy, vhile
nominally asserted against 'dc£eedehta“. is clearly not directed
toward the pharmacy detendants, as the substance of these counts
utterly belies any conclusion that these defendants are a target of
these cocnts. see aad.oe_v_.m_£etisso_mc. No- 98-30942. 2000 w:,
115424. et '7 ¢s" cir. Aug. is, zoou) footing that 'lehile the
amended complaint does often use the word `defendants,' frequently
it is evident that such usage could not he referring to the
'Tobecco wholesalers.").

dl

___-__ _».....__ .__»_.

 

Case 7:02-cv-00173 ,Dchment 1 Filed in TXSD on 05/15}% Page 23 of 200

 

 

the st:ject drugs.’

Yt=. ana notwithstanding the fa¢; ;ha: ch
complaint in places may allege or allude generally co k;¢v;g¢;e

possessed by the ‘de£ccoants,“

it ic plain that the complaint on
the whole cannot reasonably and legitimately be construed aa

alleging any factual basis for the conclusion that any of ;h¢

 

5 Cencrelly speaking, under Mississippi's Products
Liability Act. Miss. Code Ann. 5 11-1-631 liability of g pr=¢u¢;
seller may be based ca a theory of defective design or inadequacy
of warring/failure to varn. iither theory requires proof of
knowledg¢ on the part of the seller. 533 Miss: Code inn. § 13-;-
sat£) ("Ia any action alleging that a product is defective becaug.
of its design . . . the manufacturer or product seller shall not be
liable if the claimant does not prove by the preponderance of eha
evidence that at the time the product left the control of eng
manufacturer or seller; ¢i) [t]he manufacturer or seller knew, oz
in light of reasonably available knowledge or in the exertion of
reasonable care should have knovn, about the danger for which
recovery is sougnt. . . .°); Miss. Cooe Ann. s 11-1-63(c)ti] (“In
any action alleging that a product is defective because it failed
to contain adequate warnings or instructions . . . the manufacturer
or seller shall oct be liable if the claimant does not prove by a
preponderance of the evidence that at the time the Proau¢; legs the
control of the manufacturer or seller. the manufacturer cr seller
knew or in light of reasonably available knowledge should have
known arout the danger that caused cce damage for which recovery is
sooght. . . .'l. Thus. even if the ‘learncd incermediary*
doctriae. which is incorporated into the atatuto. gee Mass. Code
Ann. § ll-l-€B(c}(ii). were not an impediment to recovery, the
absence of an allegation that a defendant kneu. or had reason eo
know, of the product defect oooms any claim for defective design or
lack of adequate varning- Likewise, knowledge, or a reason to
know, is also a necessary requisite for any claim ot failure to
warn or negligence that a plaintiff might undertake to assert
extraneous to a claim under the Products Liability act itself
{assuming solely for the sake of argument that such a claim could
exist). no essential element of a claim of fraud is knowledge ¢£
the falsity of the representation: and regarding any claim of
omission of faccs. a person obviously cannot disclose what he does
not and cannot kaow. l

‘ They allege. for example, that the drugs 'vere marketed
to be used in combination which was known to the be£endant: to
cause harmful side effects which outweighed any potential utilicy.'

 

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pharmacy defendants had any knowledge or reason to know of any cf
the dangers associated with the produ:t(s] of which plaintiffs
conteni they were unawe:e. Q:ite to the ccntrary, the ccmplaint,
the maier theme of which is the manufacture:s' intentiona;
concea;meot cf the true risks of the drug(s), coupled with
disscuunation through verious media of false and misleading
information cf the safety e£ the druared er i¢=oe, belies any
suggestion of Knovledge, or reason to know by those resident _
defendants. According to the lengthy and extremely detailed
factual allegations of the complaint, the product manufacturers had
knowledge from numerous sources that the drug(s) at issue was
unsafe, yet they. in the face of this knowledge not only concealed
this information. but affirmatively misrepresented to the FDA, tex
the public, to consumers, to the plaintiffs, to pbarmacists, to
dispensing entities, end even to AH?': own business partner, that

5

the product{s) was seEe. In t"e face of plaintifis'

 

’ By way cf example only, plaintiffs ailege variously that:
'Plnintiffa and/or their prescribing physicians and other
dispensing entities justifiably relied on and/er were

induced by the misrepresentations and/or active

concealment of Defendants to her detriment.'

'These defendants. having undertaken the manufacturing,
marketing. prescription diapenoing, distributing and
promotion of the diet drugs described herein owe a duty
to provide the Plaintiffa, and physician regulators and
others upon whom it was known by Defendants that the
plaintiffs would rely. accurate and complete information
regarding its products.'

”AHP was put on notice . . . that the . . . labeling was
probably inadequate and needed to be revis¢d. . . .
[D]enpite this warning. . . no changes were made to the
labeling between 1990 and mid-lsss. . . . [ABP was

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`o~wl h

 

notivated] co conceal the safety hazards of [i;c
§roducts]. . . . (A]ltbougb an ?DA official warned that
there were too many adverse reaction reports . . . end
that he wanted AH? DEFENDANTS to discourage combination
use, the Defendants did not actively discourage the ug.
oE Fen'Phcn.

[AH? knew as early as 1991 that the warning on the
Pundimic labeling from 1587 through 1936] was false and
misleading . . Ly]e= - - y AHP did n¢¢h*ng =¢ strengthen
the warning language about PPH. . . . AH? deliberately
chose not to make any change to the labeling in the
summer or Fall of l$$%._but chose to provide false and
misleading information in its product labeling for
Pondmin.

By lFebruary of 1995], APH was already concerned cbe-FQA
might require to have a black box warning about pr ig_
the Rcdmx labeling and it had conducted market research

which showed that with a black box varning, Redux sales

could only be a fraction of what AHP hope for.

[AHF] was fully aware that its warning about PPH in the

Pcndioin labeling was inadequate.

AHF DEFENDANTS believed it was in their best interest to
hate consumers uninformed about the deadly risk of !?H.

. The PHBNTERMINZ DEFENDANTS also sought to keep
consumers and prescribing physicians uninformed about the
true risk of PPR. -`- . Alcbough £th¢ risks cf PFHJ v¢¢¢'
known to phentermine manufacturers around the vorld.
these manufacturers actively concealed this fact iron
prescribing physicians and consumers, including the
Plaintiffs and their prescribl physicians. and
misrepresented the rick of FPH y failing to place any
such warning in the package insert. . . . [B]y failing to
disclose [tbe facts). the package insert for renfluzamine
implicitly and falsely stated to tne Plaintiffs’
prescribing physicians that it could be prescribed in
combination with phcntermine.

[Frcm 1993 chroogb 19951 [the] AHP defendants received
further information [about risks of valvular heart

discase] - yet chose to ignore it. . . . lTihe

PHENIERHJNZ DEFENDANTS lalso] began to receive reports

[o!] VEo._ Defendants failed to obtain any more

information about these reports. . . . AH? UEFZNDANTS

did not even report many of these cases to an.

AHP DEFZFDANT$ should have regarded the 1994-3395 reports of
vHD us an early warning signal of what was likely to

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yapp¢n in the U.S. However, because of its desire te
conceal safety problems ead not derail the exponentiil
growth cf pondimin or the pending approval of Redux . .
.m ntsz::vnm'rs those . . . not to report she VHD emblem
[to FDA]. . . . AHP DEFENDANTS mischaracterized many of
the reports as 'oon-serious* and did not report them to
FJA, to the Plaintiffs, or to the Plaintiffs' prescribing
paysiciaas. `

,\\{p n :-"F_\DLN'IS did not change the Pondimin labeline
regarding PPH because to do so would have threaLand its
d;¢; grng buciaess.

[;3? marketing programs] contained false and misleading
itformation and/or material ommisions about the true
risks . . .and the supposed benefits- . . . The text o£
one AH'P document . , _ falsely status "R.edux is a cafe
and effective product.° [AEF, through its sales force)
fed false and misleading information end/or material
omissioas about the true risks . . . [to doctor
adzocates, whose Job it was to promote AHP's products re
otaer pbysicians]. ~

The 'best case* for the company's sales was it consumers
were unaware of the risk o£ PPB and physicians chose net
to enlighten thcm.

AH$ DEFENDANTS [knew of problems] but decided to say
nothing of those problems to physicianc, patients er the
?DA. . . . AHP DEFENDANTS withheld critical information
from the FDA Advisory Commi:tee. the Plaintiffs. and the
Plaintiffs’ physicians. about the risks of vHD. _

AHP DEFENDANTS, knowing that its market research _
demonstrated that [a black bou] warning would destroy
sales, adamantly resisted the black box warning requested
by FDA end any other restrictions on the use of Redux.

fha internal memo authored by an AH? executive stated]
'[EJvery attempt will be made to ensure that no `Black

Box' warnings, restrictions of usa or negative stateoents
find their way into the Rodux labeling.'

[After a leading researcher in the field of PPH appeared on
the Today show expressing concerns. bc was threatened by
AHP's medical director and] never again spoke to the

redia about his concerns about the safety of Rodux.

AHP made matters worse by having its id consultants
write at editorial minimizing the ris of F?H with diet
drugs which was published in the New tngland Journal of

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..~¢-_..

 

C'aSe 7:02-cv-00173 Pocument 1 Filed in TXSD on OB/lBK Page 27 of 200

 

 

 

Med;:ine without the authors disclosing that they were
paid consultants for the compaay. la addition, AHF
ESFENDANT$ sect out a misleading press release regarding
the IPPES study, which also tended to downplay the risk
of P?H.

Aip did everything in its power to obscure the true scope

of the problem from the Mayo Clinic. Interncuron. FDA and
tne public as long as it could.

. . {R]atber than coming clean about the knowledge in its
possession £e: about two years. AHP continued to withhold
that information and feigned total surprise tubes a gay¢,
CJinio physician reported to ABP that she had discovered
vin in a number of patients who bad been using Pen-Phen].

worried about a leak o£ information to the general public
and prescribing Physicians. AH? DEFENDANTS tried to keep
IFI ties business partner) in tbe dark about the Mayo
Clinio findings. . . .ASP [attempted] to conceal
information about the VHD problem from even its own
business partner for as long as possible.

AHP DEFENDANTS continued.thsi: policy of hiding '
in:ormation about the risk of vHD even up to the day that
FDA told the company that it should take Pondlmin and
Retux off the marxet.

[?u:suant to a conspiracy between) AH? DEFENDANTS ¢nd
scKSRD, false end fraudulent information was provided to
pharmacists, consumers, and prescribing physicians about
the risks and supposed benefits of these drugs. Upoo
information and belief, and in furtherance o: the
conspiracy, AHP Defendants and £ckerd supplied false and,
misleading marketing and promotional material end
programs to unsuspecting pharmacists and prescribing
physiciaae. . : . Eokerd [agreed that it would] take 'no
action, including but not limited to telephone calls or
written communication to physician providers or
Pnazmaci¢s regarding specific prescriptioos. that [would]
adversely e!fect utilization' lot AH?'s products].. . .
upon information and belie£, [certain 'patleot education
programe* and 'provide: education programa' worked co by
ackerd and Wyeth'Ayerst jointly] provided false add
misleading information about lobe drugo].

Eon agreed and conspired with various pharmacies and/or AHF
Defendants to ensure that the oft-label combination use
of these drugs could be timely provided to consumers,
pharmacists. and prescribing physicians ubo were
delirerately misled as co the safety and efficacy of these drugs.

 

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specific allegacions of concerted, unabated fraud and concealmenc
by chc manufacturer de:e:dancs from virtually everyone, including
phermeciscs, no factual basis can be drawn from plaintiffs'
complains for chair entirely general and conclusory charge char
these “detendancs' knew or had reason to know cf the risks. Even
assuming, :nen, for the sake ct argumenc. that under Mississippi
lew. there exiscs chc possibility rhac s viable cause of action
could le maintained against a pharmacist who had knowledge o£-r;¢k;
associated with a psrcicular drug or drugs which he failed co
disclose to his costomer, cho plaintiffs herein have failed co
propezl{ plead such a claim.‘ Accordingly, the court concludes
cha: the pharmacy defendan:s have indeed been fraudulently joinvd.
The~ court also concludes, for the reasons assigned by Judge

william H. sarbou: an aea:;i.ce_.israsss__s:..eL»J.-_BBM_B

 

Son agreed end conspired with o:her manufacturers :o
ensure char an adsquace supply of phencermine could be
del.vered co consumers, pharmaciscs. and prescribing
physicians who were delibera:ely misled es to the safety
and efficacy of these drugs, and co the dangers of
prescribing phencermise in combination with tentluramine.
. . ln turchorance ot this conspiracy, prescribing
physicians, consumers, and pharmacists were ted false and
misleading information above fen-pbon and Redux. . . .

h

1 ' w -» v ‘ . 2000 wL 1159424, No. sa-
30§42, ac '7 (S" Cir. Aug. 1¢. 2000) \noeing chao plaiqci££s'
conspiracy allegations were 'eacarely general' and did nor allege
°any particular or specific accivicy, agreement, or state o£ mind
oc the part of eicher the in-scace distributor defendan:s. . . .
while la to the other defendaats cbe amended complaint is replete
uich innumerable specific allesacions 02 particular. identified
iacciviei¢s, . . . .').

 

 

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Case 7:02-Cv-00173rDOCument 1 Filed in TXSD on 05/1?‘§2 Page 29 of 200

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D¢v,§iMms;;_LMW;_BM No. 3:00CVSlSBN (S.D.

Miss. J`uly 21, 2000) tinvolving the drug Rezulin) , char the sales
rcpresenca:ive defendancs have also been fraudulently join¢d,
Accordingly, for chc foregoing reasons. ic is ordered char
plaiac;.££s' motion to remand is deniea.-

sc- cannon ohio 25‘° day oz sepcembez, zooo.

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CAUSE NO. C-521-02-B

JOHN ALLISON; GEORGIANNA
BONNER; BETTY EMEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
J`ESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVEL'I` THOMAS; and KATRINA
WOODS;

Plaintiffs
vs.

WARNER LAMBERT COMPANY,
PARKE-DAVIS DIVlSION OF WARNER-
LAMBERT CC)MPANY,

PFIZER, INCORPORATED,
FERNANDO BUESO, M.D.;
GLOVER JOHNSON, M.D.;

ERIC ORZEK, M.D.,
AYAPRAKASH REDDY, M.D.;
RAUL RIVERA, M.D.;

SHELDON RUBENFIELD, M.D.
SANDRA SCURRIA, M.D.;
DARRELL N. STEELE, M.D.;
JEANINE H. THOMAS, M.D.;
JORGE TREVINO, M.D.,

Defendants

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IN THE DISTRICT COURT OF

HIDALGO COUNTY, TEXAS

93'“’ JUDICIAL DISTRICT

DEFENDANTS WARNER-LAMBERT COMPANY AND PFIZER INC.’S
NOTIFICATION OF REMOVAL TO FEDERAL COURT

PLEASE TAKE NOTICE that defendants Warner-Lambert Company and Pfizer Inc. have

removed this case to the United States District Court for the Southern District of 'l`exas, McAllen

Division. A copy of Warner-Lambert Company’s Notice of Removal (exclusive of attachments) is

attached as Exhibit A to this notification

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15[02 Page 31 of 200

Respectfully sub 'tted,

 
 
  

By:

 
   
 

E. Ur uhart ‘
as Bar 130. 20415600 @/M””-/AV/D®
BElRN , AYNARD & PARsoNs, L.L.P.

1300 Post Oak Blvd., Suite 2500

Houston, Texas 77056-3000

Telephone: (713) 623-0887

Facsimile: (713) 960-1527

David C. Garza

State Bar No. 07731400
GARZA & GARZA, L.L.P.
680 East St. Charles, Suite 300
Brownsville, Texas 78522
Telephone: (956) 541-4914
Facsimile: (956) 542-7403

ATTORNEY FOR DEFENDANTS WARNER-
LAMBERT COMPANY AND PFIZER INC.

 

NOTIFICATION OF REMOVAL TO FEDERAL COURT

PAGE -2-

(354934. l) John Allison, el al. v. Warner-Lambert Company et al.

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CERTIFICATE oF SEvacE

I hereby certify that a true and correct copy of the foregoing document has been se ed on
all counsel of record in accordance with the Texas Rules of Civil Procedure, on this h day of
May, 2002.

Zoe B. Littlepage

Chetna Gosain

Joshua H. Brockman

Brett Slobin

LlTTLl-:PAGE & AssocIATEs, P.C.
408 Westheimer

Houston, Texas 77006

Jose L. Game

MEREDITH, DoNNELL & ABERNATHY
Water Tower Centre

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McAllen, Texas 78504

Michael L. Hurst

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Dallas, Texas 75201

Ann P. Watson

Raymond A. Neuer

James W.K. Wilde
SHEEHY, SERPE & WARE
2500 Two Houston Center
909 Fannin

Houston, Texas 77010-1003

Via Certi/ied Mail
Return Receipt Requested

Via Certified Mail
Return Receipt Requested

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(354934.]) John Allison. et al. v. Warner-Lambert Company et al.

PAGE -3-

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

MCALLEN DIVISION
JOHN ALLISON, et al., §
§
Plaintiffs, § C.A. No.
§
vs. § (Removed from the 93"’ Judicial District
§ Court of Hidalgo County, Texas)
WARNER LAMBERT COMPANY et al., §
§ Jury Demanded
Defendants. §

Exhibit C
ALL EXECUTED PROCESS ON FILE

No returns of service were on flle.

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

MCALLEN DIVISION
JOHN ALLISON, et al., §
§
Plaintiffs, § C.A. No.
§
vs. § (Removed from the 93"l Judicial District
§ Court of Hidalgo County, Texas)
WARNER LAMBERT COMPANY et al., §
§ Jury Demanded
Defendants. §

Exhibit D

PLEADINGS ASSERTING CAUSES OF ACTION AND
ALL ANSWERS TO SUCH PLEADINGS

Plaintiffs’ Original Petition

(with Jury Trial Demanded) (filed 3/14/02) ................................ Exhibit D(l)
Plaintiffs’ First Amended Petition (filed 4/23/02) ........................... Exhibit D(2)
Plaintiff Austin Metz’s Notice of Nonsuit`

of Defendant Fernando Bueso, M.D. (flled 4/23/02) ......................... Exhibit D(3)
Defendant Sandra Scurria, M.D.’s Motion to Transfer Venue (filed 5/2/02) ...... Exhibit D(4)

Defendant Sandra Scurria, M.D.’s Original Answer Subject
to Motion to Transfer Venue, and Demand for Trial by Jury
Subj ect to Motion to Transfer Venue (iiled 5/2/02) ......................... Exhibit D(5)

Defendant Glover Johnson, M.D.’s Motion to Transfer Venue (flled 5/2/02) ..... Exhibit D(6)
Defendant Glover Johnson M.D.’s Original Answer Subj ect
to Motion to Transfer Venue, and Demand for Trial by Jury

Subj ect to Motion to Transfer Venue (filed 5/2/02) ......................... Exhibit D(7)

Defendant Ayaprakash Reddy, M.D.’s Motion to Transfer Venue
With Answer Subject Thereto (flled 5/6/02) ............................... Exhibit D(8)

Original Answer of Defendant Ayaprakash Reddy, M.D.,
Subj ect to His Motion to Transfer Venue (filed 5/6/02) ...................... Exhibit D(9)

Defendants Warner-Lambert Company and Pfizer Inc.’s
Motion to Transfer Venue (flled 5/6/02) ................................. Exhibit D(lO)

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Original Answer of Warner-Lambert Company
Subj ect to its Motion to Transfer Venue (flled 5/6/02) ...................... Exhibit D(l l)

Original Answer of Pfizer Inc.
Subject to its Motion to Transfer Venue (t`lled 5/6/02) ...................... Exhibit D(12)

Eric Orzeck, M.D.’s Motion to Transfer Venue
and Original Answer (filed 5/6/02) ..................................... Exhibit D( 13)

Plaintiff Georgianna Bonner’s Notice of Nonsuit
of Defendant Sheldon Rubenfield, M.D. (filed 5/6/02) ...................... Exhibit D(l4)

Plaintiff Katrina Wood’s Notice of Nonsuit
of Defendant Glover Johnson, M.D.(flled 5/6/02) .......................... Exhibit D(15)

Defendant Ayaprakash Reddy, M.D.’s Jury Demand
Subject to His Motion to Transfer Venue (filed 5/9/02) ..................... Exhibit D(16)

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CAUSENol " 2&\’©3%

JOHN ALLISON; GEORGMNNA IN THE DISTRICT COURT OF

BONNER; BETTY EMEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
JESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA
WOODS;

FILED

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P¢_\UL_|NE G. GONZALE. CLERK
Dlstnct Courts, Hida|go County

Plaintiffs § BY~__-`_Depury

HIDALGO COUNTY, TEXAS

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WARNER LAMBERT coMPANY, §
PARKE DAVIS DIVISION oF WARNER §
LAMBERT COMPANY, §
PFIZER, lNCoRPoRATED §
FERNANDO BUEso, M.D., §
GLOVER JoHNSoN, M.D., §
ERIC oRzEK, M.D., §
AYAPRAKASH REDDY, M.D., §
RAUL RIVERA, M.D., §
SHELDoN RUBENFIELD, M.D., §
sANDRA sCURRIA, M.D., §
DARRELL N. sTEELE, M.D., §
JEANINE H. THOMAS, M.D., §
JORGE TREVlNo, M.D., §
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§ § c<§l
Defendants \ JUDICIAL DISTRICT
JURY TRIAL DEMANDED
ORIGINAL PETITION
TO THE HONC)RABLE JUDGE OF SAlD COURT:
COME NOW, JOHN ALLISON; GEORGIANNA BONNER; BETTY

EMEHISER; GILBERT GARCIA; ROSARIO GONZALEZ; BENJAMIN HATHOOT;

PAGE l

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JESSIE JONES; MARGARET KNIGHT; DONALD LAVRlNC, JR.; AUSTIN METZ,
JR.; LONNIE ROBINSON; ROOSEVELT THOMAS; and KATRINA WOODS;
complaining of Defendants, WARNER LAMBERT COMPANY, PARKE DAVIS
DIVISION OF WARNER LAMBERT COMPANY, PFIZER lNC., FERNANDO
BUESO, M.D., GLOVER JOHNSON, M.D., ERIC ORZEK, M.D., AYAPRAKASH
REDDY, M.D., RAUL RIVERA, M.D., SHELDON RUBENFIELD, M.D., SANDRA
SCURRIA, M.D., DARRELL N. STEELE, M.D., JEAN]NE H. THOMAS, M.D., and
JORGE TREVD\'O, M.D., and for cause of action shows:
I. SERVICE OF PROCESS
l. Defendant, FERNANDO BUESO, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional association,
partnership, unincorporated association or other business entity doing business
in Texas. Defendant may be_served with process at:
FERNANDO BUESO, M.D.
1315 St. Joseph Parkway, Suite 1507
Houston, TX 77002
2. Defendant, GLOVER JOHNSON, M.D., is a resident citizen, and a participant
or member in a professional corporation, professional association, partnership,
unincorporated association or other business entity doing business in Texas.
Defendant may be served with process at:
GLOVER JOHNSON, M.D.
7500 Beechnut, Suite 286
Houston, TX 77074

3. Defendant, ERIC ORZEK, M.D., is a resident citizen, and a participant or

member in a professional corporation, professional association, partnership,

PAGE 2

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unincorporated association or other business entity doing business in Texas.
Defendant may be served with process at:
ERIC ORZEK, M.D.
8181 North Stadium Dr., Suite 200
Houston, TX 77054
4. Defendant, AYAPRAKASH REDDY, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional association,
partnership, unincorporated association or other business entity doing business
in Texas. Defendant may be served with process at:
AYAPRAKASH REDDY, M.D.
200 North Virginia St.
Terrell, TX 75160
5. Defendant, RAUL RIVERA, M.D., is a resident citizen, and a participant or
member in a professional corporation, professional association, partnership,
unincorporated association or other business entity doing business in Texas.
Defendant may be served with process at:
RAUL RIVERA, M.D.
4301 Vista
Pasadena, TX 77504
6. Defendant, SHELDON RUBENFIELD, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional association,
partnership, unincorporated association or other business entity doing business
in Texas. Defendant may be served with process at:
SHELDON RUBENFIELD, M.D.

75155 Main Street, Suite 475
Houston, TX 77030

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7. Defendant, SANDRA SCURRIA, M.D., is a resident citizen, and a participant

or member in a professional corporation, professional association, partnership,
unincorporated association or other business entity doing business in Texas.

Defendant may be served with process at:
SANDRA SCURRIA, M.D.
1200 Binz St., Suite 700
Houston, TX 77004
8. Defendant, DARRELL N. STEELE, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional
association, partnership, unincorporated association or other business entity
doing business in Texas. Defendant may be served with process at:
DARRELL N. STEELE, M.D.
112 West Pipeline Rd.
Hurst, TX 76053
9. Defendant, JEANINE H. THOMAS, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional association,
partnership, unincorporated association or other business entity doing business
in Harris County, Texas. Defendant may be served with process at:
JEANINE H. THOMAS, M.D.
6737 Brentwood Stair Rd., Suite 124
Ft. Worth, TX 76112
10. Defendant, JORGE TREVINO, M.D., is a resident citizen, and a participant or
member in a professional corporation, professional association, partnership,

unincorporated association or other business entity doing business in Hidalgo

County, Texas. Defendant may be served with process at:

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JORGE TREVINO, M.D.
109 E. Toronto, Suite 300
McAllen, TX 78503
Defendant Warner-Lambert Company is a Delaware corporation licensed to

do business in the state of Texas and may be served with process through its

registered agent:

CT Corporate Systems

350 N. St. Paul

Dallas, Texas 75201
Defendant, Pfizer Incorporated, is a Delaware corporation licensed to do
business in the state of Texas and may be served With process through its
registered agent:

CT Corporate Systems

350 N. St. Paul

Dallas, Texas 75201
Defendant Parke-Davis Division of Warner Lambert Company is a Delaware
Corporation licensed to do business in the State of Texas and may be served
with process through its registered agent:

CT Corporate Systems

350 N. St. Paul

Dallas, Tean 75201

II. JURISDICTION

The Court has jurisdiction over the non-resident Defendants because
Defendant currently conducts business in the State of Texas or has conducted
business in the state of Texas, committed a tort in whole or in part in the State
of Texas, and/or has continuing contacts With the State of Texas. Each non-

resident Defendant is amenable to service by a Texas court.

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15. Venue of this case is proper in Hidalgo County, Texas, because part or all of
the cause of action accrued in Hidalgo County, Texas or one or more Plaintiffs
are residents of Hidalgo County, Texas.

16. At least one of the Defendants is a resident of Texas.

III. NOTICE UNDER THE TEXAS MEDICAL LIABILITY AND INSURANCE
IMPROVEMENT ACT OF TEXAS

Plaintiffs hereby give Defendant Physicians written notice of their intention to file
this lawsuit, as contemplated by Article 4590i, Vernon’s Annot. Civ. Stat., even though
Plaintiffs contend that such notice is not necessary because they are not presently
asserting health care liability claims against such Defendants, as defined by Article
4590i(a)(4). The only claim currently being asserted against such physicians is for
breach of Warranties. However, such written notice be required, Plaintiffs plead that this
cause of action be deemed abated for the requisite period of time since this petition

provides written notice and details of the Plaintiffs’ claims.
V. IDENTIFICATION OF DEFENDANTS
A. Manufacturing / Promoting Defendants
The Plaintiffs identified above are victims of the Defendants’ decision to
manufacture, market, design, and/or distribute the drug Rezulin. Plaintiffs would show
that Defendants, WARNER LAMBERT COMPANY, PARKE DAVIS DIVISION OF
WARNER LAMBERT COMPANY, PFIZER INC. manufacture, market, and distribute a

drug known as Troglitazone, under the brand name of “Rezulin”. Such drug Was

distributed to all Plaintiffs.

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Defendants, WARNER LAMBERT COMPANY, PARKE DAVIS DIVISION OF
WARNER LAMBERT COMPANY, PFIZER INC. collectively will herein after be

referenced to as “Manufacturing/Promoting Defendants”.

B. Physician Defendants
Plaintiff JOHN ALLISON was prescribed REZULIN by Defendant DR.

DARRELL N. STEELE for treatment of diabetes
Plaintiff GEORGIANNA BONNER Was prescribed REZULIN by Defendant DR.

SHELDON RUT$EN`FELD for treatment of diabetes

Plaintiff BETTY EMEHISER was prescribed REZULIN by Defendant DR.
AYAPRAKASH REDDY for treatment of diabetes.

Plaintiff GILBERT GARClA was prescribed REZULIN by Defendant DR. ERIC
ORZEK for treatment of diabetes.

Plaintiff ROSARIO GONZALEZ was prescribed REZULIN by Defendant DR.

JORGE TREVINO for treatment of diabetes

Plaintiff JESSIE JONES was prescribed REZULIN by Defendant DR. RAUL

RIVERA for treatment of diabetes.

Plaintiff MARGARET KNIGHT was prescribed REZULIN by Defendant DR.

SANDRA SCURRIA for treatment of diabetes.

Plaintiff AUSTIN METZ, JR. was prescribed REZUL]N by Defendant DR.

FERNANDO BUESO for treatment of diabetes

Plaintiff ROOSEVELT THOMAS was prescribed REZULIN by Defendant DR.

JEANlNE H. THOMAS for treatment of diabetes.

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 43 of 200

Plaintiff KATRINA WOODS was prescribed REZULIN by Defendant GLOVER

JOHNSON for treatment of diabetes.

Defendants, FERNANDO BUESO, M.D., GLOVER JOHNSON, M.D., ERIC

ORZEK, M.D., AYAPRAKASH REDDY, M.D., RAUL RIVERA, M.D., SHELDON

RUBENFIELD, M.D., SANDRA SCURRIA, M.D., DARRELL N. STEELE, M.D.,

JEANINE H. THOMAS, M.D., and JORGE TREVINO, M.D., collectively will herein

after be referenced to as “Physician Defendants”.

IV.

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FACTUAL BACKGROUND OF THIS COMPLAINT- PLAINTIFFS
Plaintiffs JOHN ALLISON; GEORGIANNA BONNER; BETTY
EMEHISER; GILBERT GARCIA; ROSARIO GONZALEZ; BENJAMIN
HATHOOT; JESSIE JONES; MARGARET KNIGHT; DONALD
LAVRINC, JR.; AUSTIN METZ, JR.; LONNIE ROBINSON; ROOSEVELT
THOMAS and KATRlNA WOODS; all took the drug Rezulin (Troglitazone)
for treatment of diabetes.

FACTUAL BACKGROUND OF THIS COMPLAINT - DEFENDANTS
At all times relevant, Warner Lambert/Parke Davis by themselves, or by use
of others, did manufacture, create, design, assemble, test, label sterilize,
package, distribute, promote, supply, market, sell, advertise, warn, and
otherwise distribute in interstate commerce, the product Rezulin
(Troglitazone).

Defendant Pfizer, Inc. is the successor / real party in interest to Warner-

Lambert Company and its Parke Davis Division.

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At all times material hereto, Defendants Pfizer, Inc., Warner-Lambert
Company and its Parke-Davis Pharmaceuticals Division (hereinafcer
Manufacturing Defendants) sold, delivered, and/or distributed Rezulin
(Troglitazone) for ultimate sale and/or use in the State of Texas by diabetic
patients including Plaintiffs

At all times material hereto, Manufacturing Defendants Were acting by and
through its agents, servants, and/or employees, each of whom were acting
within the scope and course of their employment or agency or authority of
Manufacturing Defendants.

Rezulin (Troglitazone) was widely advertised by Manufacturing Defendants
as a new generation of insulin sensitizers which help the human body respond
more effectively to insulin, so cells can absorb the blood sugar, or glucose,
that might otherwise lead to high blood sugar levels. Rezulin (Troglitazone)
was designed, manufactured, advertised and distributed for management and
control of type I[ diabetes, a condition experienced by the majority of all
diabetics. Manufacturing Defendants claimed that with Rezulin
(Troglitazone) a type 11 diabetic could gain tight glycemic control and / or
decrease or even eliminate insulin injections.

Rezulin was heralded as a new and safe alternative treatment for Type ll
Diabetes that could be taken alone as monotherapy or in combination with
other diabetic treatments However, the Rezulin research, development and
clinical trials conducted by Manufacturing Defendants clearly showed that

Rezulin was very toxic to the liver and could cause hepatocellular death,

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elevated liver enzymes, cirrhosis, hepatic necrosis, hepatic fibrosis, enlarged
liver and / or severe liver damage leading to death or requiring liver
transplant.

Even though the Manufacturing Defendants were aware from the cell toxicity
testing, animal studies and clinical trials that Rezulin had hepatotoxic effects,
Rezulin was marketed in March of 1997 with no warning section in the
package insert alerting physicians to the potential for liver damage after both
short and long-term Rezulin treatment. Prescribing physicians were purposely
misinformed as to the drug’s safety, efficacy, and potentially serious side
effects. Since that time, approximately 1.5 million Rezulin prescriptions
were filled with sales of over $1.7 bi`llion.

The labels and warnings which accompanied Rezulin (Troglitazone) when it
was originally marketed and sold in about March 1997 did not contain
sufficient or appropriate warnings or explanations about the drug’s potential
for liver toxicity and, in particular, the increased risk of serious liver problems
despite regular liver monitoring

Manufacturing Defendants conceded as much when they changed the product
label and issued Dear Doctor letters in October of 1997 to include information
and warnings regarding these hepatic toxic effects, and to recommend
checking liver enzyme levels. The package insert was changed again in
December of 1997 to include a black box warning. This warning informed
physicians that cases of liver failure leading to death and liver transplants had

been reported, and that injury occurred after both short and long-term use of

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Rezulin. For the first time, doctors and patients Were recommended to check
liver enzyrnes levels at the start of Rezulin treatment Manufacturing
Defendants subsequently changed the Rezulin product labeling multiple times,
each time recommending more stringent monitoring of patients’ liver enzyme
levels.

On March 26, 1999, Manufacturing Defendants admitted that even thorough
liver enzyme monitoring cannot eliminate the high risk of serious liver
problems for a number of patients taking Rezulin.

On March 21, 2000 Manufacturing Defendants withdrew the drug Rezulin
from the market and agreed, upon recommendation by the United States Food
& Drug Administration (FDA) that they Would not longer manufacturer,
market or distribute Rezulin in the United States of America.

On information and belief, Manufacturing Defendants knew about Rezulin’s
toxic effects on the liver prior to the initial marketing of the drug and long
before the product labeling changes in late 1997. By failing to include
complete and accurate warnings at the outset of their marketing, promotional
and selling activities, Manufacturing Defendants falsely and fraudulently kept
relevant information from potential Rezulin (Troglitazone) users, and
minimized user and prescriber concern regarding the safety of the product.
Manufacturing Defendants’ strategy has been to aggressiver market and sell
Rezulin (Troglitazone) by misleading consumers, pharmacists and physicians

about Rezulin and/or to purposefully downplay and understate the dangers and

PAGE l l

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potential dangers of Rezulin (Troglitazone) to the physicians, the public and
the FDA.

Manufacturing Defendants failed to protect or adequately warn users about the
serious dangers, which Warner Lambert and Parke- Davis knew (or should
have known) would result from the use of Rezulin (Troglitazone).

ln addition, upon information and belief, Manufacturing Defendants informed
physicians, including but not limited to Plaintiffs’ prescribing physicians, that
Rezulin was a safe and effective product with side effects comparable to
placebo when in reality these representations were false and misleading
Manufacturing Defendants wholly failed to provide complete and adequate
information and warnings for users and potential users of Rezulin
(Troglitazone), about the drug’s potential for liver damage even with liver
enzyme monitoring The label and warnings included with Rezulin
(Troglitazone) were inadequate, particularly in light of the severe health risks
presented as a result of use of` the product. Through promotional literature,
Manufacturing Defendants deceived users and potential users of Rezulin
(Troglitazone), and minimized user and prescriber concerns regarding the
safety of Rezulin (Troglitazone).

Manufacturing Defendants by affirmative misrepresentations and omissions,
falsely and fraudulently created the image and impression that the use of
Rezulin (Troglitazone) Was a safe drug for the treatment of Type H diabetes,
when in fact the risk of liver failure with this drug far exceeds the potential

benefits of this drug In particular, there is no effective way to determine

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which patient will suffer severe liver damage due to Rezulin treatment
because liver enzyme monitoring is ineffective in predicting liver toxicity with
this drug

Physician Defendants prescribed Rezulin to Plaintiffs for treatment of their
diabetes. Plaintiffs took this medication as prescribed.

Plaintiffs have been injured in many ways as a result of Defendants’ actions
including death and liver damage including, but not limited to: hepatocellular
death, elevated liver enzymes, liver enlargement, hepatitis, cirrhosis, hepatic
necrosis, hepatic cirrhosis, ascites, portal hypertension, hepatic
encephalopathy, varices, and transplantation and/or have taken Rezulin and
request reimbursement from Defendants for the costs and expenses associated
with Plaintiffs’ Rezulin prescriptions, testing and future medical expenses as
well as mental anguish and pain.

§M

Negligence and Negligence Per Se As To Manufacturing Defendants

Plaintiffs, hereby incorporate by reference the allegations set forth in
paragraphs 1 through 36 of this Petition as though set forth in full herein.
Manufacturing Defendants had a duty to exercise reasonable care in the
testing, study, approval, manufacture, promotion, marketing, sale and/or
distribution of Rezulin into the stream of commerce, including a duty to
assure that the product did not cause users to suffer from foreseeable

unreasonably dangerous side effects and serious health problems.

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Manufacturing Defendants failed to exercise ordinary care in the testing,
study, approval, manufacture, promotion, marketing, sale, and/or distribution
of Rezulin into interstate commerce in that Manufacturing Defendants knew or
should have known that Rezulin created a foreseeable high risk of

unreasonable, dangerous side effects and health hazards such as liver damage

which can cause death or necessitate a liver transplant.
Manufacturing Defendants were negligent in the design, manufacture, testing,
advertising wanting promotion, marketing and sale of Rezulin in that they:

(a) Failed to use due care in designing and manufacturing Rezulin
so as to avoid the aforementioned risks to individuals when Rezulin was

being used for treatment of Type II diabetes.

(b) Failed to accompany their product with proper warnings
regarding all possible adverse side effects and health risks associated with
the use of Rezulin and the comparative severity and duration of such

adverse effects;

(c) The warnings given did not accurately reflect the symptoms,
scope or severity of the side effects and health risks;

(d) Failed to conduct adequate pre-clinical and clinical testing and
post-marketing surveillance to determine the safety of Rezulin;

(e) Failed to provide adequate training or information to medical
care providers for appropriate use of Rezulin;

(f) Failed to adequately warn consumers and medical prescribers
(but instead actively encouraged the sale of Rezulin), about the following:
(1) the need for comprehensive, regular medical monitoring to ensure
early discovery of potentially fatal liver damage; (2) the possibility of
death and/or having to undergo a liver transplant in order to correct the
liver damage; (3) that such surgery may cause extraordinary suffering
and/or death; (4) that the health risks posed by Rezulin may become
debilitating, difficult, and painful, necessitating lengthy surgery and/or
repeated visits to the doctor, clinic, or hospital;

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(g) Failed to adequately test and/or warn about the use of Rezulin,
including, Without limitation, the possible adverse side effects and health
risks caused by the use of Rezulin;

(h) Failed to adequately Warn users, consumers and physicians
about the severity, scope, and likelihood of liver damage and related
dangerous conditions to individuals taking Rezulin;

(i) Represented to physicians, including but not limited to
Plaintiffs’ prescribing physicians, that this drug was safe and effective for
use;

(j) Once Defendants were made aware of the serious health effects

of Rezulin through Adverse Drug Experience reports, failed to adequately,
timely and promptly relay that information to the prescribing physicians or
ultimate users; and

(k) Were otherwise careless or negligent

Despite the fact that Manufacturing Defendants knew or should have known
that Rezulin caused unreasonable, dangerous side effects and posed potentially
fatal health risks, Manufacturing Defendants continued to market Rezulin to
prescribing physicians and consumers, including Plaintiffs, When there were
safer alternative methods of treatment available for their condition.
Manufacturing Defendants knew or should have known that consumers such
as Plaintiffs would foreseeably suffer serious injury as a result of Defendants’
failure to exercise ordinary care as described.

Manufacturing Defendants were negligent per se in that they violated federal
statute requirements as to warnings, advertisements and reporting of adverse
drug experiences and provided inaccurate information in their warnings,
informational materials and package insert in direct violation of the United
States Food & Drug Cosmetic Act as well as 21 C.F.R Section 314 and 21

C.F.R. Section 200-299. Manufacturing Defendants were also negligent per se

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by withholding and/or misrepresenting to the United States Food and Drug
Administration (hereinafier “FDA”) information concerning the drug Rezulin
(Troglitazone) that is required to be submitted under the Federal Food and
Drug and Cosmetic Act, Chapter 674, 52 Stat. 1040, U.S.C 301 to 321, 331 to
343-2, 344 to 346a, 347, 348 to 353, 355 to 360, 360b to 376, and 378 to 395.

Because of the breach of duty and negligent conduct of the Manufacturing
Defendants, in the manner set for the above, Plaintiffs have sustained general
and special damages. The acts and omissions of Defendants, in the manner
described above, were the direct and proximate cause of Plaintiffs’ injures.
Therefore Plaintiffs have a cause of action in negligence against
Manufacturing Defendants in an amount substantially in excess of the

jurisdictional limits of this Court.

COUNT II
Strict Product Liability (Failure To Warn) As To

Defendants Warner Lambert Company / Pfizer, Inc.

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 44, inclusive as though fully set out herein,

Manufacturing Defendants failed to perform adequate testing in that adequate
testing would have shown that Rezulin poses risks of serious liver damage and
related conditions and diseases, With respect to which full and proper warnings
accurately and fully reflecting symptoms, scope and severity should have been

made.

Manufacturing Defendants knew, or should have known, that Rezulin was and is a

dangerously defective product which poses unacceptable risks unknown and

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unknowable by the consuming public of serious liver damage and related
conditions and diseases.
The Rezulin manufactured and/or supplied by Defendants was defective due to
inadequate warnings because after the Defendants knew or should have known of
the risk of liver damage and related conditions and diseases, Defendants failed to
provide adequate warnings to consumers of the product and continued to
aggressiver promote the dangerously defective drug
COUNT III
Strict Product Liability (Defective Product)
As To Defendant Warner-Lambert Company / Pfizer. Inc.
Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 48 inclusive, as though hilly set out herein.
Plaintiffs allege that the Manufacturing Defendants are liable under the theory of
Strict Product Liability as set forth in section 402A of the Restatement (Second)
of Torts as adopted by the Texas courts. Such Defendants Were at all times
material hereto engaged in the business of designing manufacturing marketing
distributing and/or placing into the stream of commerce the drug Rezulin.
Defendants are in the business of selling such products With the expectation that
such products will reach the user without substantial change in the condition in
which they are sold. Rezulin (troglitazone) reached the ultimate user without
substantial change in the condition in which it was sold.

The Rezulin manufactured and/or supplied by Manufacturing Defendants was

defective due to:

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(a) Defective design or formulation in that when it left the hands of the
manufacturer and/or suppliers, the foreseeable risks exceeded the benefits

associated with the design or formulation;

(b) Defective marketing in that Defendants made inappropriate, misleading
inaccurate and incomplete representations about this product in
advertisements promotional materials, press releases, questions and answers
for media and consumers, news articles, commercials, published articles and
direct to consumer advertisements These deceptive marketing
representations were made to the FDA, physicians pharmacists and the
public, These deceptive marketing representations were made in order to

induce sales and increase profits;

(c) Defective design or forrnulation, in that when it left the hands of the
manufacturer and/or suppliers, it was unreasonably dangerous it was more
dangerous than an ordinary consumer would expect, and more dangerous than

other diabetes medications;

(d) Inadequate warnings or instructions because the defendants knew or should
have known that the product created a risk of liver damage and related
conditions and diseases;

(e) Inadequate pre-marketing testing which if conducted properly would have
revealed the serious problems with this drug prior to the first sale or
inadequate attention was paid to the results of the pre-marketing testing which
clearly showed a signal for the hepatic toxicity of Rezulin; and / or

(f) Inadequate post-marketing warning or instruction because, after the
Defendants knew or should have known of the risk of liver damage and
related conditions and diseases, they failed to provide adequate warnings to
users or consumers of the product and continued to promote the product.

COUNT IV
Breach Of Express Warrang As To

Defendant Warner- Lambert Company / Pfizer, Inc. and Physician Defendants

Plaintiffs, hereby incorporate by reference the allegations set forth in paragraphs l
through 51 inclusive, as though fiilly set out herein.

Manufacturing Defendants expressly warranted that Rezulin was safe and
effective as clinically tested and was of merchantable quality and fit for the use

for which the drug was intended. Physician Defendants also expressly warranted

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to Plaintiffs that Rezulin was safe and effective when they knew that substantial
questions existed with respect to the safety and efficacy of these products

54, Rezulin does not conform to these express representations because Rezulin is not
safe and presents a high risk of serious side effects including liver and cardiac
damage.

55. As a direct and proximate result of such breach of express warranties Plaintiffs
have sustained damages as described herein.

QQM
Breach Of Ithlied Warrantv As To
Defendant Warner- Lambert Company / Plizer, Inc. and Ll_rysician Defendan_t§

56. Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 55 inclusive, as though fully set out herein.

57. At the time Manufacturing Defendants designed, promoted, marketed, sold, and
distributed Rezulin for use by plaintiffs, these Defendants knew of the use for
which Rezulin was intended and impliedly warranted the product to be of
merchantable quality and safe and fit for its intended use. lt is also alleged that the
named Physician Defendants impliedly warranted to Plaintiffs that their products
were safe when in fact the products Were not safe. Contrary to such implied
warranty, Rezulin was not of merchantable quality or safe or fit for its intended
use, because the product was and is unreasonably dangerous and unfit for the
ordinary purposes for which it was used as described above,

As the proximate, producing cause and legal result of the Defendants’ breach of

implied warranties Plaintiffs have been damaged as described herein,

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Fraudulent Concealment and Suppression As To
Manufacturing Defendants

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 5 8, inclusive, as though fully set out herein.

At the time the Manufacturing Defendants marketed, sold, and distributed Rezulin
for use by the Plaintiffs, Manufacturing Defendants knew of the use for which
Rezulin was intended and impliedly and expressly warranted the product to be of
merchantable quality and safe and fit for such use. Defendants changed the
product label for Rezulin in October of 1997 to more accurately reveal the drug’s
hepatotoxic risks The product label was changed again in December of 1997 and
July of 1998, each time increasing the hepatic warnings and refining the liver
monitoring recommendations Defendants intentionally and deliberately withheld
and delayed providing these additional warnings and information from the
consuming public and the Plaintiffs conceming Rezulin’s toxic effect on the liver.
This conduct amounted to fraudulent concealment or suppression of important
and pertinent information that was needed by the prescribing physicians to make
an informed and appropriate decision about the use of Rezulin and the warnings
to pass on to their patients

As the proximate, producing, and legal cause of Manufacturing Defendants’

fraudulent concealment or suppression, Plaintiffs suffered damages as described

herein,

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MVB
Intentional Mi_srepresentations & Fraud as to

Manufactgring Defendants
Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 60inclusive, as though fully set out herein,
At the time the Manufacturing Defendants designed, tested, manufactured,
marketed, promoted, sold, and distributed Rezulin for use by the Plaintiffs,
Manufacturing Defendants knew of the use for which Rezulin was intended and
knew of the serious risks and dangers associated with such use of Rezulin.
Manufacturing Defendants intentionally made false and misleading
representations as to the risks and benefits of the drug Rezulin to the prescribing
physicians and ultimate users Manufacturing Defendants made these
representations with reckless indifference to its truth. Plaintiffs relied on
Manufacturing Defendants representations as to the risks and benefits of this drug
to Plaintiffs’ detriment Manufacturing Defendants’ conduct was fraudulent
As a direct and proximate result of such intentional misrepresentations and fraud
by Manufacturing Defendants Plaintiffs suffered damages as described herein,

COUNT VIII
Negligent Misrepresentations as to

Manufacturing Defendants
Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs l
through 65, inclusive, as though fully set out herein.
At the time the Manufacturing Defendants manufactured, designed, marketed,

sold, and distributed Rezulin for use by the Plaintiffs, Manufacturing Defendants

knew or should have known of the use for which Rezulin was intended and knew

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or should have known of the serious risks and dangers associated with such use of
Rezulin.

Manufacturing Defendants owed a duty to prescribing physicians and ultimate
end users including Plaintiffs, to accurately and truthfully represent the risks and
benefits of Rezulin. Manufacturing Defendants breached that duty by
misrepresenting the risks and benefits of the drug Rezulin to the prescribing
physicians and ultimate users including Plaintiffs

As a direct and proximate result of such negligent misrepresentation by
Manufacturing Defendants Plaintiffs suffered damages as described herein.

COUNT IX
Batter_'y as to Manufacturing Defendants

Plaintiffs, hereby incorporate by reference the allegations set forth in paragraphs 1
through 69, inclusive, as though fully set out herein. `

Manufacturing Defendants intentionally engaged in the conduct of manufacturing
distributing, and marketing Rezulin, a harmful substance, to the public including
Plaintiffs Manufacturing Defendants’ intentionally orchestrated a harmful and
offensive contact with Plaintiffs thereby causing harm to Plaintiffs

As the proximate, producing, and legal cause of Manufacturing Defendants’
harmful contact, Plaintiffs suffered damages as described herein,

COUNT X
Intentior_ral Iniliction of Emotional Distress

as to Manufacturing Defendants

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1

through 72, inclusive, as though fully set out herein.

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74. The acts omissions and representations of Manufacturing Defendants regarding the

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manufacturing distribution, and marketing of Rezulin as described in the factual
allegations and in Counts I, H, l]I, IV, V, VI, VII, VI[[, IX, X, XI, was intentional,
reckless extreme, and outrageous As a result of such conduct, Plaintiffs

suffered severe emotional distress

Q.Q_U§T_?§
Gross Negligence

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 74, inclusive, as though fully set out herein.
Plaintiffs also allege that the acts and omissions of the named Manufacturing
Defendants whether taken singularly or in combination with others constitute
gross negligence, which proximately caused the injuries to Plaintiffs ln that
regard, Plaintiffs seek damages in an amount which would punish such
Defendants for their conduct and which would deter other manufacturers from
engaging in such misconduct in the future.

GENERAL DAMAGES

Plaintiffs have been injured in many ways as a result of manufacturing

Defendants’ actions Plaintiffs who are alleging and can prove health problems
associated with the use of Rezulin have suffered serious physical injuries which
include, but are not limited to, liver damage including death, liver transplantation,
elevated liver enzymes, liver enlargement, hepatitis, cirrhosis, jaundice, ascites, portal
hypertension, hepatic encephalopathy. T hese plaintiffs have sustained medical
expenses in the past and will require future medical expenses in order to care for,

monitor, and treat the numerous problems they have suffered and will suffer in the

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future as a result of these defective products Additionally, the Plaintiffs have
suffered physical impairment in the past and will suffer such damage in the future.

These Plaintiffs sue for the physical pain and mental anguish they have suffered in the

past and will suffer in the future.

Plaintiffs are also claiming for reimbursement of medical expenses and costs that
they have suffered in the past and will suffer in the future in connection With their
prescriptions for Rezulin, medical testing and continued evaluation for liver damage,
including liver function testing, ultrasounds, and liver biopsies in the past and in all
probability further such testing in the future. These Plaintiffs sue for the physical pain
and mental anguish suffered in the past and which the Plaintiffs in reasonable medical
probability will suffer in the future. Plaintiffs who took Rezulin also request
reimbursement from manufacturing and pharmacy Defendants/ for the costs and expenses
associated with Plaintiffs’ Rezulin prescriptions testing and future medical expenses as
well as mental anguish and pain.

Plaintiffs plead for maximum compensatory damages in the amount of
810,000,000 under each cause of action, Plaintiffs plead for punitive damages in the
amount of $l Billion each.

PRAYER FOR RELIEF
WHEREFORE, PREMISES CONSIDERED, Plaintiffs, pray that upon final

trial and hearing hereof, Plaintiff have judgment against Defendants for:

a. general damages for a sum in excess of the minimum jurisdictional limits for
this Court;

b. exemplary damages

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c. physical pain and suffering;
d. reasonable attomey’s fees;
e. pre-judgment interest as provided by law;

f. post-judgment interest as provided by law;
g. all costs of court; and

h. such other and further relief to which Plaintiffs may be entitled.

Respectfully submitted by:

LITTLEPAGE & ASSOCIA'I`ES, P.C.

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ZoelB. Littlepage TBA# 12430050
Chetna Gosain TBA#24001435
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408 Westheimer

Houston, Texas 77006

(713) 529-8000

(713) 529-8044 Facsimile

Attorneys for Plaintiffs

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CAUSE NO. C-521-02-B ~-¢ ~~

   

JOHN ALLISON; GEORGIANNA IN THE DIS'I`
BONNER; BETTY El\/HEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
IESSIE JONES', l\/U\RGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, IR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA
WOODS;

Plaintiffs

HIDALGO COUNTY, TEXAS

WARNER LAl\/IBERT COMPANY,
PARKE DAVIS DIVISION OF WARNER
LAl\/[BERT COMPANY,

PFIZER, INCORPORATED
GERARDO BUESO, M.D.,
GLOVER JOHNSON, M.D.,

ERIC ORZEK, M.D.,
AYAPRAKASH REDDY, M.D.,
RAUL RIVERA, M.D.,

SHELDON RUBENFIELD, M.D.,
SANDRA SCURRIA, M.D.,
DARRELL N. S'I'EELE, M.D.,
JEANINE H. THOMAS, M.D.,
JORGE TREVINO, M.D.,

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Defendants 93“’ JUDICIAL DISTRICT
JURY TRIAL DEMANDED
Fmsr AMENDEI) PETITroN
To THE HoNoRABLE IUDGE oF sAlD CoURT;
CoME Now, JOHN ALLISON; GEORGIANNA BONNER; BETTY

EMEHISER; Gll.BERT GARCIA; ROSARIO GONZALEZ; BENJAMIN HATHOOT;

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JESSIE JONES; MARGARET KNIGHT; DONALD LAVRINC, JR.; AUSTIN METZ,
IR.; LONNIE ROBINSON; ROOSEVELT THOMAS; and KATRINA WOODS;
complaining of Defendants WARNER LAMBERT COMPANY, PARKE DAVIS
DIVISION GF WARNER LAMBERT COMPANY, PFIZER lNC., GERARDO
BUESO, M.D., GLOVER JOHNSON, M.D., ERIC ORZEK, M.D., AYAPRAKASH
REDDY, M.D., RAUL RIVERA, M.D., SHELDON RUBENFIELD, M.D., SANDRA
SCURRIA, M.D., DARRELL N. STEELE, M.D., JEANINE H. THOMAS, M.D., and
JORGE TREVINO, M.D., and for cause of action shows:
I. SERVICE OF PROCESS
1. Defendant, GERARDO BUESO, M.D., is a resident citizen, and a participant
or member in a professional corporation, professional association, partnership,
unincorporated association or other business entity doing business in Texas.
Defendant may be served with_ process at:
GERARDO BUESO, M.D.
1213 Hermann Drive, Suite 330
Houston, TX 77004
2. Defendant, GLOVER JOHNSON, M.D., is a resident citizen, and a participant
or member in a professional corporation, professional association, partnership,
unincorporated association or other business entity doing business in Texas.
Defendant may be served with process at:
GLOVER JOHNSON, M.D.
7500 Beechnut, Suite 286
Houston, TX 77074

3. Defendant, ERIC ORZEK, M.D., is a resident citizen, and a participant or

member in a professional corporation, professional association, partnership,

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unincorporated association or other business entity doing business in Texas.
Defendant may be served with process at:
ERIC ORZEK, M.D.
8181 North Stadium Dr., Suite 200
Houston, TX 77054
4. Defendant, AYAPRAKASH REDDY, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional association,
partnership, unincorporated association or other business entity doing business
in Texas. Defendant may be served with process at:
AYAPRAKASH REDDY, M.D.
200 North Virginia St.
Terrell, TX 75160
5. Defendant, RAUL RIVERA, M.D., is a resident citizen, and a participant or
member in a professional corporation, professional association, partnership,
unincorporated association or other business entity doing business in Texas.
Defendant may be served with process at:
RAUL RIVERA, M.D.
4301 Vista
Pasadena, TX 77504
6. Defendant, SHELDON RUBENFIELD, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional association,
partnership, unincorporated association or other business entity doing business
in 'l`exas. Defendant may be served with process at:
SHELDON RUBENFIELD, M.D.

75155 Main Street, Suite 475
Houston, TX 77030

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lO.

Defendant, SANDRA SCURRIA, M.D., is a resident citizen, and a participant
or member in a professional corporation, professional association, partnership,
unincorporated association or other business entity doing business in Texas.
Defendant may be served with process at:

SANDRA SCURRIA, M.D.

1200 Binz St., Suite 700

Houston, TX 77004
Defendant, DARRELL N. STEELE, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional
association, partnership, unincorporated association or other business entity
doing business in Texas. Defendant may be served with process at:

DARRELL N. STEELE, M.D.

112 West Pipeline Rd.

Hurst, TX 76053
Defendant, JEANINE H. THOMAS, M.D., is a resident citizen, and a
participant or member in a professional corporation, professional association,
partnership, unincorporated association or other business entity doing business
in Harris County, Texas. Defendant may be served with process at:

IEANINE H. THOMAS, M.D.

6737 Brentwood Stair Rd., Suite 124

Ft. Worth, TX 76112
Defendant, JORGE TREVINO, M.D., is a resident citizen, and a participant or
member in a professional corporation, professional association, partnership,

unincorporated association or other business entity doing business in Hidalgo

County, Texas. Defendant may be served with process at:

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JORGE TREVINO, M.D.

109 E. Toronto, Suite 300

McAllen, TX 78503
Defendant Warner-Lambert Company is a Delaware corporation licensed to
do business in the state of Texas and may be served with process through its
registered agent:

CT Corporate Systems

350 N. St. Paul

Dallas, Texas 75201
Defendant, Pfizer Incorporated, is a Delaware corporation licensed to do
business in the state of Texas and may be served with process through its
registered agent:

CT Corporate Systems

350 N. St. Paul

Dallas, Texas 75201
Defendant Parke-Davis Division of Warner Lambert Company is a Delaware
Corporation licensed to do business in the State of Texas and may be served
with process through its registered agent:

CT Corporate Systems

350 N. St. Paul

Dallas, Texas 75201

II. JURISDICTION

The Court has jurisdiction over the non-resident Defendants because
Defendant currently conducts business in the State of Texas or has conducted
business in the state of Texas, committed a tort in whole or in part in the State
of Texas, and/or has continuing contacts with the State of Texas. Each non-

resident Defendant is amenable to service by a Texas court.

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15. Venue of this case is proper in Hidalgo County, Texas because part or all of
the cause of action accrued in Hidalgo County, Texas or one or more Plaintiffs
are residents of Hidalgo County, Texas.

16. At least one of the Defendants is a resident of Texas.

III. NOTICE UNDER THE TEXAS MEDICAL LIABILITY AND INSURANCE
IMPROVEMENT ACT OF TEXAS

Plaintiffs hereby give Defendant Physicians written notice of their intention to file
this lawsuit, as contemplated by Article 4590i, Vernon’s Annot. Civ. Stat., even though
Plaintiffs contend that such notice is not necessary because they are not presently
asserting health care liability claims against such Defendants as defined by Article
4590i(a)(4). The only claim currently being asserted against such physicians is for
breach of warranties However, such written notice be required, Plaintiffs plead that this
cause of action be deemed abated for the requisite period of time since this petition
provides written notice and details of the Plaintiffs’ claims

V. IDENTIFICATION OF DEFENDANTS

A. Manufactu ring / Promoting Defendants
The Plaintiffs identified above are victims of the Defendants’ decision to
manufacture, market, design, and/or distribute the drug Rezulin. Plaintiffs would show
that Defendants WARNER LAMBERT COMPANY, PARKE DAVIS DIVISION OF
WARNER LAMBERT COMPANY, PFIZER INC. manufacture, market, and distribute a
drug known as Troglitazone, under the brand name of “Rezulin”. Such drug was

distributed to all Plaintiffs

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Defendants WARNER LAMBERT COMPANY, PARKE DAVIS DIVISION OF
WARNER LAMBERT COMPANY, PFIZER INC. collectively will herein after be
referenced to as “Manufacturing/Promoting Defendants”.

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Plaintiff JOHN ALLISON was prescribed REZULH\I by Defendant DR.
DARRELL N. STEELE for treatment of diabetes

Plaintiff GEORGIANNA BONNER was prescribed REZULIN by Defendant DR.
SHELDON RUBENFIELD for treatment of diabetes

Plaintiff BETTY EMEHISER was prescribed REZULIN by Defendant DR.
AYAPRAKASH REDDY for treatment of diabetes

Plaintiff G[LBERT GARCIA was prescribed REZUL]N by Defendant DR. ERIC
ORZEK for treatment of diabetes

Plaintiff ROSARIO GONZALEZ _was prescribed REZULIN by Defendant DR.
JORGE TREVINO for treatment of diabetes

Plaintiff JESSIE JONES was prescribed REZULIN by Defendant DR. RAUL
RIVERA for treatment of diabetes

Plaintiff MARGARET KNIGHT was prescribed REZULIN by Defendant DR.
SANDRA SCURRIA for treatment of diabetes

Plaintiff AUSTIN METZ, JR. was prescribed REZULIN by Defendant DR.
GERARDO BUESO for treatment of diabetes

Plaintiff ROOSEVELT THOMAS was prescribed REZULIN by Defendant DR.

JEAN]NE H. THOMAS for treatment of diabetes

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Plaintiff KATRINA WOODS was prescribed REZULIN by Defendant GLOVER
JOHNSON for treatment of diabetes
Defendants GERARDO BUESO, M.D., GLOVER JOHNSON, M.D., ERIC
ORZEK, M.D., AYAPRAKASH REDDY, M.D., RAUL RIVERA, M.D., SHELDON
RUBENFIEhD, M.D., SANDRA SCURRIA, M.D., DARRELL N. STEELE, M.D.,
JEANINE H. THOMAS, M.D., and JORGE TREV[NO, M.D., collectively will herein
after be referenced to as “Physician Defendants”.
IV. FACTUAL BACKGROUND OF THIS COMPLAINT- PLAINTIFFS
17 . Plaintiffs JOHN ALLISON; GEORGIANNA BONNER; BETTY
EMEHISER; GILBERT GARCIA; ROSARIO GONZALEZ; BENJAMIN
HATHOOT; JESSIE JONES; MARGARET KNIGHT; DONALD
LAVRINC, IR.; AUSTlN METZ, JR.; LONNIE ROBINSON; ROOSEVELT
THOMAS and KATRINA WOODS; all took the drug Rezulin (Troglitazone)
for treatment of diabetes
V. FACTUAL BACKGROUND OF THIS COMPLAINT - DEFENDANTS
18. At all times relevant, Warner Lambert/Parke Davis by themselves or by use
of others did manufacture, create, design, assemble, test, label sterilize,
package, distribute, promote, supply, market, sell, advertise, warn, and
otherwise distribute in interstate commerce, the product Rezulin
(Troglitazone).
19. Defendant Pfizer, lnc. is the successor / real party in interest to Warner-

Lambert Company and its Parke Davis Division.

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At all times material hereto, Defendants Piizer, Inc., Warner-Lambert
Company and its Parke-Davis Pharmaceuticals Division (hereinafter
Manufacturing Defendants) sold, delivered, and/or distributed Rezulin
(Troglitazone) for ultimate sale and/or use in the State of Texas by diabetic
patients including Plaintiffs,

At all times material hereto, Manufacturing Defendants were acting by and
through its agents servants and/or employees each of whom were acting
within the scope and course of their employment or agency or authority of
Manufacturing Defendants

Rezulin (Troglitazone) was widely advertised by Manufacturing Defendants
as a new generation of insulin sensitizers which help the human body respond
more effectively to insulin, so cells can absorb the blood sugar, or glucose,
that might otherwise lead to high blood sugar levels Rezulin (Troglitazone)
was designed, manufactured, advertised and distributed for management and
control of type l] diabetes a condition experienced by the majority of all
diabetics. Manufacturing Defendants claimed that with Rezulin
(Troglitazone) a type II diabetic could gain tight glycemic control and / or
decrease or even eliminate insulin injections

Rezulin was heralded as a new and safe alternative treatment for Type H
Diabetes that could be taken alone as monotherapy or in combination with
other diabetic treatments However, the Rezulin research, development and
clinical trials conducted by Manufacturing Defendants clearly showed that

Rezulin was very toxic to the liver and could cause hepatocellular death,

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elevated liver enzymes, cirrhosis, hepatic necrosis hepatic fibrosis enlarged
liver and / or severe liver damage leading to death or requiring liver
transplant

Even though the Manufacturing Defendants were aware from the cell toxicity
testing, animal studies and clinical trials that Rezulin had hepatotoxic effects
Rezulin was marketed in March of 1997 with no warning section in the
package insert alerting physicians to the potential for liver damage after both
short and long-term Rezulin treatment Prescribing physicians were purposely
misinformed as to the drug’s safety, efficacy, and potentially serious side
effects Since that time, approximately 1.5 million Rezulin prescriptions
were filled with sales of over $1.7 billion.

The labels and warnings which accompanied Rezulin (Troglitazone) when it
was originally marketed and sold in about March 1997 did not contain
sufficient or appropriate warnings or explanations about the drug’s potential
for liver toxicity and, in particular, the increased risk of serious liver problems
despite regular liver monitoring

Manufacturing Defendants conceded as much when they changed the product
label and issued Dear Doctor letters in October of 1997 to include information
and warnings regarding these hepatic toxic effects and to recommend
checking liver enzyme levels The package insert was changed again in
December of 1997 to include a black box waming. This warning informed
physicians that cases of liver failure leading to death and liver transplants had

been reported, and that injury occurred after both short and long-term use of

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Rezulin. For the first time, doctors and patients were recommended to check
liver enzyrnes levels at the start of Rezulin treatment Manufacturing
Defendants subsequently changed the Rezulin product labeling multiple times,
each time recommending more stringent monitoring of patients’ liver enzyme
levels

On March 26, 1999, Manufacturing Defendants admitted that even thorough
liver enzyme monitoring cannot eliminate the high risk of serious liver
problems for a number of patients taking Rezulin.

On March 21, 2000 Manufacturing Defendants Withdrew the drug Rezulin
from the market and agreed, upon recommendation by the United States Food
& Drug Administration (FDA) that they would not longer manufactures
market or distribute Rezulin in the United States of America.

On information and belief, Manufacturing Defendants knew about Rezulin’s
toxic effects on the liver prior to the initial marketing of the drug and long
before the product labeling changes in late 1997. By failing to include
complete and accurate warnings at the outset of their marketing promotional
and selling activities Manufacturing Defendants falsely and fraudulently kept
relevant information from potential Rezulin (Troglitazone) users and
minimized user and prescriber concern regarding the safety of the product.
Manufacturing Defendants’ strategy has been to aggressiver market and sell
Rezulin (Troglitazone) by misleading consumers, pharmacists and physicians

about Rezulin and/or to purposefully downplay and understate the dangers and

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potential dangers of Rezulin (Troglitazone) to the physicians the public and
the FDA.

Manufacturing Defendants failed to protect or adequately warn users about the
serious dangers which Warner Lambert and Parke- Davis knew (or should
have known) would result from the use of Rezulin (Troglitazone).

In addition, upon information and belief, Manufacturing Defendants informed
physicians including but not limited to Plaintiffs’ prescribing physicians that
Rezulin was a safe and effective product with side effects comparable to
placebo when in reality these representations were false and misleading
Manufacturing Defendants wholly failed to provide complete and adequate
information and warnings for users and potential users of Rezulin
(Troglitazone), about the drug’s potential for liver damage even with liver
enzyme monitoring The labe_l and warnings included with Rezulin
(Troglitazone) were inadequate, particularly in light of the severe health risks
presented as a result of use of the product. Through promotional literature,
Manufacturing Defendants deceived users and potential users of Rezulin
(Troglitazone), and minimized user and prescriber concerns regarding the
safety of Rezulin (Troglitazone).

Manufacturing Defendants by aflinnative misrepresentations and omissions
falsely and fraudulently created the image and impression that the use of
Rezulin (Troglitazone) was a safe drug for the treatment of Type II diabetes
when in fact the risk of liver failure with this drug far exceeds the potential

benefits of this drug In particular, there is no effective way to determine

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which patient will suffer severe liver damage due to Rezulin treatment
because liver enzyme monitoring is ineffective in predicting liver toxicity with
this drug

Physician Defendants prescribed Rezulin to Plaintiffs for treatment of their
diabetes Plaintiffs took this medication as prescribed.

Plaintiffs have been injured in many ways as a result of Defendants’ actions
including death and liver damage including but not limited to: hepatocellular
death, elevated liver enzymes, liver enlargement hepatitis, cirrhosis, hepatic
necrosis hepatic cirrhosis, ascites, portal hypertension, hepatic
encephalopathy, varices, and transplantation and/or have taken Rezulin and
request reimbursement fi'om Defendants for the costs and expenses associated
with Plaintiffs’ Rezulin prescriptions testing and future medical expenses as
well as mental anguish and pain.

COUNT I

Negligence and Negngence Per Se As To Manufacturing Defendants

Plaintiffs, hereby incorporate by reference the allegations set forth in
paragraphs l through 36 of this Petition as though set forth in full herein,
Manufacturing Defendants had a duty to exercise reasonable care in the
testing study, approval, manufacture, promotion, marketing sale and/or
distribution of Rezulin into the stream of commerce, including a duty to
assure that the product did not cause users to suffer from foreseeable

unreasonably dangerous side effects and serious health problems

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39.

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Manufacturing Defendants failed to exercise ordinary care in the testing
study, approval, manufacture, promotion, marketing sale, and/or distribution
of Rezulin into interstate commerce in that Manufacturing Defendants larew or
should have known that Rezulin created a foreseeable high risk of
unreasonable, dangerous side effects and health hazards such as liver damage
which can cause death or necessitate a liver transplant

Manufacturing Defendants were negligent in the design, manufacture, testing
advertising wanting promotion, marketing and sale of Rezulin in that they:

(a) Failed to use due care in designing and manufacturing Rezulin
so as to avoid the aforementioned risks to individuals when Rezulin was
being used for treatment of Type ll diabetes

(b) Failed to accompany their product with proper warnings
regarding all possible adverse side effects and health risks associated with
the use of Rezulin and the comparative severity and duration of such
adverse effects;

(c) The warnings given did not accurately reflect the symptoms
scope or severity of the side effects and health risks;

(d) Failed to conduct adequate pre-clinical and clinical testing and
post-marketing surveillance to determine the safety of Rezulin;

(e) Failed to provide adequate training or information to medical
care providers for appropriate use of Rezulin;

(f) Failed to adequately warn consumers and medical prescribers
(but instead actively encouraged the sale of Rezulin), about the following:
(1) the need for comprehensive, regular medical monitoring to ensure
early discovery of potentially fatal liver damage; (2) the possibility of
death and/or having to undergo a liver transplant in order to correct the
liver darnage; (3) that such surgery may cause extraordinary suffering
and/or death; (4) that the health risks posed by Rezulin may become
debilitating difficult, and painful, necessitating lengthy surgery and/or
repeated visits to the doctor, clinic, or hospital;

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(g) Failed to adequately test and/or wam about the use of Rezulin,
including without limitation, the possible adverse side effects and health
risks caused by the use of Rezulin;

(h) Failed to adequately warn users consumers and physicians
about the severity, scope, and likelihood of liver damage and related
dangerous conditions to individuals taking Rezulin;

(i) Represented to physicians including but not limited to
Plaintiffs’ prescribing physicians that this drug was safe and effective for
use;

(j) Once Defendants were made aware of the serious health effects

of Rezulin through Adverse Drug Experience reports failed to adequately,
timely and promptly relay that information to the prescribing physicians or
ultimate users; and

(k) Were otherwise careless or negligent

41. Despite the fact that Manufacturing Defendants knew or should have known
that Rezulin caused unreasonable, dangerous side effects and posed potentially
fatal health risks Manufacturing Defendants continued to market Rezulin to
prescribing physicians and consumers including Plaintiffs, When there were
safer alternative methods of treatment available for their condition

42. Manufacturing Defendants knew or should have known that consumers such
as Plaintiffs would foreseeably suffer serious injury as a result of Defendants’
failure to exercise ordinary care as described.

43. Manufacturing Defendants were negligent per se in that they violated federal
statute requirements as to warnings advertisements and reporting of adverse
drug experiences and provided inaccurate information in their warnings
informational materials and package insert in direct violation of the United
States Food & Drug Cosmetic Act as well as 21 C.F.R Section 314 and 21

C.F.R. Section 200-299. Manufacturing Defendants were also negligent per se

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44.

by withholding and/or misrepresenting to the United States Food and Drug
Administration (hereinafter “FDA”) information conceming the drug Rezulin
(Troglitazone) that is required to be submitted under the Federal Food and
Drug and Cosmetic Act, Chapter 674, 52 Stat. 1040, U.S.C 301 to 321, 331 to
343-2, 344 to 346a, 347, 348 to 353, 355 to 360, 360b to 376, and 378 to 395.
Because of the breach of duty and negligent conduct of the Manufacturing
Defendants in the manner set for the above, Plaintiffs have sustained general
and special damages The acts and omissions of Defendants in the manner
described above, were the direct and proximate cause of Plaintiffs’ injures
Therefore Plaintiffs have a cause of action in negligence against
Manufacturing Defendants in an amount substantially in excess of the
jurisdictional limits of this Court

C UNT II
Strict Product Liabili Failure To Warn As To

Defendants Warner Lambert Company / Pl`rzer, Inc.

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs l
through 44, inclusive as though fully set out herein,

Manufacturing Defendants failed to perform adequate testing in that adequate
testing would have shown that Rezulin poses risks of serious liver damage and
related conditions and diseases, with respect to which full and proper warnings
accurately and fully reflecting symptoms scope and severity should have been
made.

Manufacturing Defendants knew, or should have known, that Rezulin was and is a

dangerously defective product which poses unacceptable risks unknown and

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unknowable by the consuming public of serious liver damage and related
conditions and diseases
The Rezulin manufactured and/or supplied by Defendants was defective due to
inadequate warnings because after the Defendants knew or should have known of
the risk of liver damage and related conditions and diseases, Defendants failed to
provide adequate warnings to consumers of the product and continued to
aggressiver promote the dangerously defective drug.
BUEng
Strict Product Liabilityl]lefective Product)
As To Defendant Warner-Lambert CMLLV / P@g', Inc.
Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 48 inclusive, as though fully set out herein.
Plaintiffs allege that the Manufacturing Defendants are liable under the theory of
Strict Product Liability as set forth in section 402A of the Restatement (Second)
of Torts as adopted by the Texas courts Such Defendants were at all times
material hereto engaged in the business of designing manufacturing marketing
distributing and/or placing into the stream of commerce the drug Rezulin.
Defendants are in the business of selling such products with the expectation that
such products will reach the user without substantial change in the condition in
which they are sold, Rezulin (troglitazone) reached the ultimate user without
substantial change in the condition in which it was sold,

The Rezulin manufactured and/or supplied by Manufacturing Defendants was

defective due to:

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(a) Defective design or formulation in that when it left the hands of the
manufacturer and/or suppliers the foreseeable risks exceeded the benefits
associated with the design or formulation;

(b) Defective marketing in that Defendants made inappropriate, misleading
inaccurate and incomplete representations about this product in
advertisements promotional materials, press releases questions and answers
for media and consumers, news articles commercials published articles and
direct to consumer advertisements These deceptive marketing
representations were made to the FDA, physicians pharmacists and the
public, These deceptive marketing representations were made in order to
induce sales and increase profits;

(c) Defective design or formulation, in that when it left the hands of the
manufacturer and/or suppliers it was unreasonably dangerous it was more
dangerous than an ordinary consumer would expect, and more dangerous than
other diabetes medications

(d) Inadequate warnings or instructions because the defendants knew or should
have known that the product created a risk of liver damage and related
conditions and diseases;

(e) Inadequate pre-marketing testing which if conducted properly would have
revealed the serious problems with this drug prior to the first sale or
inadequate attention was paid.to the results of the pre-marketing testing which
clearly showed a signal for the hepatic toxicity of Rezulin; and / or

(f) Inadequate post-marketing warning or instruction because, after the
Defendants knew or should have known of the risk of liver damage and
related conditions and diseases, they failed to provide adequate wantings to
users or consumers of the product and continued to promote the product.

COUNT IV
Breach Of Exgress Warrang As To

Defendant Warner- Lambert Company / Pfizer, Inc. and Physician Defendants
52.

Plaintiffs, hereby incorporate by reference the allegations set forth in paragraphs 1
through 51 inclusive, as though fully set out herein.

Manufacttuing Defendants expressly warranted that Rezulin was safe and
effective as clinically tested and was of merchantable quality and fit for the use

for which the drug was intended. Physician Defendants also expressly warranted

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to Plaintiffs that Rezulin was safe and effective when they knew that substantial
questions existed with respect to the safety and efficacy of these products

54. Rezulin does not conform to these express representations because Rezulin is not
safe and presents a high risk of serious side effects including liver and cardiac
damage.

55. As a direct and proximate result of such breach of express warranties Plaintiffs

have sustained damages as described herein.

COUNT V

Breach Of Imglied Warran§y As To
Defendant Warner- Lambert Company / Pfizer, Inc. and Physician Defendants

56. Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs l
through 55 inclusive, as though fully set out herein.

57. At the time Manufacturing Defendants designed, promoted, marketed, sold, and
distributed Rezulin for use by plaintiffs, these Defendants lmew of the use for
which Rezulin was intended and impliedly warranted the product to be of
merchantable quality and safe and fit for its intended use. It is also alleged that the
named Physician Defendants impliedly warranted to Plaintiffs that their products
were safe when in fact the products were not safe. Contrary to such implied
warranty, Rezulin was not of merchantable quality or safe or fit for its intended
use, because the product was and is unreasonably dangerous and unfit for the
ordinary purposes for which it was used as described above.

As the proximate, producing cause and legal result of the Defendants’ breach of

implied warranties Plaintiffs have been damaged as described herein.

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Fraudulent Concealment and Suggression As To
Manufacturing Defendants

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 58, inclusive, as though fully set out herein.

At the time the Manufacturing Defendants marketed, sold, and distributed Rezulin
for use by the Plaintiffs, Manufacturing Defendants knew of the use for which
Rezulin was intended and impliedly and expressly warranted the product to be of
merchantable quality and safe and fit for such use, Defendants changed the
product label for Rezulin in October of 1997 to more accurately reveal the drug’s
hepatotoxic risks The product label was changed again in December of 1997 and
July of 1998, each time increasing the hepatic warnings and refining the liver
monitoring recommendations Defendants intentionally and deliberately withheld
and delayed providing these additional wamings and information nom the
consuming public and the Plaintiffs concerning Rezulin’s toxic effect on the liver.
This conduct amounted to fraudulent concealment or suppression of important
and pertinent information that was needed by the prescribing physicians to make
an informed and appropriate decision about the use of Rezulin and the warnings
to pass on to their patients

As the proximate, producing and legal cause of Manufacturing Defendants’
fraudulent concealment or suppression, Plaintiffs suffered damages as described

herein.

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Intentional Misrepresentations & Fraud as to
Manufacturing Defendants

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 60inclusive, as though fully set out herein.

At the time the Manufacturing Defendants designed, tested, manufactured,
marketed, promoted, sold, and distributed Rezulin for use by the Plaintiffs,
Manufacturing Defendants knew of the use for which Rezulin Was intended and
knew of the serious risks and dangers associated with such use of Rezulin.
Manufacturing Defendants intentionally made false and misleading
representations as to the risks and benefits of the drug Rezulin to the prescribing
physicians and ultimate users Manufacturing Defendants made these
representations with reckless indifference to its truth. Plaintiffs relied on
Manufacturing Defendants representations as to the risks and benefits of this drug
to Plaintiffs’ detriment Manufacturing Defendants’ conduct was fraudulent

As a direct and proximate result of such intentional misrepresentations and fraud
by Manufacturing Defendants Plaintiffs suffered damages as described herein,

COUNT VIII

Negligent Misrepresentations as to
Manufacturing Defendants

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1
through 65 , inclusive, as though fully set out herein.

At the time the Manufacturing Defendants manufactured, designed, marketed,
sold, and distributed Rezulin for use by the Plaintiffs, Manufacturing Defendants

knew or should have known of the use for which Rezulin was intended and knew

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or should have known of the serious risks and dangers associated with such use of
Rezulin.

Manufacturing Defendants owed a duty to prescribing physicians and ultimate
end users including Plaintiffs, to accurately and truthfully represent the risks and
benefits of Rezulin. Manufacturing Defendants breached that duty by
misrepresenting the risks and benefits of the drug Rezulin to the prescribing
physicians and ultimate users including Plaintiffs,

As a direct and proximate result of such negligent misrepresentation by
Manufacturing Defendants Plaintiffs suffered damages as described herein.

M
Batteg as to Manufacturing Defendants

Plaintiffs, hereby incorporate by reference the allegations set forth in paragraphs 1
through 69, inclusive, as though fully set out herein.

Manufacturing Defendants intentionally engaged in the conduct of manufacturing
distributing and marketing Rezulin, a harmful substance, to the public including
Plaintiffs Manufacturing Defendants’ intentionally orchestrated a harmful and
offensive contact with Plaintiffs thereby causing harm to Plaintiffs

As the proximate, producing and legal cause of Manufacturing Defendants’
harmful contact, Plaintiffs suffered damages as described herein.

COUNT X
Intentional Infliction of Emotional Distress

as to Manufacturing Defendants

Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs 1

through 72, inclusive, as though fully set out herein.

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The acts omissions and representations of Manufacturing Defendants regarding the

manufacturing distribution, and marketing of Rezulin as described in the factual
allegations and in Counts I, II, HI, IV, V, VI, VII, VIII, IX, X, XI, was intentional,
reckless extreme, and outrageous As a result of such conduct, Plaintiffs

suffered severe emotional distress

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Plaintiffs hereby incorporate by reference the allegations set forth in paragraphs l
through 74, inclusive, as though firlly set out herein.
Plaintiffs also allege that the acts and omissions of the named Manufacturing
Defendants whether taken singularly or in combination with others constitute
gross negligence, which proximately caused the injuries to Plaintiffs In that
regard, Plaintiffs seek damages in an amount which would punish such
Defendants for their conduct and which would deter other manufacturers fi'om
engaging in such misconduct in the future.

GENERAL DAMAGES

Plaintiffs have been injured in many ways as a result of manufacturing

Defendants’ actions Plaintiffs who are alleging and can prove health problems
associated with the use of Rezulin have suffered serious physical injuries which
include, but are not limited to, liver damage including death, liver transplantation,
elevated liver enzymes, liver enlargement hepatitis, cirrhosis, jaundice, ascites, portal
hypertension, hepatic encephalopathy. These plaintiffs have sustained medical
expenses in the past and will require firture medical expenses in order to care for,

monitor, and treat the numerous problems they have suffered and will suffer in the

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future as a result of these defective products Additionally, the Plaintiffs have
suffered physical impairment in the past and will suffer such damage in the firture.
These Plaintiffs sue for the physical pain and mental anguish they have suffered in the

past and will suffer in the future.

Plaintiffs are also claiming for reimbursement of medical expenses and costs that
they have suffered in the past and will suffer in the fixture in connection with their
prescriptions for Rezulin, medical testing and continued evaluation for liver damage,
including liver function testing ultrasounds, and liver biopsies in the past and in all
probability further such testing in the future. These Plaintiffs sue for the physical pain
and mental anguish suffered in the past and which the Plaintiffs in reasonable medical
probability will suffer in the future. Plaintiffs who took Rezulin also request
reimbursement from manufacturing and pharmacy Defendants/ for the costs and expenses
associated with Plaintiffs’ Rezulin prescriptions testing and fixture medical expenses as
well as mental anguish and pain.

Plaintiffs plead for maximum compensatory damages in the amount of
$10,000,000 under each cause of action, Plaintiffs plead for punitive damages in the
amount of $1 Billion each.

PRAYER FOR RELIEF
WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon final
trial and hearing hereof, Plaintiff have judgment against Defendants for:

a. general damages for a sum in excess of the minimum jurisdictional limits for
this Court;

b. exemplary damages

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c. physical pain and suffering

d. reasonable attomey’s fees;

e. pre-judgment interest as provided by law;
f. post-judgment interest as provided by law;
g. all costs of court; and

h. such other and further relief to which Plaintiff`s may be entitled.

Respectfully submitted by:

LITTLEPAGE & ASSOCIATES, P.C.

/MM’

Zoe B. Littlepage TBA# 12430050
Chetna Gosain TBA#24001435
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Littlepage & Associates, P. C.

Attorneys At Law
408 Westheimer Street (713) 529-8000
Houston, Texas 77006 (713) 529-8044 - Facsimile
1-888-254-8442

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Ms. Pauline Gonzalez ppg 2 5 _:_ n
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Hidalgo County District Courthouse __:N~,§_.;~ ._ . k
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Edinburg, TX 78540 “___ 2___.1_

RE: Cause No. C-521-02-B; John Allison, et al vs. Warner Lambert Company, et al; In the
93rd Judicial District Court, Hidalgo County, Texas

Dear Ms. Gonzalez:
Enclosed please find:

l. First Amended Petition (Three Copies - One copy for the Court’s file, One copy to be returned
to us and one copy to attach to Defendant’s Citations)

2_ Firm check of $8.00 --lssuance of Citation for Defendant Gerardo Bueso, M.D.

Please issue the citation for service by certified mail, return receipt requested, on the following
Defendant and return to us in the enclosed envelope provided:

DR. GERARDO BUESO

1213 Hermann Drive
Houston, 'l`x 77004

Additionally, I would appreciate your indicating the date of receipt and filing on the attached copy of
this letter and petition and returning same in the enclosed envelope. Thank you for your attention to
this matter.

Sincei'ely,

LITTLEPAGE & ASSOCIA'I'ES, P.C.

Barr¢/

Brett Slobin

E_nclosures

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~r"". C-*' f`:"‘-’)

JOHN ALLISON; GEORGIANNA IN THE DISTRICT COUK"I` ®F 5 "
BONNER; BETTY EMEHISER; l ,
G[LBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
IESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA

WOODS;

 

Plaintiffs

H[DALGO COUNTY, TEXAS

WARNER LAMBERT COMPANY,
PARKE DAVIS DIVISION OF WARNER
LAMBERT COMPANY,

PFIZER, INCORPORATED
GERARDO BUESO, M.D.,
GLOVER JOHNSON, M.D.,

ERIC ORZEK, M.D.,
AYAPRAKASH REDDY, M.D.,
RAUL RIVERA, M.D.,

SHELDON RUBENFIELD, M.D.,
SANDRA SCURRIA, M.D.,
DARRELL N. STEELE, M.D.,
IEANINE H. THOMAS, M.D.,
JORGE TREVINO, M.D.,

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Defendants 93"' JUDICIAL DISTRICT

PLAINTIFF AUSTIN METZ’S NOTICE OF NONSUIT OF DEFENDANT
FERNANDO BUESO, M.D.

COMES NOW AUS'I']N METZ, Plaintiff in the above styled and numbered cause
of action, hereby gives notice, pursuant to Texas Rules of Civil Procedure 162, to this

court and to all parties to this suit that he is taking a nonsuit of his case against Defendant

FERNANDO BUESO, M.D., effective immediately on the filing of this notice; and that

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all costs of Court are taxed against the parties incurring the same. This nonsuit has no

effect on any other Plaintiff s claims in any other cause of action.

Respectfully submitted,

LITTLEPAGE & ASSOCIATES, P.C.

/i/V¢LX M

Brett Slobin

State Bar No. 24029837
408 Westheimer Street
Houston, Texas 77006
(713) 529-8000

(713) 529-8044 FAX

 

ATTORNEY FOR PLAINTIFF AUSTIN METZ

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Ms. Pauline Gonzalez reg 23 2'§§?_
District Clerk of Hidalgo County _
Hidalgo County District Courthouse ' _"-` `- » - ; “
100 N. ciosner :;`; " ’ ` "
Edirlbul'g, TX 78540 ii '_ n

RE: Cause No. C-521-02-B; John Allison, et al vs. Warner Lambert Company, et al; In the
93rd Judicial District Court, Hidalgo County, Texas

Dear Ms. Gonzalez:
Enclosed please find:
o Plaintiff Austin Metz’s Notice of Nonsuit of Defendant Femando Bueso, M.D.

Please file this document in the above-captioned case and return a file-stamped copy of this letter to
me in the enclosed return envelope.

Thank you for your attention to this matter.

Sincerely,

LITTLEPAGE & ASSOCIATES, P.C.

BMM

Brett Slobin

Enclosures

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 90 of 200

NO. C-521-02-B

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JOHN ALLisoN; er al §
§
vs. § Hri)Ar.Go coLWwo
§ g CLERK
wARNER LAMBERT CoMPANY; er al § 93“” rumme \ 5 county
District CO\J a g g¢puty

'-`-“J
DEFENDANT SANDRA SCURRIA, M.D.’S
MQIID.N_'I`_Q.IB.AHSEERXENHE

COMES NOW Defendant, Sandra Scurria, M.D. and files this Motion to Transfer Venue
contemporaneously with her Origina.l Answer and asks the Court to transfer this case to Harris
County, Texas.

A. Introduction

1. This product liability and medical malpractice lawsuit was filed on March 14, 2002.
Plaintiff, Margaret Knight was a patient of Defendant, Sandra Scurria, M.D.

2. This case should be transferred from Hidalgo County, Texas to Harris County, Texas
for the following reasons:

(a) Plaintiff has failed to established that venue is proper for any
of Plaintiffs claims pursuant to Tex. Civ. PRAC. & Ri-:M.
Coc>s §15.002(a);

(b) Plaintiff has failed to established venue is proper for each
Plaintiffs claim pursuant to Tnx. Civ. PRAC. & REM. CoDF.
§ 15 .003;

(c) Venue is proper in Harris County, Texas as to the claims
asserted against Defendant, Sandra Scurria, M.D. pursuant to
Tex. Civ. PnAc. & Ri-:M. Coi>i-: §15.002(a); and

(d) Venue is proper based on the convenience of the parties and

in the interest of justice pursuant to Tsx. Civ. PRAC. & REM.
Coos §l 5.002(b).

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B. Argument

3. Defendant, Sandra Scurria, M.D. specifically denies Plaintiffs’ venue assertions
contained within paragraph l5 of Plaintiffs’ Original Petition. Defendant, Sandra Scurria, M.D.
specifically pleads that Plaintiffs have not established proper venue in IIidalgo County, Texas under
§15.002(a). See Aftidavit of Sandra Scurria, M.D. attached hereto as Exhibit “A" and fully
incorporated herein by reference

4. Defendant, Sandra Scurria, M.D. specifically pleads that Plaintiffs have not alleged
venue is proper in Hidalgo County, Texas as to each Plaintiffs claims as is required by 'I`Ex. Civ.
PRAC. & Ri-:M. CoD!-: §15.003.

5. For the convenience of the parties and witnesses and in the interest of justiee, a court
may transfer an action from a county of proper venue to any other county of proper venue on a
motion of a defendant filed and served concurrently with or before the filing of the answer where
the Court finds:

a. maintenance of the action in the county of suit would work an injustice to the
movant considering the movant’s economic and personal hardship;

b. the balance of interests of all the parties predominates in favor of the action
being brought in the other county; and

c. the transfer of the action would not work an injustice to any other party.
See Tax. Civ. PRAC. & REM. CoDF. §l$.OOZ(b).

6. Venue of this case is improper in Hidalgo County, Texas because no mandatory
venue provision requires suit to be filed in Hidalgo County, Texas.

7. Defendant, Sandra Scurria, M.D. is a resident of Houston, Harris County, Texas.

Defendant, Sandra Scurria, M.D. was a resident of Houston, Harris County, Texas at the time he

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provided the professional medical services to Plaintiff, Margaret Knight at issue in this lawsuit,
Therefore, venue is proper in Harris County, Texas pursuant to Tax. Civ. PRAC. & REM. CODE
§15 .002(a)(2).

8. All medical care and treatment provided by Defendant, Sandra Scurria, M.D. to
Plaintiff, Margaret Knight occurred in Harris County, Texas. All of the alleged acts and/or
omissions at issue with regard to Plaintiff, Margaret Knight’s claims against Defendant, Sandra
Scurria, M.D. occurred in Harris County, Texas. Therefore, venue is proper in Harris County, Texas
pursuant to TEx. Civ. PRAC. & REM. CooE §15.002(a)(l).

9. Plaintiff, Margaret Knight is the only Plaintiff to whom Defendant, Sandra Scurria,
M.D. has provided professional medical services.

1

10. All of the alleged acts and/or omissions at issue with regard to the claims asserted
against Defendant, Sandra Scurria, M.D. in this lawsuit occurred in Harris County, Texas.
T‘nereforc, the transfer will not work an injustice to any party, and Defendant, Sandra Scurria, M.D.
respectfully requests that the Court transfer this case to Harris County, Texas.

C. Conclusion

ll. Plaintiffs have not established that venue is proper in Hidalgo County, Texas.
Defendant, Sandra Scurria1 M.D. has established that venue is proper in Harris County, Texas and
is more convenient in Harris County, Texas. 'I`herefore, the Court should transfer this case to Harris

County, Texas.

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D. Prayer

12. WHER.EFCR.E, Defendant, Sandra Scurria, M.D. requests the Court to set her motion
to transfer venue for hearing and, after the hearing, grant her motion and transfer this case to Harris
County, Texas.

Respectfully submitted,

SHEEHY, SERPE & WARE, P.C.

   
 

P. WATSON
State Bar No. 20932900
RAYMOND A. NEUER
State Bar No. 14928350 \/1
JAMES W.K. WILDE

State Bar No. 21458200

  

2500 Two Houston Center
909 Fannin
Houston, Texas 77010-1003
(713) 951-1103

~(713) 951-1199 (fax)

ATTORNEYS FOR DEFENDANT,
SANDRA SCURRIA, M.D.

QEB HFIQA 1 E OF CQ§EEBEEQE

Counsel for Plaintiffs and this Defendant were unable to reach an agreement on the merits
of this motion.

 

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I hereby certify that a true and correct copy of the above and foregoing instrument was duly
served upon all parties or their counsel of record by fax and/or hand delivery, retum receipt
requested, and/or by placing same in the United States Mail, certified mail, return receipt requested,
postage prepaid, properly addressed to the individuals listed bclow, on this, the 30"' day of April,

2002.

Ms. Zoe B. Littlepage
Ms. Chetna Gosain
Littlepage & Associates
408 Westheimer
Houston, Texas 77006

Ann P. Watson

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 95 of 200

NO. C~S!l-O!-B
JOHN ALL!soN; a al § IN THE msch CoUR'r oF
vs. § mnALGo coUN'rY, 'raxAs
wARNER LAMEERT CoMrANY; er al g 93'“' JUDICIAL D!s'rrucr

AEEID.AMI_.Q.E§.AEDBLS_C]IBBM.MD..

THE STATB OF TEXAS §
COUNTY OF HARRIS §

BEFORE IVIE, the undenigted authoriry, notary public in and for the State ofTe'xas, on this
day personally appeared Sandra Scurria, M.D., known to me to be the person whose name is
subscribed hereto and, under osth, deposes and ssys:

1_ “My name is Sandra Scurria, M.D. l am over the age of twenty-one (21)
years of age, am competent to make this amdavit. and have personal
knowledge of the facts stated herein and they are true and correet. l have
never been convicted of a felony or a crime of moral turpitude

2. l currently am a resident ofl-louston, Harris County, Texas. l am a licensed
physician ‘m the State of '_l`exas.

3. l p vided professional medical s ’ces to Plaintid`, Margaret Knight from
%,2/9[ 7 through 612/3100 `* , at my o$ce located in
H u on, Harris County, Texas. All of the medical care and ti'eatxneot that
1 provided to Plaintiff, Margaret Knight occurred in Harris County, Texas.
I was a resident of Houston, l'lan'is County, Texas at the time l provided
professional medical services to Flaintiff, Margaret K.night.

4. }’laintif!', Margarct Knight is the only Plainti.B`in the case styled Cause No.
C-52l-02-B; John Allison, er al.v. Warner Lambert Company, et al; 1a the
93"‘ J\.ldieial District Court of l'lidalgo County, Texas to whom l have
rendered professional medical services."

SandraSeunia.M.D.
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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 96 of 200

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Ms. Pauline Gonzalez

District Clerk, Hidalgo County
100 N. Closner Street
Edinburg, Texas 78539

Rc: No. C-521-02-B; John Allison, el al v. Warner Lambert Company, el
al; In the 93" Judicial District Court of Hidalgo County, Texas

Dear Ms. Gonzalez:

Enclosed for filing in the above-referenced matter, you will find the original and one copy
of Defendant, Sandra Scurria, M.D.’s:

l. Motion to Transfer Venue;
2. Original Answer Subject to Motion to Transfer Venue; and
3. Demand for Trial by Jury Subject to Motion to Transfer Venue.

Please acknowledge receipt and time of filing in your customary manner, and retum a file
stamped copy to the undersigned in the enclosed self-addressed, stamped envelope. By copy of this
correspondence we are forwarding all counsel of record a copy of this filing.

'I`hank you for your assistance to this matter.

Very truly yours

Ann P. Watson

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enclosures

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 98 of 200

Ms. Pauline Gonzalez
April 30, 2002
Page 2

cc; Ms. Zoc B. Littlepage
Ms. Chetna Gosain _
Littlepage & Associates
408 Westheimer
Houston, Texas 77006

VIA Cl-:R'nrtco M,ul.
RRR#: 7001 0320 0004 3329 6681

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 99 of 200

NO. C-SZl-OZ»B ILED

     
 

AT O' CLOCKA-
JOHN ALLlSON; et al lN THE DlSTRlCT CO
§ MA“Y’lizoii)oz
vs. ' § HIDALGO COPUNT , T
Au\_\r\' G-
§ District CQ
WARNER LAMBERT COMPANY; el al § 93“” JUDICIAl.g,p

SANDRA SCURRIA, M.D.‘S ORIGlNAL ANSWER
§SLM§QI_MQIIQM`_Q_TBANSEEBM

'I`O THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Sandra Scurria, M.D., one of the Defendants in the above entitled and
numbered cause and files this, her Original Answer to Plaintiffs’ Original Petition, subject to her
Motion to Transfer Venuel on file herein and in support thereof says as follows:

I.

Pursuant to Rule 92 of the Texas Rules of Civil Procedure the Defendant enters herein her
general denial and respectfully requests that the Plaintiff be required to prove her charges, assertions
and allegations by a preponderance of the credible evidence as is required by the laws of the State
of Texas.

Il.

This Defendant, pursuant to the provisions of Scction ll.O?., 11.03, and 11.04 ct seq of
Article 4590i and Chapter 41, including §41.008, Texas Civil Practice and Rcmedies Code, pleads
to the Court that her liability in this matter is limited and that the appropriate limitation should be

imposed upon any verdict rendered in this cause.

 

'Sandra Scurria, M.D.’s Motion to Transfer Venue is filed concurrently and fully incorporatcd herein by
reference

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 100 of 200

IlI.

Defendant hereby reserves her statutory rights to contribution or credit with respect to other
parties in this case as set forth in Tex. Civ. Prac. & Rem. Codc Ann. §§ 32 and 33 (Vemon 1986).
Defendant specifically reserves the right to submit issues to the jury inquiring of all alleged liability
of all defendants to this cause and/or settling defendants, or alternatively, reserves the right to elect
a dollar-for-dollar credit for any settlement or monies or other valuable consideration paid to or for
the benefit of Plaintiff, or altematively, reserves the statutory right to avail himself of such
percentage or dollar credits as provided by statute and the common law.

IV.

For further and additional answer herein, your Defendant especially denies that she at any
time failed to exercise ordinary care, but on the contrary would show unto the Court that if the
Plaintiff herein sustained any injury which is not admitted, but is especially denied, that the same
was caused wholly or in part by some act or failure to act on the part of some third person over
whom this Defendant has no control or right of control.

V.
Altcrnatively, this Defendant Further pleads the defense of new and intervening cause.
VI.

In the alternative, for further answer herein, if necessary, this Defendant says that the incident

and damages complained of by the Plaintiff was an "Act of God“ as that term is defined by the laws

of the State of Texas.

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VVHEREFORE, PREMISES CONSIDERED, the above answer is respectfully submitted to
the Court by the Defendant, Sandra Scurria, M.D., who prays that the Plaintiff take nothing; that this
Defendant be allowed to recover the costs which have been incurred by reason of the charges and
allegations of the Plaintiff against this Defendant; and that the Court give this Defendant such other
and further relief from these charges as the Court may feel that this Defendant is entitled to under
the circumstances.

Respectfully submitted,

SHEEl-IY, SERPE & WARE, P.C.

 
 

BY:

   

ANN .
State Bar No. 20932900
RAYMOND A. NEUER
State Bar NO. l4928350
JAMES W.K. WlLDE
State Bar No. 21458200

` 2500 Two Houston Center
909 Fannin
Houston, Texas 77010-1003
(713)951-1103
(713~) 951-1199 (fax)

ATTORNEYS FOR DEFENDANT,
SANDRA SCURR[A, M.D.

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 102 of 200

Q§Bl !FICA ! § OF SE!§V[§:[':

l hereby certify that a true and correct copy of the above and foregoing instrument was duly
served upon all parties or their counsel of record by fax and/or hand delivery, return receipt
requested, and/or by placing same in the United States Mail, certified mail, return receipt requested,
postage prepaid. properly addressed to the individuals listed below, on this, the 30"‘ day of April,
2002.

Ms. Zoe B. Littlepage
Ms. Chetna Gosain
Littlepage & Associatcs
408 Westheimer

Houston, Texas 77006 fs
/l/l/v\ Li§ nw l/`)r-\

Ann P. Watson

Case 7:02-cv-00173 Document 1

NO.

JOHN ALLISON; et al
vs.

WARNER LAMBERT COMPANY; et al

Filed in TXSD on 05/15/02 Page 103 of 200

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§ IN THE msTRICmKXOQI§'FQS`i“
§ ct.ER\`/;
0 Court
§ Hu)ALGo eggmc haas mgm
§ 93” Junrchi or mc'r

DEMAND FOR TRIAL BY JURY

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NS VNE

COMES NOW, Sandra Scurria, M.D., Defendant in the above styled and numbered cause

of action, and pursuant to Rule 216 of the Texas Rules of Civil Procedure files this her Demand for

Trial by Jury, subject to her Motion to Transfer Venue on file herein‘. Ajury fee has already been

paid in this matter.

l BY:

 

Respectfully submitted,

SHEEHY, SERPE & WARE, P.C.

 
    
 

ANN P. WATSON
State Ba.r No. 20932900
RAYMOND A. NEUER
State Bar No. 14928350
JAMES W.K. WILDE
State Bar No. 21458200

2500 Two Houston Center
909 Fannin

Houston, Texas 77010~1003
(713) 951~1103

(713) 951'1 199 (fax)

ATTORNEYS FOR DEFENDANT,
SANDRA SCURRIA, M.D.

‘Sandro Scurria, M.D.’s Motion to Transfer Venue is filed concurrently and fully incorporated herein by

rcfercncc.

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 104 of 200

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l hereby certify that a true and correct copy ofthe above and foregoing instrument was duly
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2002.

Ms. Zoe'B. Littlepage
Ms. Chetna Gosain
Littlepage & Associates
408 Westheimer
Houston, Texas 77006

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Ann P. Watson

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 105 of 200

NO. C-52 l -02-B

     
   

JoHN ALLIsoN; er al § IN THE ols'rmcr coum~ op
§ v . .
vs. § HIDALGO CO ,
§ ilgwu
WARNER LAMBERT COMPANY; et al § 93RD JUD]
tim 02 ?“°Z
DEFENnANT GLovER JOHNSON, M.D.’s LEL. cti-§§
Moltoir_olaanslzaym_a pruvzt‘€c°' `i§`¢»,p-.\t»

\')i$i.\'t¢\

contemporaneously with his Original Answer and asks the Court to transfer this case to Harris
County, Texas.
A. lntroduction
l. This product liability and medical malpractice lawsuit was filed on March 14, 2002.
Plaintii`i`, Katrina Woods was a patient of Defendant, Glover Johnson, M.D.
2_ This case should be transferred from Hidalgo County, Texas to Harris County, Texas
for the following reasons:
(a) Plaintiff has failed to established that venue is proper for any
Plaintiff’s claims pursuant to 'I`F.x. Clv. PRAC. & REM. CODE

§15.002(a);

(b) Plaintiff has failed to established venue is proper for each
Plaintist claim pursuant to Tex. Civ. PR.AC. & Rt-:M. Cooe
§15.003;

(c) Venue is proper in Harris County, Texas as to the claims
asserted against Defendant, Glover Johnson, M.D. pursuant
to Tex. Crv. PRAc. & R£M. Coot~: §1$.002(a); and

(d) Venue is proper based on the convenience of the parties and
in the interest of justice pursuant to TBX. Civ. PRAC. & REM.
cone §ts.ooz<b).

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 106 of 200

B. Argument
3. Defendant, Glover Johnson, M.D. specifically denies Plaintiffs’ venue assertions
contained within paragraph 15 of Plaintiffs’ Original Petition. Defendant, Glover Johnson, M.D.
specifically pleads that Plaintiffs have not established proper venue in Hidalgo County, Texas under
§15.002(a). See At`fidavit of Glover Johnson, M.D. attached hereto as Exhibit “A” and fully
incorporated herein by referenee.

4. Defendant, Glover Johnson, M.D. specifically pleads that Plaintiffs have not alleged
venue is proper in Hidalgo County, Texas as to each Plaintiff’s claims as is required by TEX. Clv.
PnAc. &. REM. CoDe §15.003.

5. For the convenience of the parties and witnesses and in the interest of j ustice, a court
may transfer an action from a county of proper venue to any other county of proper venue on a
motion of a defendant filed and served concurrently with or before the filing of the answer where

the Court finds:

a. maintenance of the action in the county of suit would work an injustice to the
movant considering thc movant’s economic and personal hardship;

b. the balance of interests of all the parties predominates in favor of the action
being brought in the other county; and

c. the transfer of the action would not work an injustice to any other party.
See Tex. Civ. PRAc. & REM. CoDE §15.002(b).

6. Venue of this case is improper in Hidalgo County, Texas because no mandatory
venue provision requires suit to be filed in Hidalgo County, Texas.

7. Defendant, Glover Johnson, M.D. is a resident of Houston, Harris County, Texas.

Defendant, Glover Johnson, M.D. was a resident of Houston, I-Iarris County, Texas at the time he

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 107 of 200

provided the professional medical services to Plaintiff`, Katrina Woods at issue in this lawsuit,
Thereforc. venue is proper in Harris County, Texas pursuant to TEX. Civ. PRAC. & REM. CODE
§15.002(3)(2).

8. All medical care and treatment provided by Defendant, Glover Johnson, M.D. to
Plaintiff, Katrina Woods occurred in Harris County, Tcxas. All of the alleged acts and/or omissions
at issue with regard to Plaintiff, Katrina Woods’s claims against Defendant, Glover Johnson, M.D.
occurred in Harris County, Texas. Therefore, venue is proper in Harris County, Texas pursuant to
Tr-:x. Civ. PaAc. & R£M. Coot: §15.002(a)(1).

9. Plaintiff, Katrina Woods is the only Plaintiff to whom Defendant, Glover Johnson,
M.D. has provided professional medical services.

lO. All of the alleged acts and/or omissions at issue with regard to the claims asserted
against Defendant, Glover Johnson, M.D. in this lawsuit occurred i_n Harris County, Texas.
Therefore, the transfer will not work an injustice to any party, and Defendant, Glover Johnson, M.D.
respectfully requests that the Court transfer this ease to Harris County, Texas.

C. Conclusion

l l. Plaintiffs have not established that venue is proper in Hidalgo County, Texas.
Defendant, Glover Johnson, M.D. has established that venue is proper in Harris County, Texas and
is more convenient in Harris County, Texas. Therefore, the Court should transfer this case to Harris

County, Texas.

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 108 of 200

D. Prayer
12. WHEREFORE, Defendant, Glover Johnson, M.D. requests the Court to set his
motion to transfer venue for hearing and, after the hearing, grant his motion and transfer this case
to Harris County, Texas.
Respeetfully submitted,

SHEEHY, SERPE & WARE, P.C.

  
 

 
    

P. WATSON
State Bar No. 20932900
RAYMOND A. NEUER
State Bar No. 14928350
JAMES W.K. WILDE
State Bar No. 21458200

2500 Two Houston Center

909 Fannin

Houston, Texas 77010-1003
. (713) 951-1103

(713)951~1199(fax)

ATTORNEYS FOR DEFENDANT,
GLOVER JOHNSON, M.D.
MEI.QAMME

Counsel for Plaintiffs and this Defendant were unable to reach an agreement on the merits
of this motion.

   
 

.'. Watson

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 109 of 200

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l hereby certify that a true and correct copy of the above and foregoing instrument was duly
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postage prepaid, properly addressed to the individuals listed below, on this, the 30"‘ day of April,
2002.

Ms. Zoe' B. Littlepage
Ms. Chetna Gosain
Littlepage & Associates
408 Westheimer
Houston, Texas 77006

/`A/\M_,w

Ann Watson DQM\ l/v\ _D
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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 110 of 200

NO. C-S$l-OZ~H

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wARNER LAMBERT coMPANY; a d § 93"’ worcu.l.. instruct

Wo.

TIIB STATE Ul-` TEXAS g
COUNT\’ OF HAR.RIS §
BEFORE ME, the uod¢r=iim¢d il“h¢fi¢y. notary public in and fm the State of Teocu, on this

day pqsonally appeared Glover Johnson, M.D., known to me to be the person whose name is
subscribed hereto and, under octh. deposes end uys:

l. “My name is Glover Johnson, M.D. l am cwal the age of twenty-one (21)
years of lge. m competent to make this lmdavi!, and have personal
knowledge of the facts stated herein and they m true md correct [h¢ve
nwa ban convicted of a felony or a aims of moral mimd¢.

7.. l currently am a resident ofl-Iouston, Harxis County, Tcxu. l am a licensed
physician in the State ofTexae.

3. t ptong rented medical es P ’ tia; guam woods am
Md'¢~ , §§ ZZ£__ through my adea located in
_ uston, 's County, 'l` . All fdic medical care and n'eaunent that

l provided to Plaint.in', Katrina Woods occurred in Harris County, Texas. l
was \ resident of Houston, Hmis County, Texas al the time l provided
professional medical services to Plainti&`. Kauim Woods.

4. margaret trains woods it me only swan am we styled came N°. c.

521-02-3; John llli:¢m, er nbc manner Lambert Company, ¢t al; l.n the 93"
Judicial District Conn of!~lid¢lgo County, Tec¢u to whom lhave rendered

professional medical la-v-ies.”
% d ~ 'Z»’ZZ A% ”‘ "
Trver Johnmn. M.D. / /

EXHIBIT

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 111 of 200

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15102 Page 112 of 200

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MM) 821-lam

Ms. Pauline Gonzalez

District Clerk, Hidalgo County
100 N. Closner Street
Edinburg, Texas 78539

Re: No. C-521-02-B; John Allison, el al v. Warner Lambert Company, et
al; In the 93rd Judicial District Court of Hidalgo County, Texas

Dear Ms. Gonzalez:

Enclosed for filing in the above-referenced matter, you will find the original and one copy
of Defendant, Glover Johnson, M.D.’s:

l. Motion to Transfer Venue;
2. Original Answer Subject to Motion to Transfer Venue; and
3. Demand for Trial by Jury Subject to Motion to Transfer Venue.

Please acknowledge receipt and time of filing in your customary manner, and return a file
stamped copy to the undersigned in the enclosed self-addressed, stamped envelope. By copy of this
correspondence we are forwarding all counsel of record a copy of this filing.

Thank you for your assistance to this matter.

Very truly yours.

gus wm
Ann P. watson \DO§%_\>

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enclosures

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 113 of 200

Ms. Pauline Gonzalez
April 30, 2002
Page 2

cc: Ms. Zoe B. Littlepage
Ms. Chetna Gosain
Littlepage & Associates
408 Westheimer
Houston, Texas 77006

VrA CERTrFrEo MAu.
RRR #: 7001 0320 0004 3329 6581

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 114 of 200

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Ms. Pauline Gonzalez

District Clerk, l-Iidalgo County
100 N. Closner Street
Edinburg, Texas 78539

Re: No. C-521-02-B; John Allison, et al v. Warner Lamberl Company, et
al; in the 93“* Judicial District Court of Hidalgo County, Texas

Dear Ms- Gonzalez:

Enclosed for filing in the above-referenced matter, you will find the original and one copy
of Defendant, Glover Johnson, M.D.'s:

l. Motion to Transfer Venue;
2. Original Answer Subject to Motion to Transfer Venue; and
3. Demand for Trial by Jury Subject to Motion to Transfer Venue.

Please acknowledge receipt and time of filing in your customary manner, and return a file
stamped copy to the undersigned in the enclosed self-addressed, stamped envelope. By copy of this
correspondence we are forwarding all counsel of record a copy of this filing.

Thank you for your assistance to this matter.
Very truly yours.

bus address
Ann P. watson \Qo§`g_\>

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enclosures

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 115 of 200

    

No. C-szl~oz-B j;,<>‘@'°c'
is 2 1001
JOHN ALLISON; et al § IN THE nlsTthn-_cd 01;1 C\__¢)*‘~
§ LP`\' \€~ l . .l.\\...`s
vs. HlDALGo c m“§’ »'“'"
§ its /
wARNER LAMBERT COMPAN\'; oral § 93" JumclAL\?o T cr

GLOVER JOHNSON, M.D.‘S ORIGINAL ANSWER
BJ 4 CT 0 OT N VE U

 

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Glover Johnson, M.D., one of the Defendants in the above entitled and

numbered cause and tiles this, his Original Answer to Plaintiffs’ Original Petition, subject to his

Motion to Transfer Venuel on file herein and in support thereof says as follows:

I.

Pursuant to Rule 92 of the Texas Rules of Civil Procedure the Defendant enters herein his

general denial and respectfully requests that the Plaintiff be required to prove her charges, assertions

and allegations by a preponderance of the credible evidence as is required by the laws of the State

of Texas.

ll.

This Defendant, pursuant to the provisions of Scction ll.02, 11.03, and ll.04 et seq of

Article 4590i end Chapter 41, including §41.008, Texas Civil Practice and Remedies Code, pleads

to the Court that his liability in this matter is limited and that the appropriate limitation should be

imposed upon any verdict rendered in this cause.

 

lGlover Johnson. M.D.’s Motion to Transfer Venue is filed concurrently and fully incorporated herein by

reference

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 116 of 200

llI.

Defendant hereby reserves his statutory rights to contribution or credit with respect to other
parties in this case as set forth in Tex. Civ. Prac. & Rem. Codc Ann. §§ 32 and 33 (Vemon 1986).
Defendant specifically reserves the right to submit issues to the jury inquiring of all alleged liability
of all defendants to this cause and/or settling defendants, or alternatively, reserves the right to elect
a dollar-for-dollar credit for any settlement or monies or other valuable consideration paid to or for
the benefit of Plaintiff, or aiternatively, reserves the statutory right to avail himself of such
percentage or dollar credits as provided by statute and the common law.

IV.

For further and additional answer herein, your Defendant especially denies that he at any time
failed to exercise ordinary care, but on the contrary would show unto the Court that if the Plaintiff
herein sustained any injury which is not admitted, but is especially denied, that the same was caused
wholly or in part by some act or failure to act on the part of some third person over whom this
Defendant has no control or right of controi.

V.
Altematively, this Defendant further pleads the defense of new and intervening cause.
Vl.

in the altemative, for Brrther answer herein, if nccessary, this Defendant says that the incident

and damages complained of by the Plaintiff was an "Act of God" as that term is defined by the laws

of the State of Texas.

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 117 of 200

WHEREFORE, PREMISES CGNSIDERED, the above answer is respectfully submitted to
the Court by the Defendant, Glover Johnson, M.D., who prays that the Plaintiff take nothing; that
this Defendant be allowed to recover the costs which have been incurred by reason of the charges
and allegations of the Plaintiff against this Dcfendant; and that the Court give this Defendant such
other and further relief from these charges as thc Court may feel that this Defendant is entitled to
under the circumstances

Respectfully submitted,

SHEEHY, SERPE & WARE, P.C.

    
 

P. WATSO
State Bar No. 20932900
RAYMOND A. NEUER
State Bar No. 14928350
JAMES W.K. WILDE

State Bar No. 21458200

2500 'I`wo Houston Center
909 Fannin

Houston, Texas 77010-1003
(713) 951-1103

(713) 951-1199 (fax)

ATTORNEYS FOR DEFENDANT,
GLOVER JOHNSON , M.D.

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 118 of 200

£ERIIEICAIE_Q.F_SEMI£E

l hereby certify that a true and correct copy of the above and foregoing instrument was duly
served upon all parties or their counsel of record by fax and/or hand delivery, return receipt
requested, and/or by placing same in the United States Mail, certified mail, retum receipt requested,
postage prepaid, properly addressed to the individuals listed below, on this, the 30'"‘ day of Aptil,
2002.

Ms. Zoe B. Littlepage
Ms. Chetna Gosain
Littlepage & Associates
408 Westheimer
Houston, Texas 77006

 

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 119 of 200

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vs. § Hu)ALGo couNTir, T s q ,RK
§ PAu\_\NE G. §S;E'. `.`§:,T»='\w

wARNER LAMBERT COMPANY; er al § ~ - ~ ,-,wm

93'“’ JUDICIAL;‘,BI'ST
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DEMAND FGR TRIAL BY JURY
TO RA VE U ‘

 

COMES NOW, Glover Johnson, M.D., Defendant in the above styled and numbered cause
of action, and pursuant to Rulc 216 ofthe Texas Rules of Civil Procedure files this his Demand for
Trial by Jury, subject to his Motion to Transfer Venue on file herein'. A jury fee has already been
paid in this matter-

Respectfully submitted,

SHEEHY, SERPE & WARE, P.C.

   

d BY:

   

A"
State Bar No. 20932900
RAYMOND A. NEUER
State Bar No. 14928350

JAMES W.K. WILDE
State Bar No. 21458200

2500 'I`wo Houston Center
909 Fannin

Houston, Texas 77010-1003
(713) 951-1103

(713) 951-1199 (fax)

ATTORNEYS FOR DEFENDANT,
GLOVER JQHNSON, M.D.

 

'Glover Johnson, M.D.’s Motion to Transfer Venue is filed concurrently and fully incorporated herein by
reference

Case 7:02-CV-00173/ Document 1 Filed in TXSD on 05/15/02 Page 120 of 200

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l hereby certify that a true and correct copy of the above and foregoing instrument was duly
served upon all parties or their counsel of record by fax and/or hand delivery, return receipt
requested, and/or by placing same in the United States Mail, certified mail, return receipt requested,
postage prepaid, properly addressed to the individuals listed below, on this, the 30"‘ day of April,
2002.

Ms. Zoe B. Littlepage
Ms. Chetna Gosain
Littlepage & Associates
408 Westheimer
Houston, Texas 77006

cum wallace tr

Ann P. Watson ' 3

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 121 of 200

CAUSE NO. C-521-02-B

 

JOHN ALLISON; GEORGIANNA
BONNER; BETTY EMEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
JESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; AND KATRINA
WOODS;

 

PLAINTIFFS ,

93RD JUDICIAL DISTRICT

VS.

WARNER LAMBERT COMPANY,
PARKE DAVIS DIVISION OF WARNER
LAMBERT COMPANY, PFIZER,
INCORPGRATED, FERNANDO BUESO,
M.D., GLOVER JOHNSON, M.D.,
ERIC ORZEK, M.D., AYAPRAKASH
REDDY, M.D., RAUL RIVERA, M.D.,
SHELDON RUBENFIELD, M.D., _
SANDRA SCURRIA, M.D., DARRELL N.
STEELE, M.D., JEANINE H. THOMAS,
M.D., JORGE TREVINO, M.D.
DEFENDANTS

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HIDALGO COUNTY, TEXAS

DEFENDANT AYAPRAKASH REDDY, M.D.’S MOTION TO TRANSFER
VENUE WITH ANSWER SUBJECT THERETO

 

TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW, AYAPRAKASH REDDY, M.D., Defendant herein, and files this
his Motion to Transfer Venue With Answer Subject Thereto, and would respectfully show

unto the Court the following:

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 122 of 200

I.

This cause of action against this Defendant arises out of an alleged issuance of a
prescription for Rezulin. The alleged issuance of the prescription, if it occurred at all by
this Defendant, would have taken place in Terrell, Kaut`man County, Texas. In addition,
this Defendant at the time the alleged cause of action occurred resided and resides in
Terrell, Kaufman County, Texas. Pursuant to the Texas Civil Praetice and Remedies Codc
§15.002(a), (1) and (2) and Subsection (b), this case should be transferred to Kaufrnan
County, because the County where the action is currently pending is not a proper County
for Venue. This Defendant specifically denies all of Plaintiffs’ venue facts as alleged and
would state that the venue facts alleged are not sufficient to overcome the provisions of the
Texas Civil Praetice and Remedies Code §15.002 (l), and (2) and Subsection (b),

II.

In addition, this Defendant maintains that pursuant to The Texas Civil Praetice and
Remedies Codc §15.002 (b), venue in Kaufman County would be convenient for the
parties and witnesses

IH.

Section 15.002 ( 1), and (2) of the Texas Civil Praetice and Remedies Code states

the following:
Except as otherwise provided by this sub-chapter or sub-
chapter B or C, all lawsuits shall be brought (1) "in the county
in which all or a substantial part of the events or omissions
giving rise to the claim occurred; " (2) " in the county of

defendant’s residence at the time the cause of action accrued
if defendant is a natural person. "

Page 2

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 123 of 200

Section 15.002 (4) provides that, "if Subdivisions l, 2, and 3 do not apply, in the
county in which the Plaintiffs resided at the time of the accrual of the cause of action. "
Seetion 15.002 (1) and (3) do apply, therefore Section 15.002 (4) does not. As such,
venue is not proper in the county where Plaintiffs resided at the time of the accrual of the
cause of action.

V.

Defendant would again state that under the provisions of Civil Praetice and
Remedies Code §15.002(b), in the interest of justice and for the convenience of the parties
and witnesses, the court should transfer the suit to Kaufman County, which is the county
of proper Venue. In support of this request, this Defendant will point out to the Court the
following:

l. Kaufman County is believed to be where the prescription subject of this
lawsuit was made.

2. Any witnesses to the alleged issuance of the prescription would be located
in and around the area of Kaufman County. It would be an inconvenience to witnesses to
have to appear for depositions, court and discovery matters in Hidalgo County.

3. The use of Rezulin, and all of its alleged effects, by Plaintiff Betty Emehiser,
if in fact it occurred, would have taken place in Kaufrnan County, Texas.

VI.
This case should be transferred to Kaufrnan County, Texas. Venue is not only

maintainable but required in this County under Section 15.002(a), (l) and (2), and

Page 3

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 124 of 200

Subsection (b) of the Texas Civil Remedies and Praetice Code.

WHEREFORE, PREMISES CONSIDERED, Defendant, AYAPRAKASH
REDDY, M.D., respectfully requests that this Court grant his Motion to Transfer Venue
and transfer this cause to the District Court of Kaufman County, Texas, and tax all cost
incurred against the Plaintiffs, and that this Defendant have such other and further relief
to which he may be justly entitled.

Respectfully submitted,

B . WC m

`sE L. GAME:>
` State Bar No. 076 100
ATToRNEY-IN-cHARGE FoR DEFENDANT
AYAPRAKASH REDDY, M.D.

OF COUNSEL:

MEREDITH, DONNELL & ABERNETHY
Water Tower Centre

612 Nolana, Suite 560

McAllen, Texas 78504

Telephone: (956) 618-4477

Telecopier: (956) 618-4557

Page 4

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 125 of 200

 

CERTIFICA'I`E OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the above and foregoing
document, has been forwarded via certified mail, return receipt requested, on this the _

_Uj\__ day of M§_____, 2002, to the following:

Zoe B. Littlepage

Littlepage & Associates, P.C.
408 Westheimer

Houston, Texas 77006

Tel: 713/529-8000

Fax: 713/529-8044
ATTORNEY FOR PLAINTIFFS

 

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Page 5

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 126 of 200

CAUSE No. C-521-02-B
JoHN ALLISON; GEORGIANNA § IN THE DISTRICT COURT
BONNER; BETTY EMEHISER; §
GILBERT GARCIA; RosARIo §
GoNZALEZ; BENJAMIN HATHOOT; §
JESSIE JoNEs; MARGARET KNIGHT; §
DoNALD LAVRINC, JR.; AUSTIN §
METZ, JR.; LoNNIE RoBINsoN; §
ROOSEVELT THOMAS; AND KATRINA §
WooDs; §
PLAINTIFFS, §
§
vs. § 93RD JUDICIAL DISTRICT
§
WARNER LAMBERT coMPANY, §
PARKE DAVIS DIVISION oF WARNER §
LAMBERT coMPANY, PFIZER, §
INCORPORATED, FERNANDO BUESO, §
M.D., GLOVER JoHNsoN, M.D., §
ERIC oRzEK, M.D., AYAPRAKASH §
REDDY, M.D., RAUL RIVERA, M.D., §
sHELDoN RUBENFIELD, M.D., §
sANDRA chRRIA, M.D., DARRELL N. §
sTEELE, M.D., JEANINE H. THOMAS, §
M.D., JoRGE TREvINo, M.D. §
DEFENDANTS §

HIDALGO COUNTY, TEXAS

ORDER SETTING HEARING

 

CAME ON TO BE CONSIDERED Defendant, AYAPRAKASH REDDY, M.D. ’s

Motion to Transfer Venue With Answer Subject Thereto and the Court hereby sets an oral

it

'

hearing on said Motion for the l-Z day of J:/v\f , 2002, at ¢'C{/ 0‘clock A.m.

in the 93rd Judicial District Court, in Edinburg, Hidalgo County, Texas.

JUDGE PRESI ING
cc: Zoe B. Littlepage, Littlepage & Associates, P.C., 408 Westheimer, Houston, TX 77006. Fax: 713/529-8044.

Jose L. Gamez, Meredith, Donnell & Abernethy, Water 'I`ower Centre, McAllen, TX 78504. Fax: 956/618-
4557.

Page 6

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 127 of 200

MEREDITH, DONNELL & ABERNETHY
A PRoFEssloNAL CoRPoRATIoN

 

 

ATTORNEYS AT LAW
CORFUS CHR|ST| OFF|CE JOSE L. GAMEZ
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800 N_ SHOREL,NE WATER TOWER CENTRE JG"MEZ M°"°° C°M
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CORPUS CHR|STl. TEXAS 78401 ‘ MCALLEN
<361) aaa-5551 MCALLEN) TEXAS 78504 AT O’CLOCK M
FAX(361>88°~5618 (956) 618-4477 FAx (956) 618-4557
MAY - 6 2002
May 3, 2002
PAUL|NE G. GONZALEZ C
VIA HAND DELIVERY District Courts, Hida|gd C<i§r?t;§
Mrs. Pauline G. Gonzalez By_______mZputy
Hidalgo County District Clerk
Hidalgo County Courthouse
P.O. Box 87

Edinburg, Texas 78540

Re: Cause No. C-521-02-B; John Allison, et al vs. Warner Lambert Company,
et al; In the 93rd Judicial District Court of Hidalgo County, Texas.

INSTRUMENT(S): (1) Defendant Ayaprakash Reddy, M.D.’S Motion to Transfer
Venue with Answer Subject Thereto; Order Setting
Hearing and Order Granting; and

(2) Original Answer of Defendant Ayaprakash Reddy, M.D.,
Subject to his Motion to Transfer Venue.

Dear Mrs. Gonzalez:

Enclosed herewith, please find the above-referenced instrument(s) for filing at this
time. Please acknowledge receipt and filing of same by placing your file mark on the enclosed
copy(ies) of the instrument(s), and returning same to me in the enclosed, stamped, self-addressed

envelope.

By copy of this letter opposing counsel, as shown below, is being notified of same.
Thank you for your courtesies and assistance with this matter.

Very truly yours,

ME IT DONNELL & ABERNETHY

0 L_ §§

  

JLG:vm
Enclosures
L:\A'l'l'YS\JLG\Allison.War\Corrcsp\Filing\FlLE.Ol

cc: Zoe B. Littlepage VIA CM;RRR #7001 2510 0001 6513 0585
Littlepage & Associates, P.C.
408 Westheimer
Houston, Texas 77006

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 128 of 200

Mrs. Pauline G. Gonzalez
Hidalgo County District Clerk
May 3, 2002

Page 2

bcc: Mr. Chris DuBois
Frontier lnsuranee Company in Rehabilitation
195 Lake Louise Marie Road
Rock Hill, NY 12775-8000

Mr. Barton W. Bloom, Esq.
Chief Associate Attorney II

Cherie L. Mosher, AIC
Claims Examiner

Re: Claim No. : 03M23625
Claimant : Emehiser, et al
Insured : Ayaprakash Reddy, M.D.

DOL : 12/11/98

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 129 of 200

CAUSE NO. C-521-02-B

JOHN ALLISON; GEORGIANNA
BONNER; BETTY EMEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
JESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; AND KATRINA
WOODS;

PLAINTIFFS,

VS.

WARNER LAMBERT COMPANY,
PARKE DAVIS DIVISION OF WARNER
LAMBERT COMPANY, PFIZER,
INCORPORATED, FERNANDO BUESO,
M.D., GLOVER JOHNSON, M.D.,

ERIC ORZEK, M.D., AYAPRAKASH
REDDY, M.D., RAUL RIVERA, M,D.,
SHELDON RUBENFIELD, M.D. ,
SANDRA SCURRIA, M.D., DARRELL N.
STEELE, M.D., JEANINE H. THOMAS,
M.D., JORGE TREVINO, M.D.

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DEFENDANTS §

IN THE DISTRICT COURT

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93RD JUDl%IAL DISTRICT

HIDALGO COUNTY, TEXAS

ORIGINAL ANSWER OF DEFENDANT AYAPRAKASH REDDY, M.D.,
SUBJECT TO HIS MOTION TO TRANSFER VENUE

 

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES, AYAPRAKASH REDDY, M.D. , Defendant in the above

styled and numbered cause, and reserving the right to file other and further pleadings,

exceptions, and denials, files this his Original Answer, Subject to his Motion to Transfer

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 130 of 200

Venue to Plaintiffs’ pleadings heretofore filed and would respectfully show the Court and
Jury the following, to-wit:
I.

Subject to such stipulations and admissions as may hereinafter be made, this
Defendant asserts a general denial as is authorized by Rule 92 of the Texas Rules of Civil
Procedure, and this Defendant respectfully requests that Plaintiffs be required to prove the
charges and allegations made against this Defendant by a preponderance of the evidence
as required by the Constitution and laws of The State of Texas and Defendant hereby
demands a trial by jury.

WHEREFORE, PREMISES CONSIDERED, Defendant, AYAPRAKASH
REDDY, M.D., respectfully prays that upon a final hearing hereof that Plaintiffs recover

nothing of and from this Defendant and that the Court enter Judgment that the Defendant
go hence without day with all costs of Court, and for such other and further relief to which
this Defendant might show himself justly entitled to receive.
Respectfully submitted,
vTQ
By:® w/ /\ §
EL. GAMEZ

Sta_te Bar No. 0760 100

ATTORNEY-IN-CHARGE FOR DEFENDANT
AYAPRAKASH REDDY, M.D.

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 131 of 200

OF COUNSEL:

MEREDITH, DONNELL & ABERNETHY
Water Tower Centre

612 Nolana, Suite 560

McAllen, Texas 78504

Telephone No. : (956) 618-4477
Teleeopier No.: (956) 618-4557

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the above and
foregoing document, has been forwarded via certified mail, return receipt requested, on
this the Qh) day of , 2002, to the following:

Zoe B. Littlepage

Littlepage & Associates, P.C.
408 Westheimer

Houston, Texas 77006

Tel: 713/529-8000

Fax: 713/529-8044
ATTORNEY FOR PLAINTIFFS

 

Case 7:02-cv-00173 cument 1 Filed in TXSD on 05/15/ Page 132 of 200

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F‘-T o'cLoC.K M

 

CAUSE NO. C--521-02-B MAY ~6 2002

JOHN ALLISON; GEORGIANNA
BONNER; BETTY EMEHISER;
GlLBERT GARClA; ROSARIO
GONZALEZ; BENJAMIN HA'_I`HOOT;
JESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA
WOODS;

Plaintiffs

VS.

§
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§
wARNER LAMBERT coMPANY, §
PARKE-DAVls DIVISION oF wARNER- §
LAMBERT COMPANY, §
PFrZER, INCoRPoRATED, §
FERNANDo BUESO, M.D.; §
GLOVER JoHNsoN, M.D.; §
ERIC oRZEK, M.D., §
AYAPRAKASH REDDY, M.D.; §
RAUL RIVERA, M.D.; §
sHELI)oN RUBENFIELD, M.D. §
sANDRA chRRlA, M.D.; §
DARRELL N. sTEELE, M.D.; §
JEANINE H. THOMAS, M.D.; §
JORGE TREvINo, M.D., §
§

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Defendants

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HIDALGO COUNTY, TEXAS

93RD JUDICIAL DISTRICT COURT

DEFENDANTS WARNER-LAMBERT COMPANY AND PFIZER INC.’S
MOTION TO TRANSFER VENUE

Defendants Wamer-Lambert Company, on its own behalf and on behalf of its unincorporated

Parke-Davis division, and Pfizer lnc. (hereinafter respectively referred to as “Warner-Lambert” and

“Pfizer”), file this Motion to Transfer Venue, in accordance with Rule 86 of the Texas Rules of Civil

Procedure, and ask the court to permit the time necessary for venue discovery that will enable

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Defendants Warner-Lambert and Pfizer to determine the counties for which venue is proper as to
each of the thirteen separate Plaintiffs asserting claims in this lawsuit,
I. INTRODUCTION

1. Plaintiffs allege product liability claims against Warner-Lambert and Pfizer relating
to Rezulin® tablets, a prescription drug manufactured and sold by Warner-Lambert Furtherrnore,
ten of these thirteen plaintiffs assert claims for breach of express and implied warranties against one
of each of following ten Defendant doctors: Fernando Bueso, M.D.; Glover Johnson, M.D.; Eric
Orzek, M.D.; Ayaprakash Reddy, M.D.; Raul Rivera, M.D.; Sheldon Rubenfield, M.D.; Sandra
Scurria, M.D.; Darrell N. Steele, M.D.; Jeanine H. Thomas, M.D.; and Jorge 'l`revino (collectively,
the “Defendant doctors”).

2. This action represents a blatant attempt by the Plaintiffs to forum shop where they
fail to allege any facts evidencing: (l) that any acts or omissions giving rise to their claims occurred
in Hidal go County; (2) that any Plaintiff resided in Hidalgo County at the time their causes of action
occurred; and (3) that any Plaintiff was prescribed or sold Rezulin® by any named defendant who
resides or maintains a principal office in Hidalgo County.

3. There are thirteen separate Plaintiffs in this case. The Plaintiffs are: (_ l ) John Allison;
(2) Georgianna Bonner; (3) Betty Emehiser; (4) Gilbert Garcia; (5) Rosario Gonzalez; (6) Benjamin
Hathoot; (7) Jessie Jones; (8) Margaret Knight; (9) Donald Lavrinc, Jr.; (lO) Austin Metz, Jr.; (l l)
Lonnie Robinson; (12) Roosevelt Thomas; and (13) Katrina Woods. Conspicuously, Plaintiffs’

Original Petition fails to allege the county of residence for any of the Plaintiffs at the time their

 

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respective causes of action accrued. Further, Plaintiffs’ Original Petition fails to allege which, if Ly,
plaintiffs reside in Hidalgo County.

4. Defendant Warner-Lambert Company is not a resident of Hidalgo County, Texas, and
does not maintain a principal office in Texas.

5. Defendant Pfrzer Inc. is not a resident of Hidalgo County, Texas, and does not
maintain a principal office in Texas.

6. Plaintiffs’ Original Petition alleges that Defendant Femando Bueso, M.D. (“Dr.
Bueso”) is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Bueso in
Houston, Han'is County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff, Austin
Metz, Jr., was prescribed Rezulin® by Dr. Bueso,

7. Plaintiffs’ Original Petition alleges that Defendant Glover Johnson, M.D. (“Dr.
Johnson”) is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Johnson in
Houston, Harris County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff, Katrina
Woods, was prescribed Rezulin® by Dr. Johnson.

8. Plaintiffs’ Original Petition alleges that Defendant Eric Orzek, M.D. (“Dr. Orzek”)
is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Orzek in Houston, Harris
County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff, Gilbert Gareia, was
prescribed Rezulin® by Dr. Orzek.

9. Plaintiffs’ Original Petition alleges that Defendant Ayaprakash Reddy, M.D. (“Dr.

Reddy”) is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Reddy in

 

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Tcrrell, Kaufman County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff, Betty
Emehiser, was prescribed Rezulin® by Dr. Reddy,

10. Plaintiffs’ Original Petition alleges that Defendant Raul Rivera, M.D. (“Dr. Rivera”)
is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Rivera in Pasadena,
Harris County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff, Jessie Jones, was
prescribed Rezulin® by Dr. Rivera.

ll. Plaintiffs’ Original Petition alleges that Defendant Sheldon Rubenfreld, M.D. (“Dr.
Rubenfield”) is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Rubenficld
in Houston, Harris County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff,
Georgianna Bonner, was prescribed Rezulin® by Dr. Rubenfielcl.

12, Plaintiffs’ Original Petition alleges that Defendant Sandra Scurria, M.D. (“Dr.
Scurria”) is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Scurria in
Houston, Harris County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff, Margaret
Knight, was prescribed Rezulin® by Dr. Scum'a.

13. Plaintiffs’ Original Petition alleges that Defendant Darrcl] N. Steele, M.D. (“Dr.
Steele”) is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Steele in Hurst,
Tarrant County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff, John Allison, was
prescribed Rezulin® by Dr. Steele.

]4. Plaintiffs’ Original Petition alleges that Defendant Jeanine H. Thomas, M.D. (“Dr.

Thomas”) is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. Thomas in

 

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Fort Worth, Tarrant County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff,
Roosevelt Thomas, was prescribed Rezulin® by Dr. Thomas.

15. Plaintiffs’ Original Petition alleges that Defendant Jorge Trevino, M.D. (“Dr.
Trevino”) is a citizen and resident of Texas, and Plaintiffs requested service upon Dr. 'l`revino in
McAllen, Hidalgo County, Texas. Plaintiffs’ Original Petition alleges that only one Plaintiff,
Rosario Gonzalez, was prescribed Rezulin® by Dr. Trevino.

16. Warner-Lambert and Pfizer file this Motion to Transfer Venue to prevent these
thirteen Plaintiffs from forum shopping their respective cases. Based upon the absence of facts
supporting venue in Plaintiffs’ Original Petition, venue does not appear to be proper in Hidalgo
County for any of the thirteen Plaintiffs Warner-Lambert and Pfizer further believe that many
Plaintiffs have been improperly joined in this lawsuit. Pursuant to Rules 87 and 89 of the Texas
Rules of Civil Procedure, if j oinder is found to be improperly laid in Hidalgo County, then the court
must transfer each plaintiffs claims to the proper court, in the proper county of venue. Warner-
Lambert and Pfizer should be allowed sufficient time to conduct the venue discovery necessary to
determine where venue is proper as to each of the Plaintiffs’ claims, consistent with the venue and
joinder provisions under the Texas Civil Praetice & Remedies Code.

II. FACTS

17 . Plaintiffs claim that they have been injured as a result of their ingestion of Rezulin®.
Plaintiffs John Allison, Georgianna Bonner, Betty Emehiser, Gilbert Garcia, Rosario Gonzalez,
Jessie Jones, Margaret Knight, Austin Metz, Jr., Roosevelt Thomas and Katrina Woods further allege

that Rezulin® was prescribed to them by the Defendant doctors. The remaining three Plaintiffs who

 

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allegedly ingested and were allegedly injured by Rezulin® fail to allege that they were prescribed
Rezulin® by any of the Defendant doctors.
18. Warner-Lambert and Pfizer deny that venue in Hidal go County is proper for any of
the named Plaintiffs for the following reasons:
a. Plaintiffs fail to allege facts sufficient to substantiate their allegation that all
or a substantial part of the events or omissions giving rise to their respective claims
occurred in Hidalgo County, Texas. Plaintiffs have therefore, contrary to their
allegations, failed to satisfy §15.002(a)(l) and §15.033 of the Texas Civil Praetice
and Remedies Code.
b. Plaintiffs fail to allege facts sufficient to substantiate that any Plaintiff asserts
claims against any Defendant who is a natural person, and against whom venue in
Hidalgo County is proper. Plaintiffs have therefore failed to satisfy §15.002(a)(2)
and §15.033 of the Texas (_jivil Praetice and Remedies Code.
c. Plaintiffs fail to allege facts sufficient to substantiate that any Plaintiff asserts
claims against any Defendant Who is not a natural person, and against whom venue
in Hidalgo County is proper. Plaintiffs have therefore failed to satisfy §15.002(a)(3)
and §15.033 of the Texas Civil Praetice and Remedies Code.
d. Plaintiffs fail to allege venue facts sufficient to substantiate that Hidalgo
County is the county in which any of the Plaintiffs resided at the time their causes of

action accrued. Plaintiffs thereby, contrary to their allegations, fail to satisfy the

 

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requirements of § l 5. 002(a)(4) and §15.033 of the Texas Civil Praetice and Remedies
Code.
e. Plaintiffs fail to allege facts sufficient to establish that venue in Hidalgo
County is proper for any plaintiff, independently of any other plaintiff Plaintiffs
thereby fail to satisfy the requirements of §l 5.003(a) of the Texas Civil Praetice and
Remedies Codc regarding joinder of multiple plaintiffs in a single case,
IIl. ARGUMENTS AND AUTHORITIES
19. Plaintiffs fail to allege facts sufficient to support the selection of Hidalgo County as
proper venue for any of the Plaintiffs joined in this case. Plaintiffs’ blatant attempt to forum shop
for all the joined Plaintiffs is improper.
A. Plaintiffs Do Not Comply With T he General Venue Statute
20. Plaintiffs fail to allege any facts that support their allegations that venue is proper
under the general venue ru]e, TEX. CIV. PRAC. & REM. CODE §15.002, for the following reasons:
a. Hidalgo County is not the county in which all or a substantial part of the
events or omissions giving rise to each of the Plaintiffs’ claims occurred.
See TEX. Clv. PRAC. & REM. CoDE §15.002(a)(1).
b. Plaintiffs do not allege that any of the Defendant doctors is a resident of
Hidal go County. Hidalgo County was not the county of residence for any of
the Defendant doctors at the time the causes of action accrued. See TEX. CIV.

PRAC. & REM. CoDE §15.002(a)(2).

 

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Hidalgo County is not the county of Warner-Lambert’s or Pfizer’s principal
office in this state. See TEX. CIV. PRAC. & REM. CODE §15.002(a)(3).

Plaintiffs fail to allege facts in support of naming Hidalgo County as the
county in which any of the Plaintiffs resided at the time their cause of action

accrued. See TEx. Civ. PRAC. & REM. CoDr-; §15.002(a)(4).

B. Plaintiffs Do Not Comply With T he Permissive Venue Statute

21 . Venue in Hidalgo County is improper because it is not a county of proper venue under

any permissive venue provisions of the Texas Civil Praetice and Remedies Code. The requirements

of Section 15.033 of the Texas Civil Praetice and Remedies Codc are not satisfied by Plaintiffs’

Original Petition for the following reasons:

b.

Plaintiffs fail to allege facts sufficient to support that Hidalgo County is the
county in which all or a substantial part of the events or omissions giving rise
to each of the Plaintiff s claims occurred.

Plaintiffs cannot allege that Hidalgo County is the county in which the
manufacturer of Rezulin® has its principal office in this state, because
Warner-Lambert, the manufacturer of Rezulin®, does not maintain a
principal office in the State of Texas.

Plaintiffs fail to allege that Hidalgo County is the county in which each of the

Plaintiffs resided at the time their cause of action accrued.

See TEx. Civ. PRAC. & REM. CODE §§ 15.033.

 

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22. At this time Defendants Warner-Lambert and Pfizer cannot identify for the Court the
county or counties of proper venue for any of the fourteen Plaintiffs asserting claims in this case.
Warner-Lambert and Pfizer must be permitted reasonable time to obtain venue facts and conduct
venue discovery. Warner-Lambert and Pfizer further reserve the right to amend this Motion to
Transfer Venue to assert the proper counties for transfer of venue of each of the Plaintiff s respective
claims, after they have had sufficient time to discover the venue facts necessary to determine the
county or counties of proper venue for each Plaintiff s claims,

C. Plaintiffs Fail T 0 Allege Facts Establishing T hat Joinder Of Each Plaintiff Is
Proper Under §15.003(a)

23. Section 15.003(a) of the Texas Civil Praetice and Remedies Code requires the
following:

(a) In a suit where more than one plaintiff is joined each plaintiff
must, independently of any other plaintiff, establish proper venue, Any person
who is unable to establish proper venue may not join or maintain venue for the
suit as a plaintiff unless the person, independently of any other plaintiff,
establishes that:

(l) joinder or intervention in the suit is proper under the

Texas Rules of Civil Procedure;

(2) maintaining venue in the county of suit does not unfairly
prejudice another party to the suit;

(3) there is an essential need to have the person’s claim
tried in the county in which the suit is pending; and

(4) the county in which the suit is pending is a fair and
convenient venue for the person seeking to join in or maintain venue
for the suit and the persons against whom the suit is brought.

24. If a plaintiff cannot establish proper venue, section 15.003(a) expressly places the
burden on the plaintiff to establish the four elements cited in the foregoing paragraph, before such

plaintiff can join venue for the suit. See Surgz`tek, Bristol~Meyers Corp. v. Abel, 997 S.W.2d 598,

 

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602 (Tex. 1999); Mobile Oil Corp v. Shores, 43 S.W.3d 681, 690 (Tex.App.- Forth Worth, 2001,
n.w.h.); Dayco Products, Inc. v. Ebrahim, 10 S.W.3d 80, 84 (Tex.App. - 'l`yler 1999, no pet.).

25. Plaintiffs have failed to plead facts that establish that each plaintiff who cannot
establish proper venue in Hidalgo County ga_n satisfy all four section 15.003(a) elements for joinder.
Warner-Lambert and Pfizer maintain a good faith belief that many of the plaintiffs joined in this suit
cannot satisfy all four section 15.003(a) elements forjoinder and Defendants reserve the right to
contest joinder once venue discovery is conducted.

IV. CONCLUSION

26. Because Plaintiffs filed suit in Hidalgo County, and Defendants Warner-Lambert and
Pfizer have a good faith belief that venue is not proper in Hidalgo County as to each of the Plaintiffs
joined in this suit, the court should allow Warner-Lambert and Pfizer reasonable time to discover
the venue facts necessary to determine the proper counties for transfer of venue for each joined
Plaintiff’s elaims. The court should further allow Warner-Lambert and Pfizer leave to amend this
Motion to Transfer Venue, after venue discovery is complete, to assert the proper counties of venue
for each of the Plaintiffs respective claims.

V. PRAYER

27. For these reasons, Warner-Lambert and Pfizer ask the court to allow sufficient time
for venue discovery pursuant to Texas Rule of Civil Procedure 88, and allow Warner-Lambert and
Pfizer to amend this Motion to Transfer Venue after sufficient time for venue discovery has taken
place, set this motion to transfer venue for hearing and, after the hearing, grant Defendants’ motion

and transfer Plaintiffs’ claims to the proper counties of venue.

 

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Respectfully submitted,

BEIRNE, MAYNARD & PARSONS, L.L.P.

 

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ATTORNEYS FOR DEFENDANTS
WARNER-LAMBERT COMPANY
AND PFIZER INC.

 

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CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing document has been s ed on
all counsel of record in accordance with the Texas Rules of Civil Procedure, on this day of
May, 2002

Zoe B. Littlepage Via Certz`fr`ed Mail
Chetna Gosain Return Receipt Requested
Joshua H. Brockman

Brett Slobin

LITTLEPAGE & AssoclATEs, P.C.
408 Westheimer

Houston, Texas 77006

    

COURTOIS

 

DEFENDANTS wARNl.`.R-LAMBERT COMPANY AND PFIZER lNC-’S MOTION TO TRANSFER VENUE PAGE -12-
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CAUSE No. C-szr-oz-B " \O'CLOCK\M
JOHN ALLISON; GEORGIANNA IN THE Df§i‘itrcfr RDORJRT or
BONNER; BETTY EMEHISER; m,_,,_,NE G

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GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;

Depur

JESSIE JONES; MARGARET KNIGHT; y
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA
WOODS;

Plaintiffs
vs. HIDALGO COUNTY, TEXAS

wARNER LAMBERT CoMPANY,
PARKE~DAvls DlvlsloN oF wARNER-
LAMBERT coMPANY,

PFIZER, INCORPoRATEn,
FERNANno BUEso, M.D.;
GLovER JoHNsoN, M.D.;

ERIC oRzEK, M.D.,
AYAPRAKASH REDDY, M.D.;
RAUL RIVERA, M.D.;

sHELI)oN RUBENFIELD, M.D.
sANDRA chRRlA, M.D.;
DARRELL N. sTEELE, M.D.;
JEANINE H. THOMAS, M.D.;
JoRGE TREVINo, M.D.,

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Defendants 93RD JUDICIAL DISTRICT COURT

ORIGINAL ANSWER OF WARNER-LAMBERT COMPANY
SUBJECT TO ITS MOTION TO TRANSFER VENUE
Defendant Warner-Lambert Company, on its own behalf and on behalf of its unincorporated
Parke-Davis division (hereinafter collectively referred to as “Warner-Lambert”), subject to its motion
to transfer venue and subject to the stated affirmative defenses and without waiving the same,

responds to the allegations contained in Plaintiffs’ petition as follows:

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I.
Gcneral Denial

Subject to such stipulations as may hereafter be made, Warner-Lambert asserts a general
denial to Plaintiffs’ petition as is authorized by Rule 92 of the Texas Rules of Civil Procedure and
respectfully requests that the Plaintiffs be required to prove their charges and allegations against
Warner-Lambert by a preponderance of the evidence as required by the Constitution and the laws
of the State of Texas.

II.
Affirmative Defenses

In addition to the foregoing and without waiving the same, Warner-Lambert asserts the
following affirmative defenses to the allegations made in the Plaintiffs’ petition:

l. Plaintiffs’ petition fails to state a claim upon which relief may be granted.

2. Plaintiffs’ alleged injuries were proximately caused by the negligence and/or fault of
Plaintiffs and/or entities other than Warner-Lambert and this comparatively reduces or bars the
negligence and/or fault alleged to be attributable to Wamer-Lambert.

3. Plaintiffs’ alleged injuries were proximately caused by the misuse of Rezulin®.

4. Plaintiffs had full knowledge of, accepted and assumed any and all risks and possible
adverse effects related to the use of Rezulin®. Accordingly, Plaintiffs’ claims are barred or should
be reduced under the principles of assumption of the risk and/or informed consent.

5. Plaintiffs’ claims are barred by the doctrines of waiver, estoppel, unclean hands,

ratification or laches.

 

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6. Warner-Lambert’s liability, if any, must be offset by the amount of remuneration
and/or compensation the Plaintiffs may receive from any collateral source such as insurance, social
security, worker’s compensation or employee benefit programs

7. Plaintiffs’ claims are barred, reduced and/or limited pursuant to the applicable
statutory and common laws of Texas regarding limitations of awards, caps on recovery and set-offs.

8. Plaintiffs’ alleged damages, if any, were the direct result of pre-existing medical
conditions or occurred by operation of nature, all of which are unrelated to any conduct of, or
product marketed or distributed by, Wamer-Lambert.

9. Warner-Lambert made no implied warranties to Plaintiffs and, if Wamer-Lambert did
make such warranties, the Plaintiffs failed to give timely notice of any breach.

lO. Plaintiffs’ warranty claims are barred by a lack of privity.

ll. Plaintiffs’ claims are barred by the learned intermediary doctrine.

12. The causes of action alleged in Plaintiffs’ petition are preempted by the federal
statutes and regulations that exclusively regulate Rezulin®. Granting the relief requested in the
petition would impermissibly infringe upon and/or conflict with federal laWs, regulations, and
policies in violation of the Supremacy Clause of the United States Constitution.

l 3. Warner-Lambert is entitled to the benefit of all defenses and presumptions which may
arise because the designing, manufacturing, inspecting, packaging, issuing of warnings and
instructions and/or labeling of Rezulin® were in conformity With the generally recognizcd,
reasonably available state-of-the-art and prevailing standards in the industry at the time Rezulin®

was manufactured and marketed

 

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14. Warner-Lambert denies that anyone acting in the manner alleged by the Plaintiffs was
an agent or servant of Wamer-Lambert.

15. Plaintiffs’ claims are barred by the applicable statutes of limitations and/or statute of
repose.

l6. Punitive damages are barred by the cruel and unusual punishment clause of the Eighth
Amendment to the United States Constitution and by equivalent protections provided by the
Constitution of Texas.

17. In the event the jury is allowed to consider the issue of punitive damages, Warner-
Lambert asserts the right to a bifurcated trial on the issue of punitive damages in accordance with
the Texas Supreme Court’s decision in Transportation Insurance Company v. Moriel.

l 8. Any award of punitive damages is barred unless the trial is bifurcated and all punitive
damage issues are tried only after liability on the merits has been found.

19. While Warner-Lambert denies that it is liable for any punitive damages in this case,
Warner-Lambert states that Plaintiffs’ claims for punitive damages cannot be sustained because an
award of punitive damages under Texas law, subject to no predetermined limit, such as a maximum
multiple of compensatory damages or a maximum amount, on the amount of punitive damages that
a jury may impose and providing no protection against multiple awards for the same course of
conduct, would violate Wamer-Lambert’s due process rights guaranteed by the Fifth and Fourteenth
Amendments to the United States Constitution and equivalent protections provided by the
Constitution of Texas, would violate Warner-Lambert’s right not to be Subjected to an excessive

award in violation of the Eighth Amendment to the United States Constitution and equivalent

 

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provisions of the Constitution of Texas, and would be improper under the common law and public
policies of the State of Texas.

20, Any award of punitive damages is barred unless the jury: (l) is provided with
standards of sufficient clarity for determining the appropriateness, and appropriate size, of a punitive
damages award; (2) is instructed adequately on the limits of punitive damages imposed by the
applicable principles of deterrence and punishment; (3) is expressly prohibited from awarding
punitive damages, or determining the amount of an award of punitive damages, in whole or in part,
on the basis of invidiously discriminatory characteristics, including residence, wealth, and the
corporate status of Warner-Lambert; (4) is prohibited from awarding punitive damages under a
standard that is vague and arbitrary and does not define with sufficient clarity the conduct or mental
state that makes punitive damages perrnissible; and (5) is subject to trial court and appellate judicial
review for reasonableness and furtherance of legitimate purposes on the basis of objective standards

21. While Warner-Lambert denies that it is liable for any punitive damages in this case,
Wamer-Lambert states the Plaintiffs’ claims for damages cannot be sustained because Texas law
regarding the standards for determining liability for punitive damages failed to give Warner-Lambert
prior notice of the conduct for which punitive damages may be imposed and are void for vagueness
in violation of Wamer-Lambert’s due process rights guaranteed by the Fifth and Fourteenth
Amendments to the United States Constitution and equivalent protections provided by the
Constitution of Texas, and would be improper under the common law and public policies of Texas.

22. Punitive damages are barred by the Equal Protection Clause of the Fourteenth

Amendment to the United States Constitution and equivalent protections provided by the

Constitution of Texas.

 

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23. Punitive damages are barred under common law and public policies of the State of
Texas.

24. Punitive damages are barred by the Contracts Clause of Article I, Section lO, of the
United States Constitution and similar provisions of the Texas Constitution.

25. While Warner-Lambert denies that it is liable for any damages in this case, Warner-
Lambert states that any damage award to Plaintiffs that utilizes the Texas joint and several liability
scheme would be unconstitutional, as this scheme is violative of Warner-Lambert’s due process and
equal protection guarantees under the United States and Texas Constitutions, because no legitimate
state interest supports said statute, and, furthermore, no rational relationship exists between a
legitimate state interest and the promotion of the Texas joint and several liability scheme.
Additionally, the Texas system of assessing joint and several liability violates Warner-Lambert’s
equal protection guarantees because it operates to create arbitrary classifications of individuals, and
to treat similarly situated individuals dissimilarly under the law. The joint and several liability
scheme is also unconstitutionally void for vagueness under the United States and 'l`exas
Constitutions and should not be applied in this action.

26. While Warner-Lambert denies that it is liable for any punitive damages in this case,
Plaintiffs’ claims for punitive damages cannot be sustained because any award of punitive damages
under Texas law, which are penal in nature, without according to Warner-Lambert the same
protections that are accorded to criminal defendants, including the protection against unreasonable
searches and seizures, self-incrimination, and the right to confront adverse witnesses, a speedy trial,
and the effective assistance of counsel, would violate Warner-Lambert’s rights guaranteed by the

Fourth, Fifth, and Sixth Amendments as incorporated into the Fourteenth Amendment to the United

 

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::ODMA\MHODMA\iManage;3 5255 l ;l (John Allison, el al. vs. Warner-Lambert Company, el al.)

Case 7:02-cv-00173 .;umem 1 Filed in T)<SD on 05/15/` Page 150 of 200

States Constitution and equivalent protections provided by the Constitution of Texas, and would be
improper under the common law and public policies of the State of Texas.

27. While Warner-Lambert denies that it is liable for any punitive damages in this case,
Plaintiffs’ claims for punitive damages cannot be sustained because an award of punitive damages
under Texas law Which allows plaintiffs to prejudicially emphasize the corporate status of defendant
violates Warner-Lambert’s due process and equal protection rights guaranteed by the Fifth and
Fourteenth Amendments to the United States Constitution and equivalent protections provided by
the Constitution of Texas, and would be improper under the common law and public policies of the
State of Texas.

28. Plaintiffs’ claims are barred under the Restatement (Third) of Torts: Products
Liability § 4 et seq.

29. Plaintiffs’ claims are barred under the Restatement (Second) of Torts: Products
Liability § 402A, comments J and K.

30. Plaintiffs’ claims are barred by their failure to mitigate damages

31. In the unlikely event that Warner-Lambert is found liable to the Plaintiffs, Warner-
Lambert affirmatively pleads that it is entitled to a credit or offset for any and all sums that the
Plaintiffs have received or may hereafter receive by way of any and all settlements arising from
Plaintiffs’ claims and causes of action. Warner-Lambert alternatively asserts its right to a
proportionate reduction of any damages based upon the percentage of negligence attributable to any
settling tortfeasor under Texas law. TEX. CIV. PRAC. & REM. CODE §§33.014-15.

32. In the unlikely event that Warner-Lambert is found liable to the Plaintiffs, and only

in that event, Warner-Lambert affirmatively pleads that it is entitled to contribution from other

 

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::ODMA\MHODMA\iManagc;ESZSSl;l (John Allison, et al. vs. Warner-Lambert Company, et al.)

ease 7:02-cv-00173 .umem 1 Filed in T)<SD on 05/15/. Page 151 of 200

Defendants and third parties in accordance with Texas Civil Praetices and Remedies Code §§33.15-
16. Warner-Lambert also states that it is entitled to common law indemnity against such other
Defendants or third parties in accordance with the principles established by the Texas Supreme Court
in Bonniwell v. Beech Aircraji Corp., 663 S.W.2d 816, 819-20 (Tex. l984).

33. Plaintiffs’ claims are barred by Section 6(c) and (d) of the Restatement (Third) of
Torts: Products Liability. Reasonab]e physicians knowing of the reasonably foreseeable risks and
therapeutic benefits associated with Rezulin® would have prescribed and did prescribe Rezulin®
for classes of patients In addition, Warner-Lambert provided reasonable instructions or warnings
to prescribing physicians

34. Plaintiffs’ complaint is equitably barred because the Plaintiffs’ failure to join all
indispensable parties precludes the Court from granting complete relief to those who are parties to
the action and will result in prejudice to Warner-Lambert

35 . Notwithstanding the claims and contentions in the petition, the Plaintiffs received and
will in the future receive all or substantially all of the benefit from Rezulin® that the Plaintiffs hoped
and intended that Plaintiffs would receive, and to that extent any damages and/or restitution that the
Plaintiffs might be entitled to recover from Warner-Lambert must be correspondingly reduced.

III.
Amendment and/or Sum)lementation

Warner-Lambert reserves the right to amend and/or supplement this answer.

WHEREFORE, Defendant Warner-Lambert Company prays that the Plaintiffs take nothing
by their suit, that Defendant recover its costs expended, and that Defendant have such other and

further relief to which it is justly entitled.

 

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ease 7:02-cv-00173 ~;umem 1 Filed in T)<SD on 05/15/` Page 152 of 200

Respectfully submitted,

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ATTORNEYS FOR DEFENDANT
WARNER-LAMBERT COMPANY.

 

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Case 7:02-cv-00173 `umem 1 Filed in T)<SD on 05/15/~ Page 153 of 200

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document has been served on
all counsel of record in accordance with the Texas Rules of Civil Procedure, on this 5 §§ day of
May, 2002.

Zoe B. Littlepage Via Certified Mail

Chetna Gosain Return Recez'pt Requested
Joshua H. Brockman

errLEPAGE & AssocrATr-:s, P.C.

 

408 Westheimer
Houston, Texas 77006
l
RIA JO COURTOIS
CRlGlNAL ANSWER 0}' WARNER-LAMBERT COMPANY SUBJECT TO ITS MOTlON TO TRANSFER VENUE Page -10-

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Case 7:02-cv-00173 Wcument 1 Filed in TXSD on 05/151$ Page 154 of 200

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l‘)'rst.'ict Courts, Hidalgo County
Deputy

CAUSE NO. C--521-02-B AT M

 

 

JOHN ALLISON; GEORGIANNA
BONNER; BETTY EMEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
JESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA
WOODS;

 

Plaintiffs

vs. HIDALGO COUNTY, TEXAS
WARNER LAMBERT COMPANY,
PARKE-DAVIS DIVISION OF WARNER-
LAMBERT COMPANY,

PFIZER, INCORPORATED,

FERNANDO BUESO, M.D.;

GLOVER JOHNSON, M.D.;

ERIC ORZEK, M.D.,

AYAPRAKASH REDDY, M.D.;

RAUL RIVERA, M.D.;

SHELDON RUBENFIELD, M.D.

SANDRA SCURRIA, M.D.;

DARRELL N. STEELE, M.D.;

JEANINE H. THOMAS, M.D.;

JORGE TREV!NO, M.D.,

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Defendants 93’“’ JUDICIAL DISTRICT COURT

ORIGINAL ANSWER OF PFIZER INC.
SUBJECT TO ITS MOTION TO TRANSFER VENUE

Defendant Pfizer Inc., incorrectly named herein as “Pfizer, lncorporated” (hereinafter referred
to as “Pfizer”), subject to its motion to transfer venue and subject to the stated affirmative defenses

and without waiving the same, responds to the allegations contained in Plaintiffs’ petition as follows:

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I.
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Subject to such stipulations as may hereafter be made, Pfizer asserts a general denial to
Plaintiffs’ petition as is authorized by Rule 92 of the Texas Rules of Civil Procedure and respectfully
requests that the Plaintiffs be required to prove their charges and allegations against Pfizer by a
preponderance of the evidence as required by the Constitution and the laws of the State of Texas.

II.
Affirmative Defenses

ln addition to the foregoing and without waiving the same, Pfizer asserts the following
affirmative defenses to the allegations made in the Plaintiffs’ petition:

l. Plaintiffs’ petition fails to state a claim upon which relief may be granted.

2. Plaintiffs’ alleged injuries were proximately caused by the negligence and/or fault of
Plaintiffs and/or entities other than Pfizer and this comparatively reduces or bars the negligence
and/or fault alleged to be attributable to Pfizer.

3. Plaintiffs’ alleged injuries were proximately caused by the misuse of Rezulin®.

4. Plaintiffs had full knowledge of, accepted and assumed any and all risks and possible
adverse effects related to the use of Rezulin®. Accordingly, Plaintiffs’ claims are barred or should
be reduced under the principles of assumption of the risk and/or informed consent

5. Plaintiffs’ claims are barred by the doctrines of waiver, estoppel, unclean hands,

ratification or laches

 

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6. Pfizer’s liability, if any, must be offset by the amount of remuneration and/or
compensation the Plaintiffs may receive from any collateral source such as insurance, social security,
worker’s compensation or employee benefit programs

7. Plaintiffs’ claims are barred, reduced and/or limited pursuant to the applicable
statutory and common laws of Texas regarding limitations of awards, caps on recovery and set-offs.

8. Plaintiffs’ alleged damages, if any, were the direct result of pre-existing medical
conditions or occurred by operation of nature, all of which are unrelated to any conduct of, or
product marketed or distributed by, Pfizer.

9. Pfizer made no implied warranties to Plaintiffs and, if Pfizer did make such
warranties, the Plaintiffs failed to give timely notice of any breach.

lO. Plaintiffs’ warranty claims are barred by a lack of privity.

ll. Plaintiffs’ claims are barred by the learned intermediary doctrine.

12. The causes of action alleged in Plaintiffs’ petition are preempted by the federal
statutes and regulations that exclusively regulate Rezulin®. Granting the relief requested in the
petition would impermissibly infringe upon and/or conflict with federal laws, regulations, and
policies in violation of the Supremacy Clause of the United States Constitution.

13. Pfizer is entitled to the benefit of all defenses and presumptions which may arise
because the designing, manufacturing, inspecting, packaging, issuing of warnings and instructions
and/or labeling of Rezulin® were in conformity with the generally recognized, reasonably available
state-of-the-art and prevailing standards in the industry at the time Rezulin® was manufactured and

marketed.

 

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14. Pfizer denies that anyone acting in the manner alleged by the Plaintiffs was an agent
or servant of Pfizer.

15. Plaintiffs’ claims are barred by the applicable statutes of limitations and/or statute of
repose.

16. Punitive damages are barred by the cruel and unusual punishment clause of the Eighth
Amendment to the United States Constitution and by equivalent protections provided by the
Constitution of Texas.

l7. In the event the jury is allowed to consider the issue of punitive damages, Pfizer
asserts the right to a bifurcated trial on the issue of punitive damages in accordance with the Texas
Supreme Court’s decision in Transportation Insurance Company v. Moriel.

l 8. Any award of punitive damages is barred unless the trial is bifurcated and all punitive
damage issues are tried only after liability on the merits has been found.

19. While Pfizer denies that it is liable for any punitive damages in this case, Pfizer states
that Plaintiffs’ claims for punitive damages cannot be sustained because an award of punitive
damages under Texas law, subject to no predetermined limit, such as a maximum multiple of
compensatory damages or a maximum amount, on the amount of punitive damages that a jury may
impose and providing no protection against multiple awards for the same course of conduct, would
violate Pfizer’s due process rights guaranteed by the Fifth and Fourteenth Amendments to the United
States Constitution and equivalent protections provided by the Constitution of Texas, would violate
Pfizer’s right not to be subjected to an excessive award in violation of the Eighth Amendment to the
United States Constitution and equivalent provisions of the Constitution of Texas, and would be

improper under the common law and public policies of the State of Texas.

 

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20. Any award of punitive damages is barred unless the jury: (1) is provided with
standards of sufficient clarity for determining the appropriateness and appropriate size, of a punitive
damages award; (2) is instructed adequately on the limits of punitive damages imposed by the
applicable principles of deterrence and punishment; (3) is expressly prohibited from awarding
punitive damages, or determining the amount of an award of punitive damages, in whole or in part,
on the basis of invidiously discriminatory characteristics including residence, wealth, and the
corporate status of Pfizer; (4) is prohibited from awarding punitive damages under a standard that
is vague and arbitrary and does not define with sufficient clarity the conduct or mental state that
makes punitive damages permissible; and (5) is subject to trial court and appellate judicial review
for reasonableness and furtherance of legitimate purposes on the basis of objective standards

21 . While Pfizer denies that it is liable for any punitive damages in this case, Pfizer states
the Plaintiffs’ claims for damages cannot be sustained because Texas law regarding the standards
for determining liability for punitive damages failed to give Pfizer prior notice of the conduct for
which punitive damages may be imposed and are void for vagueness in violation of Pfizer’s due
process rights guaranteed by the Fifth and Fourteenth Amendments to the United States Constitution
and equivalent protections provided by the Constitution of Texas, and would be improper under the
common law and public policies of Texas.

22. Punitive damages are barred by the Equal Protection Clause of the Fourteenth
Amendment to the United States Constitution and equivalent protections provided by the
Constitution of Texas.

23. Punitive damages are barred under common law and public policies of the State of

Texas.

 

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24. Punitive damages are barred by the Contracts Clause of Article l, Section 10, of the
United States Constitution and similar provisions of the Texas Constitution.

25. While Pfizer denies that it is liable for any damages in this case, Pfizer states that any
damage award to Plaintiffs that utilizes the Texas joint and several liability scheme would be
unconstitutional, as this scheme is violative of Pfizer’s due process and equal protection guarantees
under the United States and Texas Constitutions, because no legitimate state interest supports said
statute, and, furtherrnore, no rational relationship exists between a legitimate state interest and the
promotion of the Texas joint and several liability scheme. Additionally, the Texas system of
assessing joint and several liability violates Pfizer’s equal protection guarantees because it operates
to create arbitrary classifications of individuals, and to treat similarly situated individuals dissimilarly
under the law. The joint and several liability scheme is also unconstitutionally void for vagueness
under the United States and Texas Constitutions and should not be applied in this action.

26. While Pfizer denies that it i_s liable for any punitive damages in this case, Plaintiffs’
claims for punitive damages cannot be sustained because any award of punitive damages under
Texas law, which are penal in nature, without according to Pfizer the same protections that are
accorded to criminal defendants, including the protection against unreasonable searches and seizures,
self-incrimination, and the right to confront adverse witnesses, a speedy trial, and the effective
assistance of counsel, would violate Pfizer’s rights guaranteed by the Fourth, Fifth, and Sixth
Amendments as incorporated into the Fourteenth Amendment to the United States Constitution and
equivalent protections provided by the Constitution of Texas, and would be improper under the

common law and public policies of the State of Texas.

 

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27. While Pfizer denies that it is liable for any punitive damages in this case, Plaintiffs’
claims for punitive damages cannot be sustained because an award of punitive damages under Texas
law Which allows plaintiffs to prejudicially emphasize the corporate status of defendant violates
Pfizer’ s due process and equal protection rights guaranteed by the Fifth and Fourteenth Amendments
to the United States Constitution and equivalent protections provided by the Constitution of Texas,
and would be improper under the common law and public policies of the State of Texas.

28. Plaintiffs’ claims are barred under the Restatement (Third) of Torts: Products
Liability § 4 et seq.

29. Plaintiffs’ claims are barred under the Restatement (Second) of Torts: Products
Liability § 402A, comments J and K.

30. Plaintiffs’ claims are barred by their failure to mitigate damages

31 . ln the unlikely event that Pfizer is found liable to the Plaintiffs, Pfizer affirmatively
pleads that it is entitled to a credit or offset for any and all sums that the Plaintiffs have received or
may hereafter receive by way of any and all settlements arising from Plaintiffs’ claims and causes
of action. Pfizer alternatively asserts its right to a proportionate reduction of any damages based
upon the percentage of negligence attributable to any settling tortfeasor under Texas law. TEX. ClV.
PRAC. & REM. CoDr-: §§33.014-15.

32. ln the unlikely event that Pfizer is found liable to the Plaintiffs, and only in that event,
Pfizer affirmatively pleads that it is entitled to contribution from other Defendants and third parties
in accordance with Texas Civil Praetices and Remedies Code §§33.15-16. Pfizer also states that it

is entitled to common law indemnity against such other Defendants or third parties in accordance

 

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with the principles established by the Texas Supreme Court in Bonniwell v. Beech Aircraft Corp.,
663 S.W.2d 816, 819-20 (Tex. 1984).

33. Plaintiffs’ claims are barred by Section 6(c) and (d) of the Restatement (Third) of
Torts: Products Liability. Reasonable physicians knowing of the reasonably foreseeable risks and
therapeutic benefits associated with Rezulin® would have prescribed and did prescribe Rezulin®
for classes of patients ln addition, Warner-Lambert Company provided reasonable instructions or
warnings to prescribing physicians

34. Plaintiffs’ complaint is equitably barred because the Plaintiffs’ failure to join all
indispensable parties precludes the Court from granting complete relief to those who are parties to
the action and will result in prejudice to Pfizer.

3 5. Notwithstanding the claims and contentions in the petition, the Plaintiffs received and
will in the future receive all or substantially all of the benefit from Rezulin® that the Plaintiffs hoped
and intended that Plaintiffs would receive,.and to that extent any damages and/or restitution that the
Plaintiffs might be entitled to recover from Pfizer must be correspondingly reduced.

III.
Amendment and/or Supplementation

Pfizer reserves the right to amend and/or supplement this answer.

WHEREFORE, Defendant Pfizer lnc. prays that the Plaintiffs take nothing by their suit, that
Defendant recover its costs expended, and that Defendant have such other and further relief to which

it is justly entitled.

 

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Case 7:02-cv-00173 D$cument 1 Filed in TXSD on 05/15/0.3 Page 162 of 200

Respectfully submitted,

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ATTORNEYS FOR DEFENDANT
PFIZER INC.

 

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Case 7:02-cv-00173 D*ument 1 Filed in TXSD on 05/15/0$ Page 163 of 200

CERTIFICATE OF SERVICE

1 hereby certify that a true and correct copy of the foregoing document has been served on
all counsel of record in accordance with the Texas Rules of Civil Procedure, on this 5 day of
May, 2002.

Zoe B. Littlepage Via Certifz`ed Mail

Chetna Gosain Return Recez`pt Requested
Joshua H. Brockman

errLr-:PAGE & AssoclATEs, P.C.
408 Westheimer
Houston, Texas 77006

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 164 of 200

NO. C-Sil~DJ-B

JOHN ALLISON, GEORG!ANNA
BONNER, BETTY EMEHISER,
GILBERT GARCIA, ROSARIO
GONZELEZ, BENJAMIN HATHOOT,
JESSIE JONES, MARGARET KNIGHT,
DONALD LAVRINC, JR., AUSTIN
`METZ, JR.; LONNIE ROBINSON,
ROSSEVELT THOMAS, AND
KATRINA WOODS

 

 

VS. rm)ALGo couN'rY, rExAs
wARNEn LAMBERT coMPANY,
more oAvrs olvrsroN or
wARNER LAMBERT coMrANY,
PFrzER, INcoRroRArr-:n,
FERNANno Bueso, M.D.,
cr.ovr:n .roHNsoN, M.n,

ERIC oancr<, M.n., AYArRAsH
nEnDY, M.D., RAUL rqunA,
M.D., srer)oN RUBENFtELn,
M.D., sANr)nA scuRnrA, Mn.,
DARRELL N. s'rr,ELE, M.o.,
JEANINE H. 'rnoMAs, Mr).,
JORGE rREerQ, M.D.

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ER!C ORZECKl M.D.’S MOTION TO TRANSFER VENUE AND
OBIG[NM¢ ANSWER

'l`O THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Eric Orzeek, M.D., a~defendant in the above-entitled and
numbered cause, and files this, his Motion to Transfer Venue and Original Answer
Subject Thereto, and in support thereof, would respectfully show unto this Honorable
Court as follows:

I.
MOTlON TO TRANSFER VENUE
A. Back roun a s

This is a Rezulin case filed by Gilbert Gareia against Dr. Orzeck. The petition

also contains other Plaintiffs with claims against other healthcare providers Gilbert

EIUC ORZECK. M.D.'S ORlG|NAL ANSWER - FAGE l
Do¢um¢n\ #74992

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 165 of 200

Garcia filed this matter in Hidalgo County, Texas on or about March 14, 2002. This case,
as to Dr. Orzeck, arises from medical care and treatment rendered to Gilbert Garcia in
Harris County, Texas. All care and treatment made the basis of this suit as to Gilbert
Garcia was rendered in Harris County, Texas. Dr. Orzcck is a resident of Ham`s County,
Texas.
B. assessments

No mandatory venue provision applies in this matter. As such, the applicable
venue provision is that set forth in §15.002(a)(1) and (2) of the Texas Civil Praetice &.
Remedies Code. §15.002(a) states, in pertinent part:

(a) Except as otherwise provided by this Subchaptcr or Subchapter B
or C, all lawsuits shall be brought

(l) in the county in which all or a substantial part of the events
or omissions giving rise to the claim occurred;

(2) in the county of defendant’s residence at the time the cause
of action accrued if defendant is a natural person.

See Tex. Civ. Prac. & Rem. Codc Ann. §15.002(a)(l) and §15.002(a)(2) (Vemon
1991).

C- answer

Defendant Eric Orzeck, M.D. objects to venue in Hidalgo County, Texas, the
county in which this action has been filcd, because no credible basis exists to maintain
venue in Hidalgo County, Texas, as to this Defendant. Hidalgo County is not a proper
county as to this Defendant because Plaintiffs’ cause of action did not acerue, in whole or
in part, in Hidalgo County. Defendant Eric Orzeck does not reside in Hidalgo County,

Texas and did not reside in Hidalgo County, Texas at the time the transactions made the

basis of this lawsuit occurred.

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Since Plaintiffs’ cause of action accrued in Harris County, venue is proper in
Harris County and is improper in Hidalgo County, pursuant to Tex. Civ. Prac. & Rem.
Code Ann. §15.002(a)(l). Additionally, since Defendant Eric Orzeck, M.D. was a
resident of Harris County at the time the incidents made the basis of this lawsuit
occurred, this matter is proper in Han'is County, pursuant to Tex. Civ. Prac. & Rem.
Code Ann. §15.002(a)(2). Thus, Defendant requests that this Honorable Court transfer
this matter to Harris County.

ln the altemative, if venue is somehow found to be proper, Defendant moves to
transfer this case based on the inconvenience, expense, and hardship placed on this
Defendant by maintaining this action in Hidalgo County, Texas.

II.
ORlGINAL ANSWER MCT TQMOTION TO TRANSFER VENUE

A. Background

This Original Answer is being filed subject to this Defendant’s Motion to Transfer

Venue.

B- §_as_aa!.l>.saisl

Pursuant to Rule 92 of the Texas Rules of Civil Procedure, this Defendant
generally denies all matters asserted by Plaintiff and says that same is not true, in whole
or in part, and demands strict proof thereof by a preponderance of the evidenee.

C. Aft'lrmative Defense

 

For further answer, if same be neeessary, this Defendant affirmatively pleads that

Gilbert Garcia’s claims against this Defendant are barred by the applicable statute of

fmc okchK. M.D.’S ORIClN/tl.. ANSWER - rAGl-`. 3
beaumont ¢14901

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 167 of 200

limitations set forth in §10.01 of the Texas Medical Liability of Insurance Improvement
Act of Texas.

WHEREFORE, PREMISES CONSIDERED, Defendant requests that this
Honorable Court grant his Motion to Transfer Venue and transfer this ease to Harris
County, Texas. Defendant further prays that upon final hearing and/or trial of this cause,
that Plaintiff recover nothing by way of his suit against this Defendant. Defendant
further prays that he recover all costs of Court incurred in the defense of this matter.
Defendant further prays for such other and further relief, both at law and in equity, to

which this Defendant may show himself justly entitled.

Respectfully submitted,

HERMES SARGENT BATES, L.L.P.

B, %;/J//,Lf

MicHAEL L. HuRs"r
State Bar No. 10316320
FRANK ALvAREz

state Bar No. 00796122

1717 Main Street, Suite 3200
Dallas, Texas 75201

(214) 65 8-6$00 (Telcphone)
(214) 658-6300 (Telecopier)

ATTORNEYS FOR DEFENDANT
ERIC ORZECK, M.D.

ERlC ORZECK M.D.’S ORIGINAL ANSWER - PAGE 4
Document N1|991

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 168 of 200

QLRTIFICATE OF SERVICE

The undersigned certifies that on the 3"€",;day of May, 2002, a true and correct
copy of the foregoing document was served by certified mail, return receipt requested and
via facsimile in compliance with TRCP, to the following counsel ofrecord:

Zoe B. Littlepage
Chetna Gosain

Joshua H. Brockman
Brett Slobin

408 Westheimer
Houston, Texas 77006

/%A/z//f’

manEL L. HURST

ERIC ORZECK, M-D.’S ORlGlNAL ANSWER - ?AGE 5
Doetlmen¢ #74991

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 169 of 200

HERMES SARGENT BATES n FILED

 

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2\4.658.6133 - owes Fax Bv "°t C°U"S Hida|go County
miehacl.hurst.@hsblnw.com ---`___`____Deo
uty
May 3, 2002

Pauline G. Gonzalez
District Clerk

Hidalgo County Courthouse
100 N. Closner, l“ Floor
Edinburg, Texas 78539

Re: No. C-$Zl-OZ-B;
John Allison, et al (Gilbert Garcia) v. Eric Orzeck, ArlD
Our File #197/70

Dear Ms. Gonzalez:

Enclosed please find an original and two copies of Eric Orzcck, M.D.’s Motion to
Transfer Venue and Original Answer in connection with the above-referenced matter. Please file
the original with the Court and retum a file-marked copy of same to us in the enclosed, self-
addressed and stamped envelope.

By copy of this letter, all counsel of record are receiving a copy of said instrument.

Thank you for your assistance in this matter.

Yo\:z’uly, / :
Michael L. Hurst

MLH:jf

Enclosures

#7$036

 

1717 MAmS'rasaT SutTB 3200 DALLA$, Texas 15201
1`£\.. 214.658.6$00 FAx 214.65¢.6300
ww.hsblow.com

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 170 of 200

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CAUSE NO. C-521~02-B

JOHN ALLISON; GEORGIANNA
BONNER; BE'I'I`Y EL£EIHSER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
JESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA
WOODS;

Plaintiffs

HIDALGO COUNTY, TEXAS

WARNER LAMBERT COMPANY,
PARKE DAVIS DIVISION OF WARNER
LAMBERT CON[PANY,

PFIZER, INCORPORATED
GERARDO BUESO, M.D.,
GLOVER JOHNSON, M.D.,

ERIC ORZEK, M.D.,
AYAPRAKASH REDDY, M.D.,
RAUL RIVERA, M.D.,

SHELDON RUBENFIELD, M.D.,
SANDRA SCURRIA, M.D.,
DARRELL N. STEELE, M.D.,
IEANINE H. THOMAS, M.D.,
JORGE TREVINO, M.D.,

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Defendants 93d JUDICIAL DISTRICT
ELAINTI'FF GEOBQLABEA BQENEB'S EQ:HQE QF NQN§QH: OE

DEFENDANT SHELDON RUBENFIELD, M.D.
COMES NOW GEORGIANNA BONNER, PlaintiH' in the above styled and
numbered cause of action, hereby gives notice, pursuant to Texas Rules ofCivil

Procedure 162, to this court and to ali parties to this suit that she is taking a nonsuit of her

case against Defendant SHELDON RUBENFIELD, M.D., effective immediately on the'

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 171 of 200

Bling of this notic¢; and that all costs of Court are taxed against the parties incurring the

same. This nonsuit has no effect on any other Plaintiffs claims in any other cause of

action.

Respectfully submitted,

LITTLEPAGE & ASSOCIATES, P.C.

13de

Brett Slobin

State Bar No. 24029837
408 Westheimer Street
Houston, Texas 77006
(713) 529-8000

(713) 529-8044 FAX

ATTORNEY FOR PLAINTIFF GEORGIANNA
BONNER

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 172 of 200

Littlepage & Associates, P. C.

408 Westheimer Street
Houston, Texas 77006

Ms. Pauline Gonzalez

District Clerk of Hidalgo County
Hidalgo County District Courthouse
100 N. Closner

Edinburg, TX 78540

Anorneys A: Law

(713) 529-8000
(713) 529-8044 - Facsimile

! -888-‘254-8442

May 3, 2002

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MAY "6 2002

EAuLiNt-; G. GONZALEZ. CLERK
",»-a=.trict Courts, Hidalgo County
" Deputy

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RE: Cause No. C-521-02»B; John Allison, el al vs. Warner Lambert Company, et al; In the
93"I Judicial District Court, Hidalgo County, Texas

Dear Ms. Gonzalez:

Enclosed please find:

¢ PlaintiH' Georgianna Bonner’s Notice ofNonsuit of Defendant She|don Rubenf\eld, M.D.

Please file this document in the above-captioned case and return a tile-stamped copy of this letter to

me in the enclosed return envelope.

Thank you for your attention to this matter.

Enclosures

Sincerely,

LITTLEPAGE & ASSOCIATES, P.C.

w M

Brett Slobin

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 173 of 200

qFILED

CAUSE NO. C-szt-oz-B 396 °' C'-°CK ~i-M

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JOHN ALLISON; GEORG!ANNA
BONNER; BETTY EMEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENIAN[[N HATHOOT;
JESSIE JONE$; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, J`R.; LONNIE ROBINSON;
ROOSEVELT THOMAS; and KATRINA
WOODS; ' '

INTHEDISTRICTC' l ‘

Plaintiffs

H]'DALGO COUNTY, TEXAS

wARNER LAMBERT coMPAN¥,
PARKE DAVIS DIVISION oF wARNER
LAMBERT COMPANY,
PFIZER, INCORPORATED
GERARDO BUESO, M.D.,
GLovER JOHNSON, M.D.,
ERIC oRth<, M.D.,
AYAPRAKASH REDDY, M.D.,
RAUL RIVERA, M.D.,
sx~n~:LDoN RUBENFIELD, M.D.,
sANDRA sCuRRIA, M.D.,
DARRELL N. s'rF.ELE, M.D.,
JEAN:NE H. THOMAS, M.D.,
JORGE TREV`INO, M.D.,

momWi<mmm@¢a$mfmwwmwmmwb@mm@mmmmmw¢m@¢mw

Defendants 93“‘ JuDICIAL msch

PLAINTIFF KATRINA WQOD’S NOTICE OF NONSUIT OF DEFENDANT
QLOVER JOHNSON, M,D.

CONIES NOW KATRINA WOODS, Plaintif¥` in the above styled and numbered

cause of action, hereby gives notice, pursuant to Texas Rules of Civil Procedure 162, to
this court and to all parties to this suit that she is taking a nonsuit of her case against

Defendant GLOVER JOHNSON, M.D., eH`eetive immediately on the filing of this

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 174 of 200

notice; and that all costs of Court are taxed against the parties incurring the same. This

nonsuit has no eH`ect on any other PlaintiFPs claims in any other cause of action.

Respeetfully submitted,

LITTLEPAGE & ASSOCIATES, P.C.

/?,M Nm/
Brett Slobin
State Bar No. 24029837
408 Westheimer Street
Houston, Texas 77006
(713) 529-8000
(713) 529-8044 FAX

ATTORNEY FOR PLAINTIFF KATRINA
WOODS

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 175 of 200

Littlepage & Associates, P. C.

 

Arrarneys At Law

408 Westheimer Street (713) 529-8000
Houston, Texas 77006 (713) 529-8044 - Facsimile

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May 3, 2002
¢.MY - 6 2002

Ms. Pauline Gonzalez ' en;-'_trat_ G. GONZ_ALE. §LER§
District Clerk oindalgo County 9"°~"'“"` ':°“'ts' H'dalg° D;\:,?,ty
Hidalgo County District Courthouse D" ""'"_"'___

100 N. Closner
Edinburg, 'I'X 78$40

RE: Cause No. C-521~02-B; John Allison, et al vs. Warner Lambert Company, et aI; In the
93rd Judicial District Court, Hidalgo County, Texas

Dear Ms. Gonzalez:
Enclosed please fmd:
¢ PiaintiH`Katn'na Wood’s Notice ofNonsuit of Defendant Glover Johnson, M.D.

Please tile this document in the above-captioned ease and return a file-stamped copy Of this letter to
me in the enclosed return envelope.

Thank you for your attention to this matter.

Sincerely,

LITI"LEPAGE & ASSOCIATES, P.C.

Ann M

Brett Slobin

Enclosures

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 176 of 200

CAUSE NO. C-521-02-B

    
     
 

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°“'t$' s dalgo County

JOHN ALLISON; GEORGIANNA
BONNER; BETTY EMEHISER;
GILBERT GARCIA; ROSARIO
GONZALEZ; BENJAMIN HATHOOT;
JESSIE JONES; MARGARET KNIGHT;
DONALD LAVRINC, JR.; AUSTIN
METZ, JR.; LONNIE ROBINSON;
ROOSEVELT THOMAS; AND KATRINA
WOODS;

PLAINTIFFS,

VS. 93RD JUDICIAL DISTRICT

§
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wARNER LAMBERT coMPANY, §
PARKE DAVIS DIVISION oF wARNER §
LAMBERT coMPANY, PFIZER, §
INCORPORATED, PERNANDo BUESO, §
M.D., GLovER JoHNsoN, M.D., §
ERIC oRzEK, M.D., A\'APRAKASH §
REDDY, M.D., RAUL RIVERA, M.D., §
sHELDoN RUBENF!ELD, M.D., §
sANDRA chRiuA, M.D., DARRELL N. §
sTEELE, M.D.. JEANINE H. THQMAS, §
M.D., JoRGE Truzvn~ro, M.D. §
DEFENDANTS §

HIDALGO COUNTY, TEXAS

DEFENDANT AYAPRAKASH REDDY, M.D.’S JURY DEMAND
SUBJECT TO HIS MOTION TO TRANSFER VENUE

 

TO THE HONORABLE JUDGE OF SAID COURT:

Pursuant to Rule 216 of the Texas Rules of Civil Procedure, the Defendant,
AYAPRAKASH REDDY, M.D., has deposited with the District Clerk of Hidalgo
County, Texas, the jury fee of THIRTY AND NO/ 100 DOLLARS ($30.00) and does
make this his Jury Demand Subject to his Motion to Transfer Venue. in the above styled

and numbered cause.

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 177 of 200

Respectfully submitted,

B“G?Siw/ Hé§ ~»

State Bar No. 07607

 

ATTORNEY-IN-CHARGE FOR DEFENDANT
AYAPRAKASH REDDY, M.D.

OF COUNSEL:

MEREDITH, DONNELL & ABERNETHY
Water Tower Centre

612 Nolana, Suite 560

McAllen, TX 78504

Telephone No.: (956) 618-4477

Teleeopier No.: (956) 618-4557

CERTI`FICATE OF SERVICE

 

l HEREBY CERTIFY that a true and correct copy of the above and

foregoing document, has been forwarded to the following counsel of record, on this the

j/'_L. day of M__, 2002;

Zoe B. Littlepage

Littlepage & Associates, P.C.
408 Westheimer

Houston, Texas 77006

Tel: 713/529-8000

Fax: 713/529-8044
ATTORNEY FOR PLAINTIFFS

)

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 178 of 200

MEREDITH, DONNELL & ABERNETHY
A PROFEssloN.\L CORPORATION

A'r'roRNl-:Ys AT LAW
CORPUS L'HR\ST\ OFFICE . Jose L_ QAMEZ
0 E SHOREL|NE PLAZA o _
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CORPUS CHR|E l, c
casts ass-sam a MCALLEN, TEXAS 78504
FA*‘$°""°'-"G‘ 1956)6184477 FAx4956)615-4551 - --_~LED
May 7, 2002 AT--o'ctoc»<. M
Mrs. Pauline G. Gonzalez
Hidalgo County District Clerk B?sl:r'_i|NE G. GONZ_ALEZ, CLERK
Hidalgo County Courthouse By °t COurtS. Hidalgo County
P.O. BOX 87 _`~_-_-_Deputy

Edinburg, Texas 78540

Re: Cause No. C-521-02-B; John Allison, et al vs. Warner Lambert Company,
et al; In the 93rd Judieial District Court of Hidalgo County, Texas.

M(S): (1) Defendant, Ayaprakash Reddy, M.D.’s Jury Demand Subject to
His Motion to Transfer Venue; and

(2) Certificate of Written Discovery Subject to Defendant,
Ayaprakash Reddy, M.D.’s Motion to Transfer Venue
(1 .Request for Disclosure to Plaintiff, Betty Emehiser, Subject to
Defendant, Ayaprakash Reddy, M.D.’s Motion to Transfer Venuc).

Dear Mrs. Gonzalez:

Enclosed herewith, please find the above-referenced instrument(s) for filing at this
time. Please acknowledge receipt and filing of same by placing your file mark on the enclosed
copy(ies) of the instrument(s), and returning same to me in the enclosed, stamped, self-addressed
envelope.

Also enclosed you will please find our firm check in the amount of $30.00 to cover
the jury fee in this matter.

By copy of this letter opposing counsel, as shown below, is being notified of same.
Thank you for your courtesies and assistance with this matter.

Very truly yours,

M , ONNELL &. ABERNETHY

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JLG:vm

Enclosures
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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 179 of 200

Mrs. Pauline G. Gonzalez
Hidalgo County District Clerk
May 7, 2002

Page 2

cc: Zoe B. Littlepage VIA CM;RRR #7001 2510 0001 6513 0578
Littlepage & Associates, P.C.
408 Westheimer
Houston, Texas 77006

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 180 of 200

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

MCALLEN DIVISION
JOHN ALLISON, et al., §
§
Plaintiffs, § C.A. No.
§
vs. § (Removed from the 93"i Judicial District
§ Court of Hidalgo County, Texas)
WARNER LAMBERT COMPANY et al., §
§ Jury Demanded
Defendants. §
Exhibit E
ALL ORDERS SIGNED BY THE STATE JUDGE
Order Setting Hearing on Motion to Transfer Venue Set for 6/27/02 ............. Exhibit E(l)

( A copy of the Court’s Order was not contained in the District Clerk’s
file on May 14, 2002, when request for a copy of the same was made by
the removing parties. Please see copy of Civil Docket, attached hereto
as E(l) for a record of the order.)

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 181 of 200

Case No. C-521-02-B
Hidalgo Councy

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May 14m, 2002
11:43am

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Events § UFUEFS or the Couvt

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LAMBERT coMPANY. PFIzEn. INc..nn. FERNANoo auEso. nn. sLovEn
uoHNsoN. on. EEnIc onzex, on. AvAPnAKAsH aeoov. on. nAuL 1
RIVERA, un. sHELooN nuaENFIELp. uR. sANDRA scunRIA. oa. DARRELL ,
N. sTEELE. DR. JEANINE H. THoMAS. on. donee TREvINo sENT To
ATTonNEY zoE a. LITTLEPAGE ev Fso ex

chArIoN Issueo §
To oR. GERARoo Bueso sENT 10 ATTonNEY LITTLEPAGE AND AssocIATEs §
FIRST AMENDEO

PETITIoN. FILEo.

NoTIcE

PLAINTIFF AusT:N METz's Norrce oF NoNsuIT oF DEFENDANT FERNANDO
eusso. M.D.. FILEo.

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oEFENoANT sANnnA scunnIA. M"n.'s MorroN To TRANSFER vENuE.
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sANonA scunnzA. M.o.'s onIGINAL ANSWER sueJEcT To MoTIoN To
TRANSFER vENuE. FILEn.

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DEMAND FOF\ TRAIL BY JURY SUBJECT TO MOTION TO TRANSFER VENUE.
FILED.

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DEFENoANT sLovEn JoHNsoN. M.D.’s MoTIoN To TRANSFER vENuE.
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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 182 of 200

 

 

   
   

Court

`l Case No. C-521-02-B May 14m, 2002
_ Hidalgo County 11:43am

 

Events €. OFOQFS of the Court (cont.)

FILED.
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DEFENUANT AYAPRAKASH nsouv. M.n.'s MOTION To TRANSFER vENuE
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ANSWER ¢Q_
onIGINAL ANSWER oF DEFENQANT AYAPnAxAsH nenov, M.o.. suaJEcT To !J.` 1
HIS MOTION TO TRANSFER VENUE, FILED. `
MOTION

DEFENDANTS wAnNER-LAMBEHT coMPANv Ann PFIZER INc.'s MOTION To
TRANSFER vENuE. FILED.

ANSWER

oRIGINAL ANSWER oF wARNER-LAMBERT coMPANY suBJEcT To ITS
MoTIoN To TRANSFER vENuE. FILED.

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TRANSFER vENuE. FILEo.

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Enrc onzscx. M.n.'s MoTroN To TRANSFER venue AND onIGI~AL
ANSWER. FILED.

NoTIcE .

PLAINTIFF GEARGIANNA BONNER'S NOTICE OF NONSUIT OF DEFENDANT
sHELnoN nueENFIELo; M.n.. FILED.

NoTIcE -

FLAINTIFF KATRINA wooo's NoTIcE oF NoNsurT. FILEn.

onoEn sETTINe HEARING

MTN To TRANSFER vENuE ser Fon 5/27/02

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DEFENnANT AYAPRAKASH neonv. M.D.’s Junv oeMAND suaJEcT To Hrs
MoT:oN To TRANSFER vENuE. FrLEo.

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oF wHITTEN orscovEnY suauecr To nEFENDANr. AYAPRAKASH neoov.
M.o.'s MorIoN To TRANSFER vENuE. FILED.

narrow

DEFENDANT sHELooN nuBENFELo. M.u.‘s MoTIoN To TRANSFER vENuE.
FILED.

ANSWER

sHeLooN nuBENFeLD. M.o.'s oRIGINAL ANswEn suedecr To norton re
TRANSFER vENuE. FILED.

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Mtn To Transfer Venue oA

    
    
   
 
 
  
 
  
 
 
 
 
   

  

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 183 of 200

   

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/ Court

Case No. C-521-02-B May mh, 2002
Hidalgo County 11:43am

   
 

 

 

M.;`<.`

JOHN ALLrsoN Er AL WARNER LAMBERT ' `
CoMPANY '.;_-_ ' ff;_

 
 
      
 
   
   
     
       
     
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   

 

Events 5 Unoer§ or the Court

PLAINTIFF'S ORIGINAL PETITION

CITATION ISSUED

TO WARNER LAMBERT COMPANY. PARKE DAVIS DIVISION OF WARNER
LAMBERT COMPANY, PFIZER. INC..DR. FERNANDO BUESO. DR. GLOVER
JOHNSON. DR. EERIC ORZEK, DR. AVAPRAKASH REDDY, DR. RAUL
RIVERA. DR. SHELDON RUBENFIELD. DR. SANDRA SCURRIA, DR. DARRELL
N. STEELE, DR. JEANINE H. THOMAS, DR. JORGE THEVINO SENT TD
ATTORNEY ZOE B. LITTLEPAGE BY FED EX

CITATION ISSUEU ~
TO DR. GERARDO BUESO SENT TU ATTORNEY LITTLEPAGE AND ASSOCIATES
FIRST AMENDED
PETITION, FILED.
NOTICE
PLAINTIFF AUSTIN METZ’S NOTICE DF NONSUIT OF DEFENDANT FERNANDO 5
BUESO, M.D., FILED.

MOTION

DEFENDANT SANDRA SCURRIA, M»D.'S MOTION TO TRANSFER VENUE.
FILED.

ANSWER

SANDRA SCURRIA. M.D.’S ORIGINAL ANSWER SUBJECT TD MOTION TO
TRANSFER VENUE. FILED.

OTHER

DEMAND FOR TRAIL BY JUF|Y SUB\JECT TD MOTION TO TRANSFER VENUE.
FILED.

MOTION

DEFENDANT GLOVER JOHNSON, M.D.’S MOTION TO TRANSFER VENUE.
FILED. ~

ANSWER

GLOVER JOHNSON, M.D.'S ORIGINAL ANSWER SUBJECT TD MOTION TO
TRANSFER VENUE. FILED.

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DEMAND FOR TRIAL BY JUH¥ SUBJECT TO MOTION TO TRANSFER VENUE.

 

 

 

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 184 of 200

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Coun

Case No. C-521-02-B May 14111, 2002
' Hidalgo County 11:433m

Page
Events § OFOQFS of the Court (Cont.)

FILED.

MOTION

DEFENDANT AYAPRAKASH REDDY, M.D.’S MOTION TO TRANSFER VENUE
WITH ANSWER SUBJECT THERETO, FILED.

ANSWER n
ORIGINAL ANSWER OF DEFENDANT AYAPRAKASH REDDY, M.D.. SUBJECT TO'
HIS MOTION TO TRANSFER VENUE, FILED.

MDTIGN

DEFENDANTS WARNER~LAMBEHT COMPANY AND PFIZER INC.’S MOTION TO
TRANSFER VENUE. FILED.

ANSWER

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ANSWER

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TRANSFER vENuE. FtLEo.

norton

ERIC ORZECK, M.D.’S MOTION TO TRANSFER VENUE AND ORIGINAL
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PLAINTIFF GEARGIANNA eoNNEn's noTICE oF Nonsutr oF oEFEnoAnr
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n.o.'s norton ro TRANSFER venue, FtLeo.

MOTION

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ANSWER

sneLoon nuBEnFELo. n.o.'s oatotnAL Answen suaoecr ro norton ro
TRANSFER vEnuE. FtLEo.

ornER

DEMAND FOR TRIAL BY JURY SUBJECT TO MOTION TO TRANSFER VENUE.

FILED. .
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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 185 of 200

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

MCALLEN DIVISION
JOHN ALLISON, et al., §
§
Plaintiffs, § C.A. No.

§
vs, § (Removed from the 93"i Judicial District
§ Court of Hidalgo County, Texas)

WARNER LAMBERT COMPANY et al., §
§ Jury Demanded

Defendants. §

Exhibit G
INDEX OF MATTERS BEING FILED
Louis v. Wyeth-Ayerst Pharmaceuticals, No. 5:00CV102LN

(W.D.Miss. Sept. 25, 2000) ......................................... Exhibit A
State Court Notiflcation of Removal ........................................ Exhibit B
All Executed Process on File .......... ` .................................... Exhibit C
Pleadings Asserting Causes of Action and All Answers to Such Pleadings .......... Exhibit D
All Orders Signed by the State Judge ....................................... Exhibit E
State Court Docket Sheet ................................................. Exhibit F
Index of Matters Being Filed .............................................. Exhibit G
List of All Counsel of Record ............................................. Exhibit H
Order Establishing the Judicial Panel on Multidistrict Litigation (MDL 1348) ....... ExhibitI

Dismissal filed in Wakejield v. Warner Lambert Company, Case No. CJ-2000-04654;
In the District Court in and for Tulsa County, Oklahoma ........................ Exhibit J

Excerpt from Plaintiff’ s Response to Defendant Michelle Orr’s Motion for
Summary Judgment flled in, Griggs et al. v. Warner-Lambert Company,
Case No. CV100-3957CC; In the Circuit Court of Clay County, Missouri .......... Exhibit K

Excerpt from Oral Hearing in Adams et al. v. Warner-Lambert Company,
C.A. No. 3-01CV1980-M (N.D.Tex.) ....................................... Exhibit L

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

MCALLEN DIVISION
JOHN ALLISON, et al., §
§
Plaintiffs, § C.A. No.
§
vs. § (Removed from the 93"l Judicial District
§ Court of Hidalgo County, Texas)
WARNER LAMBERT COMPANY et al., §
§ Jury Demanded
Defendants. §

Exhibit H

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 187 of 200

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 188 of 200

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Counsel for Jorge Trevino, M.D.

Unknown.

Case 7:02-Cv-0017rument 1 Filed in TXSD on OBT Page 189 of 200~-.`-..,..-..
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BEFORE ms JUDICLAL PAA_’£L _ONMUL :rrt)rsmcr unc.~'t`°ttt°)§w$
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BEFORE ]O}.~EV f. NA.NGLE, CHAIRA'LLN, HTLL.LM B. ENRIGHT,
CL»LRENCE A. BRMH:`R, JOHN F. GRA.D.Y, BA.REFOOT S`.»L?\‘ZD.ERS,
L OUIS C. BECHTLE AND JGHN I". KE.ENAN; J'UD GE.S` OF THE PAN.EL

IMNSF£R own _ ": _ "

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the opportunity to present oral argument at the Pznel‘s May 19, 2000, hearing in this nance

The ?~_nel has also beat noti§ed th\tZS additional potentially related actions are pending as follow/st
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Te.u.s. These actions md my other related actions will be treated u potential tag-along ae:ior'.s. $¢¢ K“l¢‘
7.4 and 7.5. R.P.I.P.M.L., 1¢1F.RD.1.10'11(1998). `

Case 7:02-cv-00173c5mem 1 Fileol in T)<SD on ots/ifrpage 190 of 200

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be accomplished with eminh'num ofdelay. See Rule 7.6, R.PJ.P.M.L., 181 F.?.D. 1, 11-13 (1993)-

Givon the geogaphic dispersal of constituent actions and potential tag-along actions. 30
district stands out as tie geog'rphic focal point for this nationwide docket ‘l'hus v~e have se_rch¢\‘l
for a o'an..t'crcejudge with thc time and experience to steer this complex litigation on prudent cour$¢-
By centralizing this litigation in the Southern Disnict of New 't'orl: before Judge ' evin Th€=‘~=-‘
Du..‘r‘~/, an experienced transferee judge for multidistrict litigation we arc assiging this litigation
to a reasoned insist with a low caseload

`lT IS THE¥LE.FOR.E ORDERF.D ¢hat, pursuant to 28 U.S.C. §1¢07, the actions listed on th¢

Case 7:02-cv-00172F0ment 1 Filed in T)<SD on 015/f Page 191 of 200

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or consolidated prc :r'.al proceedings

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 192 of 200

m THE DISTRICT COURT IN AND FOR TULSA COUNTY

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WARNER-LA.MB ERT COMPANY; )
YARX.E-DAVIS DlVlSION O¥ )
WARNER LAMBERT COM?ANY, and )
PFIZER lNC.; and SIMON LEVIT, )
M.D., and his professional corporation, )
professional usoclatioo, partnership, ]
unincorporated association or other }
business eodty, g
)

Defeodlnb.
MAL
?laimiffs hereby dismisses all causes ofsction againn Defendant Simon L¢vit, M.D., with

psejudice. This dismissal does nol resolve any ofPh.imiB‘s claims against my other Defendant in

this action,

 

R\iney Booth,

Zoe Littlepage

Littlepage & Booth

240 East lntendencia Stred
Pt.nslcol\, FL 32$01

And

che'e Wil]ilms, OBA # 13061
125 W. Third St!ed

Tulaa, OK 74103

Anorn¢ys for Plalntlfh

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 193 of 200

MEDF_MAU.IEG

This is lo certify that on this, the

day ofMarch, 2002, a mae, correct, and exact

copy of the above and foregoing instrument was hand~delivcred lo the following:

Daniel E. Holemm

Jenni!`er R. Annis

525 S. Main

Suite lim

'I\)lsl, OK 74103

Atwrn¢yl for Defendant Lovit

Rich\rd M. E!dn'dge
Tom Sieicben

P. O. Box 3566

Tuln, OK 74101-3.'>66

Anorn¢ys for Defendant Warner-Lambert

mma/msu

 

Case 7:02-cv-00173 , Document 1 Filed in TXSD on 05/15/02 Page 194 of 200

|N THE ClRCUiT COURT OF CLAY COUNTY, MISSOURl

SH|RLEY C~R|GGS, et el
Plaintiffs _
Ceee No. CV100»3957CC

V.

WARNERMMBERT COMPANY, et al
Defendertb

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M Ju mem ocro s 112001

COMES NOW Pieintii'i¢ end files this Response to Defendant Michei\e On’i Motion
for Summary Judgment ot October 11, 2001 and would state and aliego unto the Court ee

TOUOWIZ

l. Plaintim' Res@gg

At this time, Pisint!tts annot present en expert witness for deposition or trial
testimony to support their delme against Dr. On. Plaintiffs thus cannot oppoee Dr. Orr’e
Motion for Summary Judgment and request that this Court enter e_n Order dismissing Dr.
On from this case eo a matter of tew end prohibhir\g any party from asserting-that Dr. On
committed meiprectioe. breached the standard of oere. or le responsible in any weytor
Piaintith' lr\iutiee. '

ll. Fie|ntiff waives oral hearing on this matter

Pleintitia waive the necessity of an oral hearing in this matter and agree that the

Coun con rule on this issue based eoieiy open the pleadings filed.

WHEREFORE, the Pl_aimifte pray that thie_ Court grant Defendant On’s Motion ibt
Summary Judgment that each party bear ita own costs, and grant Piaint.ifh all memlilf
to which Plaintitts an hereby entitied.

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Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 195 of 200

Re¢p¢crftlny submitted,
LmLF.FAeE a Assocuttes, P.c.

 

Joshua Brockmn, #24012335
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Houston, Texse 77000

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(713) 629-8044 Fomimie

AND

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G. Sponcor MIier, #22610

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G|ed¢tone. MO 64118

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(816) 468-1 112 Feeebnlie

ArroRN_EYs FoR PLNNT\FFS

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 196 of 200

cotl'v

l hereby certify that copies ot the toregoing were sent via keohdie/Zr,d regular mal

on thin _B_ day or october 2001 to:

Mr. Scott Seyier

Mr. Steve Thomoe

Shook, Herdy 6 Beoon, L.L.P.

One Kansae City Piaoe, 1200 Main
Koneas City, MC 64105.
Foosimie: (815) 421»5547

Mr. Brtan Niceswonper
McDowel, Rica. Smith 8 Gear, P.C.
The Site|iy Buiidm

sos wm 47" sweet

Ksneu City, MO 64112

Facsimile: (816) 753-9996

 

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 197 of 200

|N THE CiRCUlT COUR'I OF CLAY COUM"(. MiSSOURi

SH!RLEY GR|GG$. 618|.
P\aintild
Case No. CV100-3957CC

V.

WARNER-LAMBERT COMPANY, et d
Defendants

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e

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` otto R' N nsu MARYJuooM

NOW on tnta day of 0ctober,'2001. carne before this Court, Defendant

 

Mic.heile On, M.D.’s Motion for Summary Judgment The Coutt. etter consideration end
review of the pieedinga, hereby GRANTS this morton and ADJUDGES, DECREES and ` _
ORDERS that Dr. Ort ts dismissed tromthte case as a maher ot law end that no party my
assert that Dt. Ort committed malpractice breached the standard _d cere. or is responsible
tn anyway tor Plaintiffs’ In)unes. Eech party will bear their own coste.

n lT iS SO ORDERED. .

 

Honorabie Jamoe Weieh

Case 7:02-cv-00173 Document 1 Filed in TXSD on 05/15/02 Page 198 of 200

 

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Page 1 z

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

JOHNNY ADAMS, et al.
Plaintiff,

VERSUS

WARNER-LAMBERT COMPANY et al.

Defendant.

( CIVIL ACTION NUMBER
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(
( 3:01-CV-1980-M
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(
( November 20, 2001
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(

12:00 p.m.

TRANSCRIPT OF MOTION HEARING

BEFORE THE HONORABLE

BARBARA M.G. LYNN

UNITED STATES DISTRICT JUDGE

A P P E A R A N C E S:

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LITTLEPAGE & ASSOCIATES P.C.
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Houston, Texas 77006

713.529.1988

FOR THE DEFENDANT: JEFFERY T. NOBELS
MICHAEL LYONS
BEIRNE MAYNARD & PARSONS L.L.P.
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COURT REPORTER: P. SUE

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ENGLEDOW RPR/CSR NO. 1170

P.O. BOX 50711

Dallas,

Texas 75250
214.753.2325

Proceedings reported by mechanical Stenography,

transcript produced by computer.

P. Sue Engledow CSR/RPR

SEng]edow@aol.com (214.753.2325)

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Page 38 ;
1 pleadings which, if any of them, actually purchased from HEB.
2 And that their failure to do so certainly leads one to suspect
3 that many, if not all, save Mr. Phenix, did not in fact
4 purchase from HEB.
5 The Court concludes that there is either a misjoinder, as
6 that terminology has been used in other litigation, including
7 Tap Scott versus M.S. Dealer Service Corporation 77 F.3d 1353,§
8 from the Eleventh Circuit in 1996; or alternatively, the
9 misjoinder as it is analyzed by Judge Kaplan in in re Rezulin
10 products liability litigation, the Slip opinion dated :
11 October 17th, 2001. Judge Kaplan found that -- actually he 3
12 discussed the subject of whether he had to find egregious f
13 misjoinder, concluded he did not. ;
14 The Court finds here that there is either a misjoinder;
15 or alternative, to the extent the Fifth Circuit were to deem
16 necessary, an egregious misjoinder. And alternatively, the 5
17 Court finds that there is a fraudulent joinder of HEB since 5
18 the face of the pleading itself does not provide any basis for 5
ij
19 the assertion of a legal cause of action against HEB, because §
20 this Court concludes, without addressing the subject of
21 learned intermediary, and the other substantive arguments that
22 the defendant has asserted, that there must be at a minimum an
23 allegation of a purchase by the plaintiffs from HEB in order
24 to state a claim against HEB. And the Court concludes that
25 that was the responsibility of the plaintiffs to plead, and

 

 

 

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CERTIFICATE:

I, P. Sue Engledow RPR/CSR, certify that the foregoing is ~
a transcript from the record of the proceedings in the
foregoing entitled matter.

I further certify that the transcript fees format comply
with those prescribed by the Court and the Judicial Conference §
of the United States.

This the 4th day of December, 2001.

 

P. SUE ENGLEDOW RPR/CSR NO. 1170
Official Court Reporter
The Northern District of Texas

Dallas Division

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